Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 1 of 123 Page ID
                                  #:7021


   1   CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
   2   Carlos Holguín (Cal. Bar No. 90754)
       Peter A. Schey (Cal. Bar No. 58232)
   3   256 South Occidental Boulevard
   4   Los Angeles, CA 90057
       Telephone: (213) 388-8693
   5
       Email: crholguin@centerforhumanrights.org
   6         pschey@centerforhumanrights.org
   7
       Holly S. Cooper
   8   Director, Immigration Law Clinic
   9   University of California Davis School of Law
       One Shields Ave. TB 30
  10   Davis, CA 95616
  11   Telephone: (530) 754-4833
       Email: hscooper@ucdavis.edu
  12
  13   Of counsel:
       YOUTH LAW CENTER
  14   Alice Bussiere (Cal. Bar No. 114680)
  15   Virginia Corrigan (Cal. Bar No. 292035)
       200 Pine Street, Suite 300
  16
       San Francisco, CA 94104
  17   Telephone: (415) 543-3379 x 3903
  18   Attorneys for plaintiffs
  19
  20                          UNITED STATES DISTRICT COURT
  21           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
  22
       Jenny Lisette Flores, et al.,             Case No. CV 85-4544-DMG (AGRx)
  23
                        Plaintiffs,              PLAINTIFFS’ EXHIBITS [ORR-PT.1]
  24
             v.                                  [Exhibits 1–11]
  25
  26   Jeh Johnson, Secretary, U.S. Department   Hearing: September 9, 2016
       of Homeland Security, et al.,             Time:    9:30 a.m.
  27                                             Courtroom 7, 312 N. Spring Street
                        Defendants.
  28
                                                                    PLAINTIFFS’ EXHIBITS [ORR]
                                                                   CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 2 of 123 Page ID
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  28
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                                                                                                                          CV 85-4544-DMG
Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 3 of 123 Page ID
                                  #:7023


   1
       Dated: August 12, 2016            CENTER FOR HUMAN RIGHTS &
   2
                                         CONSTITUTIONAL LAW
   3                                     Carlos Holguín
                                         Peter A. Schey
   4
   5                                     Holly Cooper
                                         University of California Davis School of
   6
                                         Law
   7
                                         YOUTH LAW CENTER
   8                                     Alice Bussiere
   9                                     Virginia Corrigan
  10
                                         /s/Carlos Holguín _______________
  11   ///
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                                                                        PLAINTIFFS’ EXHIBITS
                                                                  CV 85-4544-DMG (AGRX)
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                                  #:7024




                     Exhibit 1-ORR
                                                                           1
RE: Flores class member denied bond redetermination hearing
              Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 5 of 123 Page ID
                                                #:7025
           Subject: RE: Flores class member denied bond redetermination hearing
           From: "Fabian, Sarah B (CIV)" <Sarah.B.Fabian@usdoj.gov>
           Date: Mon, 23 Nov 2015 23:58:30 +0000
           To: Carlos Holguín <crholguin@centerforhumanrights.org>
           CC: "Silvis, William (CIV)" <William.Silvis@usdoj.gov>, Ashley Melwani <Ashley@lsc-sf.org>, Peter Schey
           <pschey@centerforhumanrights.org>, "Alice Bussiere" <abussiere@ylc.org>

           Dear Carlos:

           Thank you for your email. I want to ini8ally note that the individual in ques8on will turn 18 on December 5, and if
           he is transferred to ICE custody, will have the opportunity for a custody determina8on and bond hearing under 8
           U.S.C. 1226(a) and implemen8ng regula8ons.

           Moreover, it is the Government’s posi8on in this case that the UAC’s custody is governed by the TVPRA, as
           discussed in the DHS brief you aSached to your email. The BIA decision that you included was decided before the
           TVPRA was enacted, and does not control here. It is also our posi8on that Paragraph 24A of the Flores Agreement
           cannot control over 8 U.S.C. 1232(c)(2)(A), which authorizes the Secretary of Health and Human Services (HHS) to
           make placement decisions for UACs, and to prescribe review procedures for those placement decisions. Because
           the TVPRA clearly places all authority for these placement decisions and review of those decisions with HHS, and
           because no statute or regula8on provides an immigra8on judge with the authority to review the determina8on
           made by HHS, Paragraph 24A of the Flores Agreement cannot be applied to this case. See System Federa,on No.
           91, Railway Employees Department v. Wright, 364 U.S. 642 (1961) (“But just as the adop8ng court is free to reject
           agreed-upon terms as not in furtherance of statutory objec8ves, so must it be free to modify the terms of a consent
           decree when a change in law brings those terms in conﬂict with statutory objec8ves. . . The par8es have no power
           to require of the court con8nuing enforcement of rights the statute no longer gives.”).

           Please let me know if you have any other ques8ons or would like to discuss this further.

           Thank you,
           Sarah


           Sarah B. Fabian
           Senior Li8ga8on Counsel
           Oﬃce of Immigra8on Li8ga8on – District Court Sec8on
           (202) 532-4824

           From: Carlos Holguín [mailto:crholguin@centerforhumanrights.org]
           Sent: Thursday, November 19, 2015 5:10 PM
           To: Fabian, Sarah B (CIV)
           Cc: Silvis, William (CIV); Ashley Melwani; Peter Schey; Alice Bussiere
           Subject: Re: Flores class member denied bond redetermination hearing

           I’m attaching the IJ’s order denying Mr. Zamora a bond redetermination for the reasons the trial attorney
           argued in the motion to reconsider sent previously.

           When may we expect to hear back from defendants on this?

           Carlos Holguín
           General Counsel
           Center for Human Rights & Constitutional Law
                                                                                                                         2
1 of 3                                                                                                                       5/5/16, 5:33 PM
RE: Flores class member denied bond redetermination hearing
              Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 6 of 123 Page ID
                                                #:7026
           256 S. Occidental Blvd.
           Los Angeles, California 90057
           213.388-8693 x.309 (v)
           213.386.9484 (fax)
           http://www.centerforhumanrights.org

                  On Nov 16, 2015, at 12:16 PM, Fabian, Sarah B (CIV) <Sarah.B.Fabian@usdoj.gov> wrote:

                  Carlos:

                  Thank you for your email. I will look into this issue. Please let me know if there are any changes or
                  new informa8on in the mean8me.

                  Thank you,
                  Sarah

                  Sarah B. Fabian
                  Senior Li8ga8on Counsel
                  Oﬃce of Immigra8on Li8ga8on – District Court Sec8on
                  (202) 532-4824

                  From: Carlos Holguín [mailto:crholguin@centerforhumanrights.org]
                  Sent: Monday, November 16, 2015 2:55 PM
                  To: Fabian, Sarah B (CIV)
                  Cc: Silvis, William (CIV); Ashley Melwani; Peter Schey; Alice Bussiere
                  Subject: Flores class member denied bond redetermination hearing

                  Dear Sarah,

                  I’ve been contacted by Legal Services for Children regarding Flores class member Brian
                  Manuel Zamora-Maldonado, A205 982 484.

                  Counsel advises that the immigration court in San Francisco recently refused to grant Mr.
                  Zamora a bond redetermination hearing, adopting the trial attorney’s position that “[a]s
                  respondent is in the care and custody of ORR and the Department has made no decision about
                  his custody, this court lacks … lacks jurisdiction to order the release of
                  respondent.” See attached at 2-4.

                  As you will recall, ¶ 24A of the Flores settlement provides: "A minor in deportation
                  proceedings shall be afforded a bond redetermination hearing before an immigration judge in
                  every case, unless the minor indicates on the Notice of Custody Determination form that he or
                  she refuses such a hearing.” The BIA has held that IJs retain authority to redetermine bond for
                  juveniles despite their being in ORR custody. See attached.

                  I’m hoping to prevail upon you informally to remind ORR and ICE of their obligation under
                  the settlement to provide Flores class members, including Mr. Zamora, bond redetermination
                  hearings. Please let me know if you’d rather plaintiffs proceed as ¶ 37 of the Flores settlement
                  provides.


                                                                                                                          3
2 of 3                                                                                                                        5/5/16, 5:33 PM
RE: Flores class member denied bond redetermination hearing
              Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 7 of 123 Page ID
                                                #:7027
                Thank you,

                  Carlos Holguín
                  General Counsel
                  Center for Human Rights & Constitutional Law
                  256 S. Occidental Blvd.
                  Los Angeles, California 90057
                  213.388-8693 x.309 (v)
                  213.386.9484 (fax)
                  http://www.centerforhumanrights.org




                                                                                         4
3 of 3                                                                                       5/5/16, 5:33 PM
Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 8 of 123 Page ID
                                  #:7028




                     Exhibit 2-ORR
                                                                           5
Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 9 of 123 Page ID
                                  #:7029



           CENTER FOR HUMAN RIGHTS AND CONSTITUTIONAL LAW
                                    256 S. OCCIDENTAL BOULEVARD
                                         LOS ANGELES, CA 90057
                             Telephone: (213) 388-8693 Facsimile: (213) 386-9484
                                        www.centerforhumanrights.org

                                          December 28, 2015

 Sarah B. Fabian
 Trial Attorney
 Office of Immigration Litigation – District Court Section
 P.O. Box 868, Ben Franklin Station
 Washington, DC 20044

 Michael Johnson (or successor-in-office)
 Assistant United States Attorney
 300 N. Los Angeles St., Rm. 7516
 Los Angeles, CA 90012

 Allen Hausman (or successor-in-office)
 Office of Immigration Litigation
 Civil Division
 U.S. Department of Justice
 P.O. Box 878, Ben Franklin Station
 Washington, DC 20044

 Via first class mail (and email to Ms. Fabian)

        Re: Flores, et al., v. Lynch, et al., No. CV 85-4544 DMG (C.D. Cal.).

 Dear Madam/Sirs:

 Pursuant to ¶ 37 of the settlement1 approved in the above referenced action on January 25, 1997
 (Settlement), plaintiffs hereby give notice of claims that defendants are breaching the Settlement
 in the following particular:

 Paragraph 24A of the Settlement provides: “A minor in deportation proceedings shall be
 afforded a bond redetermination hearing before an immigration judge in every case, unless the
 minor indicates on the Notice of Custody Determination form that he or she refuses such a
 hearing.”

 By electronic mail dated November 23, 2015, defendants advised:

 1
  Paragraph 37 provides in pertinent part as follows: “This paragraph provides for the
 enforcement, in this District Court, of the provisions of this Agreement except for claims brought
 under Paragraph 24. The parties shall meet telephonically or in person to discuss a complete or
 partial repudiation of this Agreement or any alleged non-compliance with the terms of the
 Agreement, prior to bringing any individual or class action to enforce this Agreement.”



                                                                                                  6
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                                                                  Sarah Fabian
                                                             December 28, 2015
                                                                     Page 2 of 5

         It is also our position that Paragraph 24A of the Flores Agreement cannot control over 8
         U.S.C. 1232(c)(2)(A), which authorizes the Secretary of Health and Human Services
         (HHS) to make placement decisions for UACs, and to prescribe review procedures for
         those placement decisions. Because the TVPRA clearly places all authority for these
         placement decisions and review of those decisions with HHS, and because no statute or
         regulation provides an immigration judge with the authority to review the determination
         made by HHS, Paragraph 24A of the Flores Agreement cannot be applied to this case.

  Defendants are accordingly expressly violating ¶ 24A of the Settlement, and the justification they
  offer therefor falls far short of excusing their breach.

  To begin, the Settlement is fully binding on HHS. By its terms, the Settlement protects “all
  minors who are detained in the legal custody of the INS.” The Settlement binds the INS and
  Department of Justice, as well as “their agents, employees, contractors, and/or successors in
  office.”

  In 2002 the Homeland Security Act, Pub. L. 107-296, 116 Stat. 2135 (“HSA”), transferred the
  former INS’s authority over the care and custody of unaccompanied children to the HHS’s
  Office of Refugee Resettlement. 6 U.S.C. § 279. However, Congress included “savings”
  provisions in the HSA providing, inter alia, that the Settlement should remain binding on those
  agencies now charged with exercising the former INS’s authority and functions. HSA §§
  462(f)(2) and 1512(a)(1).2

  The Settlement nowhere denies juveniles any of its protections because they are unaccompanied
  or placed with ORR. To the contrary, by its plain terms the agreement applies to all minors
  detained because of their immigration status, regardless of whether they are accompanied or not.


  2
    HHS recognizes that the Settlement continues to cover juveniles transferred to its custody, e.g.,
  http://www.acf.hhs.gov/programs/orr/resource/children-entering-the-united-states-
  unaccompanied-section-2 and http://www.acf.hhs.gov/programs/orr/resource/children-entering-
  the-united-states-unaccompanied-section-3#3.1 (last checked December 4, 2015), and even
  includes the Settlement among its “key documents for the Unaccompanied Children’s Services
  Program.” See http://www.acf.hhs.gov/programs/orr/resource/unaccompanied-childrens-services
  (last checked December 4, 2015).

  The Congressional Research Service, among others, agrees. See, e.g., C.R.S., Unaccompanied
  Alien Children—Legal Issues: Answers to Frequently Asked Questions, R43623, at 15-16 (July
  18, 2014).

  Finally, defendants have repeatedly asserted in briefs and arguments to the United States District
  Court overseeing this matter that the Settlement applies to unaccompanied minors, all of whom
  the HSA commits to ORR’s authority. E.g., Defendants’ Response in Opposition to Plaintiffs’
  Motion to Enforce Settlement of Class Action, February 2, 2015 (Dkt. 121) at 10.




                                                                                                    7
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                                                                  Sarah Fabian
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                                                                     Page 3 of 5

  See Order Re Plaintiffs’ Motion to Enforce Settlement of Class Action, etc., July 24, 2015 (Dkt.
  177), at 4-5.

  The Board of Immigration Appeals has held that notwithstanding the transfer of authority over
  unaccompanied minors to ORR, “an Immigration Judge retains jurisdiction over the threshold
  issue of whether an unaccompanied minor should be detained at all.” Exhibit A.

  Defendants nonetheless insist that § 235 of the William Wilberforce Trafficking Victims
  Protection Reauthorization Act of 2008, 110 Pub. L. 457, 122 Stat. 5044, codified at 8 U.S.C. §
  1232, fundamentally alters the foregoing. It does not. To the contrary, insofar as is relevant here,
  Congress’s intent in enacting § 235 was twofold:

         [1 to] require[] better care and custody of unaccompanied alien children to be provided
         by the Department of Health and Human Services (HHS); [and]

         [2 to] improve[] procedures for the placement of unaccompanied children in safe and
         secure settings ... assist children in complying with immigration orders, assist children in
         accessing pro bono representation and, in certain cases involving particularly vulnerable
         children, to obtain guardians ad litem.

  H. R. Rep. 110-430, 110th Cong., 1st Sess., 57 (2007).

  The TVPRA provides that the authority 8 U.S.C. § 1232(b)(1) confers on HHS is to be exercised
  “[c]onsistent[ly] with section 462 of the Homeland Security Act of 2002 (6 U.S.C. 279) ...”
  TVPRA § 235(b)(1). Nowhere, then, does the TVPRA strip detained juveniles of protections
  they enjoyed prior to enactment of the HSA, including those of the Settlement. To the contrary,
  in enacting the TVPRA Congress intended to confer greater protections on unaccompanied
  children, not strip them of a fundamental and long-established procedural protection against
  misguided or unnecessary deprivations of personal liberty.

  Nor is there anything in what the TVPRA actually prescribes to support a contrary result.

  TVPRA § 235(b)(1) directs HHS, et al., to “establish policies and programs to ensure that
  unaccompanied alien children in the United States are protected from traffickers and other
  persons seeking to victimize or otherwise engage such children in criminal, harmful, or
  exploitative activity...”

  TVPRA § 235(b)(2) requires HHS to place children “in the least restrictive setting that is in the
  best interest of the child.”

  TVPRA § 235(b)(3)(A) provides that HHS shall not place “an unaccompanied alien child ... with
  a person or entity unless ... the proposed custodian is capable of providing for the child's physical
  and mental well-being.”

  None of these provisions qualitatively enlarges the authority the HSA has conferred on
  HHS/ORR since 2002: to wit, “coordinating and implementing the care and placement of
  unaccompanied alien children who are in Federal custody by reason of their immigration



                                                                                                      8
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                                                                  Sarah Fabian
                                                             December 28, 2015
                                                                     Page 4 of 5

  status..., ensuring that the interests of the child are considered in decisions and actions relating to
  the care and custody of an unaccompanied alien child; [and] making placement determinations
  for all unaccompanied alien children who are in Federal custody by reason of their immigration
  status...” 6 U.S.C. § 279.3

  Further, none of these provisions even arguably vests ORR with unreviewable authority to
  determine that a juvenile should be continued in custody because she or he is a flight risk or
  dangerous, the twin factors immigration judges have historically redetermined. See Matter of
  Guerra, 24 I. & N. Dec. 37 (BIA 2006); Matter of Adeniji, 22 I. &N. Dec. 1102 (BIA 1999);
  Matter of Patel, 15 I. & N. Dec. 666 (BIA 1976).

  Plaintiffs are further informed and believe that ORR’s class-wide breach of Settlement ¶ 24A is
  unlawfully prolonging class members’ detention contrary to the Settlement’s general policy
  favoring release, as well as violating the “least restrictive” placement requirement of TVPRA §
  235(c)(2), and the Due Process Clause of the Fifth Amendment.

  Plaintiffs are further informed and believe that ORR’s class-wide breach of Settlement ¶ 24A is
  in derogation of detained children’s right to legal counsel and in violation of 6 U.S.C. §
  279(b)(1)(A), TVPRA § 235(c)(5), and the Due Process Clause of the Fifth Amendment.

  In accordance with ¶ 37 of the Settlement and Rule 7-3 of the Rules of the United States District
  Court for the Central District of California, plaintiffs accordingly request that defendants
  HHS/ORR and U.S. Immigration and Customs Enforcement (“ICE”)4 meet with plaintiffs
  telephonically or in person in the Central District of California within ten business days in a good
  faith effort to settle the aforementioned class-wide breach of the Settlement.

  Plaintiffs reserve the right to address with defendants related issues that may come to light as
  plaintiffs’ investigation of the treatment and conditions class members experience proceeds.




  3
    If anything, the TVPRA appears to have reduced the authority HSS/ORR had under the HSA to
  determine flight-risk and dangerousness. 6 U.S.C. § 279(b)(2)(A) provides that in making
  custody determinations ORR shall “ensure that unaccompanied alien children ... are likely to
  appear for all hearings or proceedings in which they are involved... [and] are placed in a setting
  in which they are not likely to pose a danger to themselves or others ...” The TVPRA confers no
  analogous authority upon HSS/ORR.
  4
    Plaintiffs know of no authority pursuant to which ICE trial attorneys may lawfully represent
  HHS of ORR before the Executive Office of Immigration Review, yet in at least one case
  previously brought to defendants’ attention, they appear to have done so. Plaintiffs are also
  informed and believe that ICE regularly directs or influences ORR decisions to detaine or
  release class members. Plaintiffs accordingly direct the instant request to meet and confer to both
  HHS/ORR and ICE.



                                                                                                        9
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                                                                  Sarah Fabian
                                                             December 28, 2015
                                                                     Page 5 of 5

  Should defendants wish any clarification regarding the foregoing, I may be reached at the above
  address and telephone number, or via email to crholguin@centerforhumanrights.org.

                                              Sincerely,



                                              Carlos Holguín
                                              One of the attorneys for plaintiffs


  ccs:   Peter A. Schey, Center for Human Rights & Constitutional Law
         Alice Bussiere, Youth Law Center




                                                                                               10
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                      Exhibit 3-ORR
                                                                          11
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                                  #:7035

  From:    Carlos Holguín crholguin@centerforhumanrights.org
Subject:   Re: Flores meet/confer conference call
   Date:   February 12, 2016 at 11:26 AM
     To:   Fabian, Sarah B (CIV) Sarah.B.Fabian@usdoj.gov
    Cc:    Silvis, William (CIV) William.Silvis@usdoj.gov, Schey Peter pschey@centerforhumanrights.org, Bussiere Alice abussiere@ylc.org


Dear Sarah,

As explained during the parties’ January 7, 2016, conference, in general terms plaintiffs believe an acceptable process for reviewing decisions
to retain juveniles in custody should include the following:

         Recognition that detained minors have standing as primary interested parties throughout ORR's custody and release deliberations,
         including, when a parent is available, a core interest in family integrity.
         The right to a prompt statement, in a language the detained minor understands, of substantive criteria consistent with the Flores
         Settlement, which ORR will consider in deciding to release a juvenile, as well as an explanation of the allocation and quality of
         evidentiary burdens.
         The right to the assistance of retained counsel throughout release and custody determinations, to include counsel’s prompt access to
         a detained juvenile’s ORR file.
         The right to a prompt written decision explaining the factual and legal basis for a decision to retain a juvenile in custody.
         The right to a prompt administrative hearing, either in-person or via video conference, to redetermine the grounds for continuing a
         minor in custody, including the right to introduce written and testimonial evidence in support of release, to inspect and rebut any
         evidence offered in opposition thereto, and to a verbatim record of the proceedings.
         The right to a prompt written decision at the conclusion of the hearing setting forth the factual and legal basis for retaining a juvenile
         in custody.
         The right to prompt optional administrative review of a hearing decision against release.
         Periodic review of a juvenile’s continued custody at regular intervals, and the right to have custody reconsidered in light of changed
         circumstances.

Plaintiffs remain willing to negotiate over how these general principles should be implemented so as to bring ORR’s practice into line with
either accepted child welfare principles or EOIR bond redetermination practice. I take it from your email, however, that HHS is unwilling to
afford detained children anything akin to either framework. If I am wrong in this, please advise. Otherwise, I share your view that further
discussions would indeed be futile.

Thank you,

Carlos Holguín
General Counsel
Center for Human Rights & Constitutional Law
256 S. Occidental Blvd.
Los Angeles, California 90057
213.388-8693 x.309 (v)
213.386.9484 (fax)
http://www.centerforhumanrights.org


  On Feb 9, 2016, at 11:52 AM, Fabian, Sarah B (CIV) <Sarah.B.Fabian@usdoj.gov> wrote:

  Dear Carlos:

  HHS has continued to discuss the issues raised at our meet and confer a few weeks ago. While HHS continues to hold the view that the
  Flores settlement agreement does not govern these issues, the agency is open to considering some changes in the reconsideration
  process.

  That said, you need to be aware that any reconsideration process that HHS would be willing or able to implement would likely be informal,
  and not a full administrative hearing. Keeping that in mind, they have asked me to request that you put into writing (even it is just bullet
  points), some ideas for what you would like to see ORR do to implement such a process so that we can see if there is any common ground
  that would make further discussions on this issue fruitful.

  Please let me know whether you are willing to send us your ideas in writing and if so, when we should expect to see them.

  Thank you.
  Sarah

  Sarah B. Fabian
  Senior Litigation Counsel
  Office of Immigration Litigation - District Court Section
  (202) 532-4824


  -----Original Message-----
  From: Carlos Holguín [mailto:crholguin@centerforhumanrights.org]


                                                                                                                                          12
Case 2:85-cv-04544-DMG-AGR Document 239-2 Filed 08/12/16 Page 16 of 123 Page ID
                                  #:7036
From: Carlos Holguín [mailto:crholguin@centerforhumanrights.org]
Sent: Wednesday, January 20, 2016 3:49 PM
To: Fabian, Sarah B (CIV)
Cc: Silvis, William (CIV); Schey Peter; Bussiere Alice
Subject: Re: Flores meet/confer conference call

Thank you for the update.

I suppose it should go without saying that plaintiffs cannot be expected to wait indefinitely for HHS to decide how it wishes to proceed.

Plaintiffs would prefer to save the time and expense of readying for litigation, but absent a decision from HHS within the next ten days
plaintiffs intend to proceed with an enforcement motion before the district court.

Sincerely,

Carlos Holguín
General Counsel
Center for Human Rights & Constitutional Law
256 S. Occidental Blvd.
Los Angeles, California 90057
213.388-8693 x.309 (v)
213.386.9484 (fax)
http://www.centerforhumanrights.org

  On Jan 19, 2016, at 3:34 PM, Fabian, Sarah B (CIV) <Sarah.B.Fabian@usdoj.gov> wrote:

  Hi Carlos:

  HHS has discussed your ideas about an additional administrative appeal process, and they are continuing discuss them. At this point,
  they have determined that if any action were to be taken, this discussion would have to be raised to the Secretary. They are willing to do
  so, but as you might imagine, this will take some more time. That means that for now I do not have a response for you as to what actions
  HHS might be willing to take in response to our discussion. As soon as they are able to raise this discussion to the necessary level, I will
  let you know their response.

  Thank you,
  Sarah

  Sarah B. Fabian
  Senior Litigation Counsel
  Office of Immigration Litigation - District Court Section
  (202) 532-4824


  -----Original Message-----
  From: Carlos Holguín [mailto:crholguin@centerforhumanrights.org]
  Sent: Wednesday, January 13, 2016 12:25 AM
  To: Fabian, Sarah B (CIV)
  Cc: Silvis, William (CIV); Schey Peter; Bussiere Alice
  Subject: Re: Flores meet/confer conference call

  Yes, of course.

  Carlos Holguín
  General Counsel
  Center for Human Rights & Constitutional Law
  256 S. Occidental Blvd.
  Los Angeles, California 90057
  213.388-8693 x.309 (v)
  213.386.9484 (fax)
  http://www.centerforhumanrights.org

    On Jan 12, 2016, at 8:07 PM, Fabian, Sarah B (CIV) <Sarah.B.Fabian@usdoj.gov> wrote:

    All:

    I heard from HHS counsel today, and she asked me to pass on to you a request for a few extra days to get back to you regarding your
    proposal from our meet and confer last Thursday. HHS would like to give your proposal full consideration and therefore would like to
    meet to discuss your proposal, but have been unable to set a time to discuss that would include all necessary participants in time to
    give you a response by this Thursday because of folks being out on leave. Would you be willing to extend their time to get back to you
    until Tuesday of next week?

    Thank you,


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                                  #:7037
   Thank you,
   Sarah



   Sent from my Verizon Wireless 4G LTE smartphone


   -------- Original message --------
   From: Carlos Holguín <crholguin@centerforhumanrights.org>
   Date: 1/6/2016 10:58 AM (GMT-06:00)
   To: "Fabian, Sarah B (CIV)" <sfabian@CIV.USDOJ.GOV>
   Cc: "Silvis, William (CIV)" <WSilvis@civ.usdoj.gov>, Schey Peter <pschey@centerforhumanrights.org>, Bussiere Alice
   <abussiere@ylc.org>
   Subject: Flores meet/confer conference call

   Here is the dial-in information for Thursday's 2:00 pm eastern/11:00am pacific conference:

   605.475.3220
   access code: 1038088#

   Carlos Holguín
   General Counsel
   Center for Human Rights & Constitutional Law
   256 S. Occidental Blvd.
   Los Angeles, California 90057
   213.388-8693 x.309 (v)
   213.386.9484 (fax)
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                      Exhibit 4-ORR
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                      Exhibit 5-ORR
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     Listen


Children Entering the United States Unaccompanied: Section 2
Safe and Timely Release from ORR Care
Published: January 30, 2015
Categories: Unaccompanied Children's Services


2.1 Summary of the Safe and Timely Release Process
The Office of Refugee Resettlement (ORR) has policies and procedures in place to ensure the care and safety of children who are apprehended in the
United States without a parent or legal guardian available to provide care and custody and without immigration status. These policies require the timely
release of children and youth to qualified parents, guardians, relatives or other adults, referred to as “sponsors.” Safe and timely release must occur within
a setting that promotes public safety and ensures that sponsors are able to provide for the physical and mental well­being of children.

ORR evaluates potential sponsors’ ability to provide for the child’s physical and mental well­being, as the law requires ORR to protect children from
smugglers, traffickers, or others who might seek to victimize or otherwise engage the child in criminal, harmful or exploitative activity. The process for the
safe and timely release of an unaccompanied child from ORR custody involves many steps, including: the identification of sponsors; the submission by a
sponsor of the application for release and supporting documentation; the evaluation of the suitability of the sponsor, including verification of the sponsor’s
identity and relationship to the child, background checks, and in some cases home studies; and planning for post­release.

Posted 1/27/15

2.2 Application for the Safe and Timely Release of an Unaccompanied Child from ORR Care
ORR begins the process of finding family members and others who may be qualified to care for an unaccompanied child as soon as the child enters ORR’s
care. Parents, other relatives, or close family friends can apply to have the child released to their care.

Posted 1/27/15

2.2.1 Identification of Qualified Sponsors
The care provider (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­to­terms#Care
Provider), the ORR funded facility that cares for the child, interviews the child as well as parents (see the section below on how ORR confirms relationship
with child), legal guardians, and/or family members to identify qualified custodians (“sponsors”). If a child is either too young or there are other factors that
prohibit the care provider from obtaining potential sponsor information from the unaccompanied child, the care provider may seek assistance from the
child’s home country consulate in collaboration with the ORR Federal Field Specialist (ORR/FFS)
(https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­to­terms#ORR/Federal Field
Specialist) or from a reputable family tracing organization. Finding a sponsor for the child is an ongoing process that continues during the unaccompanied
child’s stay in ORR care and custody in the event that the primary potential sponsor or primary release plan is not approved.

ORR releases children to a sponsor in the following order of preference1: parent; legal guardian; an adult relative (brother, sister, aunt, uncle, grandparent
or first cousin); an adult individual or entity designated by the parent or legal guardian (through a signed declaration or other document that ORR
determines is sufficient to establish the signatory’s parental/guardian relationship); a licensed program willing to accept legal custody; or an adult individual
or entity seeking custody when it appears that there is no other likely alternative to long term ORR care and custody. ORR has grouped these release
options into the following categories2:

      Category 1: Parent or legal guardian (This includes qualifying step­parents that have legal or joint custody of the child or teen)
      Category 2: An immediate relative­­a brother, sister, aunt, uncle, grandparent or first cousin. (This includes biological relatives, relatives through legal
      marriage, and half­siblings)
      Category 3: Other sponsor, such as distant relatives and unrelated adult individuals
      Category 4: No sponsors identified


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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                               1/18
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Although ORR gives preference to a parent or legal guardian when determining      release plans, there are instances when ORR would not release an
unaccompanied child to a parent or legal guardian. These include:

      There has been a court ordered termination of parental rights over the child.
      There is substantial evidence that the child would be at risk of harm if released to the parent or legal guardian.

In some cases, an unaccompanied child enters the United States with her biological child. In those cases, ORR will identify a sponsor for the
unaccompanied child as well as for the infant or toddler. In most instances, it is in the best interest of the unaccompanied child and her biological child to
be released to the same sponsor. When that occurs, the sponsor is assigned the same category for the infant as for the UC mother. This is true even if the
potential sponsor would be assigned a different category (based on their relationship status) if he or she were to sponsor the infant alone.

Revised 4/11/16

2.2.2 Contacting Potential Sponsors
The child’s care provider (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­to­
terms#Care Provider) is responsible for implementing safe screening methods when contacting and communicating with potential sponsors. These
methods are to ensure that a potential sponsor does not pose a risk to the unaccompanied child, to other children in the care provider facility or to care
provider staff.
These safe screening methods include:

      Use of appropriate interpreters
      Identity of the sponsor is obtained
      Verification of family relationships
      Coordination with the unaccompanied child’s parents, legal guardians, or closest relatives prior to contacting non­relative adult potential sponsors
      Screening for exploitation, abuse, trafficking, or other safety concerns
      Engaging the child to communicate openly with care provider staff about his or her own sense of safety

Posted 1/27/15

 2.2.3 The Application for Release
All potential sponsors must complete an application in order for a child to be released to them from ORR custody (the “Family Reunification Application”).

Within 24 hours of identification of a potential sponsor for a child or youth, the care provider or the ORR National Call Center sends the sponsor a package
with the application and related documents (called the Family Reunification Packet or FRP).

The application package includes the following documents:

      A flyer with contact information on organizations offering a Legal Orientation Program for Custodians (LOPC)
      Family Reunification Packet Cover Letter
      Authorization for Release of Information
      Family Reunification Application
      Family Reunification Checklist for Sponsors
      Sponsor Care Agreement
      (If applicable) Fingerprint instructions
      Sponsor Handbook
      (If parent or legal guardian wishes to specify) Letter of Designation for Care of a Minor

The care provider is available to help the potential sponsor complete the application and will remind potential sponsors of the deadlines for completing the
forms. The sponsor may also receive assistance in completing the application at some fingerprinting locations.

Revised 8/24/15

2.2.4 Required Documents for Submission with the Application for Release
In addition to completing and signing the Family Reunification Application and the Authorization for Release of Information, sponsors must provide
supporting documentation to show proof of their relationship to the child in ORR’s care. Sponsors must submit the following documents (see also The
Family Reunification Checklist for Sponsors (http://www.acf.hhs.gov/programs/orr/resource/unaccompanied­childrens­services#Family
Reunification Packet for Sponsors)):

      Proof of sponsor identity
      ­­a copy of a government issued ID (such as a State issued driver’s license or ID card or ID from the sponsor’s country of origin, such as a Passport)
      AND
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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                              2/18
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      ­­copy of his or her birth certificate (if necessary, some identity documents     from a sponsor’s country of origin may be used in lieu of the birth
      certificate)
      Proof of unaccompanied child’s identity
      ­­Copy of unaccompanied child’s birth certificate
      Proof of relationship
      ­­Copies of birth certificates, marriage certificates, court records, guardianship records, or other documents to provide proof of a relationship between
      the sponsor and the unaccompanied child
      ­­Category 3 sponsors who may have a distant relationship with the youth but no supporting documentation of it or who have no relationship with the
      youth must submit an explanation of their relationship with the unaccompanied child or the child’s family. Care providers should confirm the
      relationship with the unaccompanied child and the child’s family, if possible.
      Court records, police reports or proof of rehabilitation
      ­­ If a sponsor has been charged with or convicted of any crime or investigated for the physical abuse, sexual abuse, neglect, or abandonment of a
      minor, the sponsor must provide court records, police records, and/or governmental social service records related to the incident
      Proof of address (any potential sponsor other than parents or legal guardians)
      ­­ a copy of a current lease, a copy of a mortgage statement, a letter from the sponsor’s landlord confirming the sponsor’s address, or a copy of mail,
      preferably a utility bill, addressed in the sponsor’s name from the past two months

Posted 1/27/15

2.2.5 Legal Orientation Program for Custodians
All potential sponsors of children and youth under the care of ORR should attend a presentation provided by the Legal Orientation Program for Custodians
(LOPC). The purpose of this program is to inform potential sponsors of their responsibilities in ensuring the child’s appearance at all immigration
proceedings, as well as protecting the child from mistreatment, exploitation, and trafficking, as provided under the Trafficking Victims Protection
Reauthorization Act of 2008. The program also provides information about possible free legal counsel (pro bono legal services) for the youth or child during
the immigration court process.

The Office of Legal Access Programs (OLAP), within the Executive Office for Immigration Review (EOIR) at the U.S. Department of Justice, manages the
LOPC and contracts with legal service organizations around the country to provide LOPC services to potential sponsors in their local communities or in
metropolitan areas served by the program. EOIR is the entity in the federal government that is also responsible for adjudicating immigration cases by fairly,
expeditiously, and uniformly interpreting and administering the nation's immigration laws.

The unaccompanied child’s case manager (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­
guide­to­terms#Case Manager)is responsible for informing potential sponsors about all procedures related to the child’s case­­including attendance at an
LOPC presentation. The Family Reunification Packet (FRP) that goes to each potential sponsor includes an Authorization for Release of Information that
the sponsor must sign before the case manager may schedule an appointment for LOPC services. All potential sponsors should submit the Authorization
for Release of Information immediately and prior to submitting the complete FRP to ensure timely scheduling of their LOPC session.

Upon receipt of the Authorization, the case manager schedules an appointment for a potential sponsor to attend a presentation with one of the LOPC
providers around the country. Alternatively, the case manager contacts the LOPC Call Center for Unaccompanied Immigrant Minors at (888) 996­3848
and arranges for the Call Center to schedule an LOPC appointment for the potential sponsor or mail an LOPC Information Packet to the sponsor.

Posted 1/27/15

2.2.6 Additional Questions and Answers about this Topic
Q: Will sponsors receive the Family Reunification Packet through the mail or electronically?
A: Case managers will work with sponsors to identify the best way to get the packets to them, whether electronically or by fax transmission or postage paid
overnight mail.

Q: Do sponsors need assistance from an attorney or a paid representative to complete the packet?
A: No. The unaccompanied child’s case manager will be able to help the potential sponsor complete the form and explain the process.

Q: Is it possible for an unaccompanied child’s spouse to be a sponsor?
A: ORR considers release to an unaccompanied child’s adult spouse on a case by case basis.

Q: Is it possible for family members in the United States to proactively contact ORR about children who may have entered the country
unaccompanied?
A: ORR has a UC Parent Hotline at (800) 203­7001 to answer any questions family members may have3.

Posted 1/27/15

2.3 Key Participants in the Release Process
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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                                3/18
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ORR’s sponsor assessment and release decision process requires coordination       among care provider staff, nongovernmental third­party reviewers (Case
Coordinators), ORR staff, other Federal agencies, stakeholders, and Child Advocates, where applicable.

Case Managers (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­to­terms#Case
Manager) communicate with potential sponsors, gather necessary information and documentation, talk to any relevant stakeholders, and assess sponsors
to formulate a recommendation to the Case Coordinator. Case Coordinators (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­
united­states­unaccompanied­guide­to­terms#Case Coordinators) concurrently review all assessment information on an unaccompanied child and
sponsor to also make a recommendation. Once Case Managers and Case Coordinators agree on a particular recommendation for release, the
recommendation will be sent to the ORR/FFS (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­
guide­to­terms#ORR/Federal Field Specialist) for a final release decision. If the Case Manager and Case Coordinator cannot agree on a
recommendation, the case is elevated to the ORR/FFS for further guidance.

Revised 8/1/16

2.3.1 ORR/Federal Field Specialists (ORR/FFS)
ORR/FFS are ORR’s field staff located regionally throughout the country and are assigned to a group of care providers within a region. They have the
authority to approve all unaccompanied children transfer and release decisions; oversee care providers to ensure all services, policies, and procedures are
properly provided and implemented; and serve as a liaison to local stakeholders, including other Federal agencies, local legal service providers, local
communities, Child Advocates, etc. ORR/FFS also provide guidance, direction, and technical assistance to care providers.

With regard to the release process, ORR/FFS oversee individual unaccompanied children cases and review Case Manager, Case Coordinator, and Child
Advocate recommendations; and make final release and transfer decisions for ORR. ORR/FFS also make final decisions whether home studies are
conducted and/or post­release services are provided.4 ORR/FFS coordinate all aspects of a child’s case with care provider staff, Case Coordinators,
stakeholders, and other Federal agencies.

Revised 8/1/16

2.3.2 Case Managers
Care provider Case Managers perform a variety of duties, including coordinating the completion of assessments of unaccompanied children, completing
individual service plans, assessing potential sponsors, making transfer and release recommendations, and coordinating the release of a child or youth from
ORR care and custody. (The care provider provides a range of services through other trained staff that are described in Section 3: Services.)

The role of the Case Manager within the release process is to initiate and maintain ongoing communication with the potential sponsor, gather sponsor
information, and assess whether the potential sponsor is a suitable sponsor who can safely provide for the physical and mental well­being of the child or
youth. When communicating with the potential sponsor, the Case Manager may:

      Provide direct assistance on completing the sponsor application packet and ensuring provision of supporting documentation;
      Involve the sponsor in making a plan for individualized services for the unaccompanied child, as appropriate;
      Keep the sponsor informed of the child’s progress and current functioning;
      Provide the sponsor with detailed information about the child’s needs in order to fully assess the sponsor’s ability to provide care and services;
      Discuss services that are available in the sponsor’s community for the child; and
      Share relevant information on the unaccompanied child in accordance with applicable privacy and information­sharing policies and in collaboration
      with the unaccompanied child and the child’s clinician in a way that best serves the child’s safety and well­being.

The Case Manager’s role is also to ensure that information is gathered or shared with the appropriate staff and stakeholders during the sponsor
assessment process. The Case Manager provides weekly status updates to the unaccompanied child’s Case Coordinator and ORR/FFS on the progress in
achieving a safe and timely release with family members as well as potential challenges that may delay a release. The Case Manager informs other
stakeholders of the progress of a child’s case, including notification that an unaccompanied child may not have a potential sponsor, and any final release
decisions. Stakeholders may include local legal service providers and attorneys of record, other local service providers, Child Advocates, post­release and
home study providers, and other Federal agencies. Case Managers, in collaboration with the ORR/FFS and Case Coordinator, will also work with law
enforcement officials regarding an unaccompanied child’s pending release if the minor has outstanding criminal charges or other issues.

Revised 8/1/16

2.3.3 Case Coordinators
Case Coordinators are non­governmental contractor field staff assigned to one or more care providers primarily to review unaccompanied children cases
and provide transfer and release recommendations to ORR staff. The Case Coordinator is responsible for integrating all areas of assessment from the
Case Manager, Child Advocates, where applicable, and other stakeholders into a release plan that will provide for the unaccompanied child’s physical and
mental well­being. After staffing and reviewing a case, Case Coordinators and Case Managers must agree on a release recommendation. If there is a
disagreement or a particularly complex case, then the case will be elevated to the ORR/FFS for further guidance.


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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                            4/18
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      Providing timely review and assessment of potential sponsors and unaccompanied          children to make recommendations for release to ORR in
      conjunction with the Case Manager;
      Assisting ORR in ensuring that children are placed in the least restrictive setting while receiving all appropriate services;
      Meeting with individual unaccompanied children and care provider staff at designated ORR­funded care provider sites;
      Providing targeted child welfare­based assistance to care provider staff, as directed by ORR staff;
      Making recommendations for home study and post­release services for at­risk children;
      Making placement recommendations for children who require more specialized levels of care, such as long­term foster care and residential treatment
      centers;
      Participating in collaborative meetings with local stakeholders; and
      Participating in staffing of cases with care providers and designated ORR staff.

Revised 8/1/16

2.3.4 Child Advocates
ORR may appoint Child Advocates (http://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­to­
terms#Child Advocate) for victims of trafficking and other vulnerable children. Child Advocates are third parties who make independent recommendations
regarding the best interests of a child. Their recommendations are based on information that is obtained from the child and other sources (e.g., the child’s
parents, potential sponsors, government agencies, and other stakeholders). Child Advocates formally submit their recommendations to ORR and/or the
immigration court in the form of Best Interest Determinations (BIDs). ORR considers BIDs when making decisions regarding the care, placement, and
release of unaccompanied children, but it is not bound to follow BID recommendations.

As required by the TVPRA, ORR provides Child Advocates with access to information necessary to effectively advocate for the best interests of children
with whom they are working. After providing proof of appointment, Child Advocates have access both to their clients and to their clients’ records. Child
Advocates may access their clients’ entire original case files at care provider facilities, or request copies from care providers.5 Further, they may participate
in case staffings.

Child Advocates and ORR maintain regular communication, informing each other of considerations or updates that impact service provision and release
planning.

Child Advocates’ duties include:

      Client Visits: The Child Advocate meets with the unaccompanied child regularly and speaks with the child’s care provider staff in order to understand
      the child’s background and current situation.
      Decision Making: The Child Advocate helps the unaccompanied child understand legal and care­related issues, explains the consequences of
      decisions made in response to those issues, and assists the child in making decisions when the child requests such help.
      Best Interests Advocacy: The Child Advocate develops a service plan containing best­interest recommendations with respect to the care, placement,
      and release options; and keeps the care provider, ORR, and the legal service provider or attorney of record apprised of the plan and advocacy efforts.
      Case updates: The Child Advocate collaborates and regularly communicates with the care provider, ORR, and other stakeholders in the planning and
      performance of advocacy efforts. For children who have been released from ORR care, Child Advocates provide timely updates as appropriate or as
      requested by ORR.

In most cases, ORR appoints Child Advocates while children are in its custody. However, in its discretion, ORR may appoint Child Advocates for
unaccompanied children after their release from ORR care.

Posted 8/1/16



2.4 Sponsor Assessment Criteria and Home Studies
As noted in the Section 2.2 Application for Safe and Timely Release of an Unaccompanied Child from ORR Care, the application process for release
of an unaccompanied child involves a number of steps, including background checks (see Section 2.5 ORR Policies on Requesting Background
Checks) and submission of the application by the sponsor. This section describes the criteria ORR uses to assess each potential sponsor’s ability to
provide for the physical and mental well­being of the unaccompanied child, and the role of home studies in the process.

The sponsor assessment reviews a sponsor’s strengths, resources, risk factors and special concerns within the context of the unaccompanied child’s
needs, strengths, risk factors, and relationship to the sponsor. ORR also determines whether to conduct a home study, as required by the law or as
necessary to ensure the welfare of the child

Revised 3/15/16

2.4.1 Assessment Criteria

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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                              5/18
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ORR considers the following factors when evaluating family members and     #:7047
                                                                             other potential sponsors:

      The nature and extent of the sponsor’s previous and current relationship with the child or youth and the unaccompanied child’s family, if a relationship
      exists.
      The sponsor’s motivation for wanting to sponsor the child or youth.
      The unaccompanied child’s parent or legal guardian’s perspective on the release to the identified potential sponsor (for cases in which the parent or
      legal guardian has designated a sponsor).
      The child or youth’s views on the release and whether he or she wants to be released to the individual.
      The sponsor’s understanding of the unaccompanied child’s needs, as identified by ORR and the care provider.
      The sponsor’s plan to provide adequate care, supervision, access to community resources, and housing.
      The sponsor’s understanding of the importance of ensuring the unaccompanied child’s presence at all future hearings or proceedings, including
      immigration court proceedings.
      The linguistic and cultural background of the child or youth and the sponsor, including cultural, social, and communal norms and practices for the care
      of children.
      The sponsor’s strengths, resources, and mitigating factors in relation to any risks or special concerns of the child or sponsor, such as a criminal
      background, history of substance abuse, mental health issues, or domestic violence and child welfare concerns.
      The unaccompanied child’s current functioning and strengths in relation to any risk factors or special concerns, such as children or youth who are
      victims of human trafficking; are a parent or are pregnant; have special needs, disabilities or medical or mental health issues; have a history of
      criminal, juvenile justice, or gang involvement; or a history of behavioral issues.

Posted 1/27/15

2.4.2 Home Study Requirement
The care provider screens each case to determine whether to conduct a home study of the potential sponsor as required under the Trafficking Victims
Protection Reauthorization Act of 2008 (TVPRA) (http://www.gpo.gov/fdsys/pkg/BILLS­110hr7311enr/pdf/BILLS­110hr7311enr.pdf). Information
about the child is collected during initial placement into an ORR facility and throughout his or her stay. The care provider then uses the information
collected about the child in conjunction with the sponsor assessment process to determine whether to conduct a home study
(https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­to­terms#Home Study). The TVPRA
requires home studies under the following circumstances:

   1. The child is a victim of a severe form of trafficking in persons;
   2. The child is a special needs child with a disability as defined by section 3 of the Americans with Disabilities Act of 1990 (42 U.S.C. 12102(2));6
   3. The child has been a victim of physical or sexual abuse under circumstances that indicate that the child’s health or welfare has been significantly
      harmed or threatened; or
   4. The child’s sponsor clearly presents a risk of abuse, maltreatment, exploitation or trafficking, to the child based on all available objective evidence.

ORR also requires a home study before releasing any child to a non­relative sponsor who is seeking to sponsor multiple children, or has previously
sponsored or sought to sponsor a child and is seeking to sponsor additional children. ORR requires a home study for children who are 12 years and under
before releasing to a non­relative sponsor.

In circumstances in which a home study is not required by the TVPRA or this section, the Case Manager and Case Coordinator may recommend that a
home study be conducted if they agree that the home study will provide additional information required to determine that the sponsor is able to care for the
health, safety and well­being of the child. (See Footnote 4)

Home Study Report and Final Recommendation

A home study consists of interviews, a home visit, and a written report containing the home study case worker’s findings. A home study assesses the
potential sponsor’s ability to meet the child's needs, educates and prepares the sponsor for the child’s release, and builds on the sponsor assessment
conducted by the care provider staff to verify or corroborate information gathered during that process. The home study is conducted as a collaborative
psycho­educational process in which the home study case worker identifies areas where additional support, resources, or information are needed to
ensure a successful sponsorship, and provides corresponding psycho­educational assistance. The final recommendation must present a comprehensive
and detailed assessment of the sponsor’s ability to care for the needs of the child and address any additional information that emerges during the course of
the home study regarding the sponsor, the sponsor’s household or the child.

The home study provider must contact the care provider within 24 hours of home study referral acceptance, and must also contact the sponsor to schedule
the home visit within 48 hours of referral acceptance. The home study provider makes a recommendation to ORR about release with the sponsor. The
ORR Federal Field Specialist takes the home study provider’s recommendation into consideration when making a release decision. ORR has final authority
on release decisions.

The home study provider submits the written report within 10 business days of receipt of the referral. Any requests by the home study provider to extend
beyond 10 business days or to cancel a home study must be submitted in writing to the ORR Federal Field Specialist for consideration.
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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                                  6/18
8/10/2016Case         Children Entering the United States Unaccompanied:
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All releases following home studies require post­release services.            #:7048
Must a child receive a Trafficking Eligibility or Interim Assistance Letter from HHS prior to being referred for a TVPRA­mandated home study
under #1 above?

No, a child does not need to receive a Trafficking Eligibility Letter from HHS prior to being referred for a home study. A care provider may refer a child for a
home study under #1 above if, during the assessment for trafficking, the care provider determines the child is a victim of a severe form of trafficking in
persons.

In determining whether a TVPRA­mandated home study is required under #3 above, care providers consider the following questions:

What is physical abuse?

Physical abuse is an act that results in physical injury, such as red marks, cuts, welts, bruises, broken bones, missing or broken teeth or muscle strains.
Acts of physical abuse include but are not limited to punching, beating, kicking, biting, hitting (with a hand, stick, strap or other object), burning, strangling,
whipping, or the unnecessary use of physical restraint.

Is physical abuse intentional?

Generally, physical abuse is intentional; however, physical abuse can occur when physical punishment goes too far. In other words, an accidental injury of
a child may be considered physical abuse if the act that injured the child was done intentionally as a form of punishment.

Must a child have physical injuries to meet the standard for physical abuse under #3?

No, in some cases, a child may not have physical injuries at the time the care provider makes an assessment. Children may be in various stages of the
healing process or thoroughly healed from the physical abuse by the time they arrive in ORR care.

For the purposes of #3, who can physically or sexually abuse a child?

A parent, legal guardian, caregiver or other adult with a special relationship to the child can physically or sexually abuse a child.

Who is considered to be a caregiver or adult with a special relationship?

A caregiver is defined as any person who is entrusted with the child’s care and who lives with the child. Other adults with a special relationship to the child
could include a teacher, priest, or health care provider.

What is sexual abuse?

Sexual abuse of a child by a parent, legal guardian, caregiver or other adult with a special relationship to the child includes any of the following acts, with or
without the consent of the child or youth:

      Contact between the penis and the vulva or the penis and the anus, including penetration, however slight;
      Contact between the mouth and the penis, vulva, or anus;
      Contact between the mouth and any body part where the adult has the intent to abuse, arouse, or gratify sexual desire;
      Penetration of the anal or genital opening, however slight, by a hand, finger, object, or other instrument where the adult has the intent to abuse,
      arouse, or gratify sexual desire;
      Any other intentional contact, either directly or through the clothing, of or with the genitalia, anus, groin, breast, inner thigh, or the buttocks where the
      intent is to abuse, arouse, or gratify sexual desire;
      Any attempt, threat, or request by the adult to engage in the activities described above;
      Any display by the adult of his or her uncovered genitalia, buttocks, or breast in the presence of the child; and
      Voyeurism.

State laws on statutory rape are not the standard in assessing whether a youth has been sexually abused for the purposes of #3. Care providers use the
definition from the ORR rule concerning sexual abuse and harassment; however, for the purposes of determining when a home study is required, the
perpetrator is limited to a parent, legal guardian, caregiver or other adult with a special relationship to the child.

Under what circumstances is a child’s health or welfare considered to have been significantly harmed or threatened?

Care providers assess the totality of the circumstances in determining whether a child’s health or welfare has been significantly harmed or threatened. In
evaluating a specific case, care providers take into consideration not only the definitions of physical and sexual abuse listed

above, but also the circumstances surrounding the incident and any behaviors that the child or youth exhibits as a result of the abuse. Circumstances to
consider include but are not limited to: the amount of time that has passed since the abuse, the period of time in which the abuse occurred, the cultural
context in which the abuse occurred, the age of the child or youth at the time of the abuse, and the relationship between the youth and the perpetrator.
                                                                                                                                                   25
http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                                  7/18
8/10/2016Case       Children Entering the United States Unaccompanied:
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Care providers take into consideration the situations and behaviors listed#:7049
                                                                            below, but do not make a determination based solely on the presence or absence
of one of them.

      The child experiences on­going medical issues from physical injuries.
      The child exhibits negative or harmful behaviors, thoughts or emotions, such as, but not limited to, excessive hostility or aggression towards others,
      fire setting, cutting, depression, eating disorders suicidal ideation or substance abuse.

In evaluating difficult cases, the care provider should consult with their ORR/FFS.

Revsied 5/9/16

2.4.3 Additional Questions and Answers on This Topic
Q: What happens if a new sponsor is identified during the sponsor assessment process?
A: If there are multiple potential sponsors, the ORR­funded care provider will exhaust all efforts to facilitate a release to a parent or legal guardian while
also contacting and evaluating other potential sponsors concurrently. ORR has release order preferences and will evaluate sponsors concurrently in
accordance with the preference orders to determine the best placement for the child.

Posted 1/27/15

2.5 ORR Policies on Requesting Background Checks of Sponsors

In order to ensure the safety of an unaccompanied child and consistent with the statutory requirements under the TVPRA of 2008, ORR requires a
background check of all potential sponsors. Depending on the circumstances, this process may involve background checks on criminal history, child
abuse/neglect checks (CA/N), and immigration background checks for the sponsor and, if applicable, adult household members and adult care givers
identified in a sponsor care plan. The background check takes place as soon as the potential sponsor has been identified, agreed to the background
check, completed the Authorization for Release of Information form, if applicable, and provided a copy of a valid government issued photo identification.
Adult household members and adult care givers identified in a sponsor care plan requiring background checks through non­public registries or searches
are also required to submit an Authorization for Release of Information and a copy of a valid government issued photo identification.7

Revised 3/15/16

2.5.1 Criteria for Background Checks
The background check process varies, depending in part on the relationship of the potential sponsor to the unaccompanied child:

      Parents and legal guardians (Category 1)
      Other immediate adult relatives, such as brother, sister, aunt, uncle, grandparent or first cousin (Category 2)
      Distant relatives and unrelated adults (Category 3)

As a part of the process, all potential sponsors must undergo a public records check. The following indicates the minimum requirements for the process
for sponsors. ORR may require additional checks, verifications, or procedures for sponsors in any category if there are any unresolved issues or questions
related to the well being of the child.

The following table lists the types of background checks performed, and explains when they are performed, based on the potential sponsor’s relationship to
the unaccompanied child and other release considerations. (See also Section 2.7.4 (http://www.acf.hhs.gov/programs/orr/resource/children­entering­
the­united­states­unaccompanied­section­2#2.7.4), listing findings barring release)

 Type of Background Check                  Purpose                                              Persons Checked                        When Performed


 Public Records Check                      Identifies arrests or convictions of sponsors,       Potential Sponsors in Categories 1­3   In all cases
                                           adult household members, or others. If a check
                                           reveals a criminal record or safety issue, it will
                                                                                                Non­sponsor adult household
                                           be used to evaluate the sponsor’s ability to
                                                                                                members and adult care givers
                                           provide for a child’s physical and mental well­                                             In all cases
                                                                                                identified in a sponsor care plan
                                           being.


 Sex Offender Registry Check, conducted    Identifies sponsors and others that have been        Potential Sponsors in Categories 1­3   In all cases
 through the U.S. Department of Justice    adjudicated as sex offenders through a national
 NSOPWand Public Registry Sites where      search and, if available, a local Public Registry
 available                                 search.
                                                                                                Non­sponsor adult household            In all cases
                                                                                                members and adult care givers

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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                                  8/18
8/10/2016Case          Children Entering the United States Unaccompanied:
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                                                                               #:7050identified in a sponsor care plan

 Immigration Status Check conducted           Provides information about immigration court       Potential Sponsors in Category 1       Category 1 cases where there is a
 through the Central Index System (CIS),      actions and immigration statuses, including                                               documented risk to the safety of the
 the immigration database of non­citizens     information about orders of removal. The                                                  unaccompanied child, the child is
 maintained by USCIS                          information is used primarily to verify                                                   especially vulnerable, and/or the case is
                                              immigration status. If a potential sponsor has                                            being referred for a home study
                                              immigration issues that could lead to his or her
                                              removal from the United States, the sponsor will
                                              be required to have a safety plan for the
                                              unaccompanied child in the event the sponsor       Potential Sponsors in Categories 2­3   In all cases
                                              leaves the United States. (ORR does not
                                              disqualify potential sponsors on the basis of                                             Where a public records check reveals
                                              their immigration status.) As follow­up to the                                            possible disqualifying factors under 2.7.4;
                                              Immigration Status Check, the Executive Office     Non­sponsor adult household            or where there is a documented risk to the
                                              for Immigration Review (EOIR) Hotline provides     members and adult care givers          safety of the unaccompanied child, the
                                              the latest immigration court information.          identified in a sponsor care plan      child is especially vulnerable, and/or the
                                                                                                                                        case is being referred for a home study


 National (FBI) Criminal History Check,       Determines whether a sponsor or adult              Potential Sponsors in Category 1       Where there is a documented risk to the
 based on digital fingerprints or digitized   household member has a criminal history, has                                              safety of the unaccompanied child, the
 paper prints                                 been convicted of a sex crime, or has been                                                child is especially vulnerable, and/or the
                                              convicted of other crimes that compromise the                                             case is being referred for a home study
                                              sponsor’s ability to care for a child.
                                                                                                 Potential Sponsors in Categories 2­3   In all cases

                                                                                                 Non­sponsor adult household            Where a public records check reveals
                                                                                                 members and adult care givers          possible disqualifying factors under 2.7.4;
                                                                                                 identified in a sponsor care plan      or where there is a documented risk to the
                                                                                                                                        safety of the unaccompanied child, the
                                                                                                                                        child is especially vulnerable, and/or the
                                                                                                                                        case is being referred for a home study

 Child Abuse and Neglect (CA/N) Check,        Checks all localities in which the sponsor or      Potential Sponsors in Categories 1­2   In cases that require a home study, and
 obtained on a state by state basis as no     household member has resided in the past 5                                                cases where a special concern is identified
 national CA/N check repository exists        years

                                                                                                 Potential Sponsors in Category 3       In all cases


                                                                                                 Non­sponsor adult household            In any case where a special concern is
                                                                                                 members and adult care givers          identified
                                                                                                 identified in a sponsor care plan


 State Criminal History Repository Check      Assists in locating police or arrest records, or   Potential Sponsors in Categories 1­3   Used on a case­by­case basis when there
 and/or Local Police Check                    other criminal offense details, as needed.                                                is an unresolved criminal arrest or issue

                                                                                                 Non­sponsor adult household            that is still in process

                                                                                                 members and adult care givers
                                                                                                 identified in a sponsor care plan




Revised 4/11/16

 2.5.2 Results of Background Checks on Release Decisions
As an entity providing for the health and well­being of children and youth, ORR uses the results from background checks to determine whether release to a
potential sponsor is safe. A potential sponsor may be denied a release request, based on the results of a background check, and a release decision may
remain undecided until ORR obtains the results of a potential sponsor’s criminal history, immigration background checks, or child abuse and neglect
reports.

Criminal History

In the event that a background check of a potential sponsor or, if applicable, adult household member, reveals criminal history or a safety risk, the care
provider and ORR evaluate this information and request the potential sponsor to provide any additional information that may demonstrate the potential
sponsor’s ability to provide for the child’s physical and mental well­being.
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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                                                      9/18
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If release is not barred by Section 2.7.4 (http://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­
section­2#2.7.4), the decision to release a child or youth to a sponsor in these circumstances is based on all the following considerations:

      The severity of the criminal and/or child abuse/neglect history;
      The length of time that has passed since the criminal act or child abuse/neglect allegation occurred;
      The relationship of the potential sponsor and other adult household members to the child or youth; and
      The evidence, if any, of rehabilitation since the criminal act or child abuse/neglect allegation occurred.

In cases where the proposed sponsor or other adult household member has been charged with, but not convicted of, a crime, ORR may postpone a final
release decision until the legal issue is resolved.

If the sponsor has an outstanding order of removal, or a pending order of removal that is related to an underlying criminal act, the decision to release a
child or youth to a sponsor in these circumstances is based on the considerations described above.

Sponsor Immigration Status

ORR does not disqualify potential sponsors on the basis of their immigration status. ORR uses status information to determine whether a sponsor care
plan is necessary in the event the sponsor is required to leave the United States. (See Section 2.6
(http://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­section­2#2.6) Effect of Sponsor
Immigration Status on Release of Unaccompanied Children)

Summary Table of Results of Background Checks and Next Steps
The following table shows procedures following the results of background checks.

 Background Check Results                                                                      Next Steps


 No arrest record; check completed                                                             Proceed with release decision­making process. See Section 2.7 Recommendations
                                                                                               and Decisions on Release.


 Criminal arrest record and/or substantiated adverse child welfare findings; check             Determine whether release is barred. See Section 2.7.4 Deny Release Request. If
 completed                                                                                     release is not barred, elevate safety issues for third party review. For any findings that
                                                                                               could affect safe release, care provider and/or ORR will obtain additional documents to
                                                                                               determine current situation (e.g. sponsor is on probation, criminal charges are resolved,
                                                                                               etc.). Final release decision shall take into account the criminal records and all other
                                                                                               relevant information that is available.


 Immigration status concern (e.g. out of status, no legal status, prior order of removal, or   Review FBI record and CIS database report, and/or Department of Justice/Executive
 no immigration record for non­citizen)                                                        Office of Immigration Review’s case status hotline for information related to possible
                                                                                               unresolved immigration issues.


 Pending results; check not complete                                                           ORR/FFS will provide instructions to care provider




Posted 1/27/15

 2.5.3 Additional Questions and Answers on This Topic
Q1: Where can a sponsor get his or her fingerprints taken?
A1: ORR funds a network of digital fingerprint providers at locations that are not affiliated with law enforcement entities. Sponsors may also go to any local
police department for paper fingerprinting services in the event a digital fingerprint provider is not conveniently located near a sponsor’s location.
Fingerprinting services are not available at ORR headquarters and offices.


Q2: Is there a deadline for complying with a fingerprinting request?
A2: Yes. When required, fingerprints should be provided within 3 business days of the request. Release may be delayed if fingerprints are not provided
promptly.

Q3: Are potential sponsors required to disclose to the care provider that they have a record of a criminal charge or child abuse?
A: Yes. The sponsor must immediately advise the care provider of this situation and gather detailed documentation of the charges, dispositions, police
reports, and evidence of rehabilitation.

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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                                                           10/18
8/10/2016Case    Children Entering the United States Unaccompanied:
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Q4: What happens if a public records or sex offender registry check#:7052returns disqualifying findings for a sponsor, adult household member, or
adult caregiver identified in the sponsor care plan?
A4: The Case Manager informs the sponsor, and provides the sponsor with a copy of the results. The sponsor and household member/adult care giver
may dispute the results, and provide further evidence or information that a check was not performed correctly (e.g., the wrong date of birth was used, the
individual’s name was spelled incorrectly, etc.). The Case Manager will rerun the check using the corrected information. If further information is required,
such as additional background checks, the Case Manager will work with the sponsor and household member/adult caregiver to obtain the information, or
make other arrangements so that the safety risk to the unaccompanied child is mitigated (e.g., taking steps so that the household member no longer
resides in the sponsor’s home, identifying a new adult care giver, etc.).

Q5: What happens if an adult household member refuses to cooperate with a background check?
A5: ORR may deny release when an adult household member refuses to have a background check. When an adult household member refuses to
cooperate with a background check, ORR will review the circumstances of the refusal and all other relevant information that is available to determine
whether the release process will continue. A determination is made by judging what is in the best interests of the child. A child may not be released to any
sponsor until a determination is made that it is safe to do so.

Posted 1/27/15

2.6 Sponsor Immigration Status and Release of Unaccompanied Children
ORR does not disqualify potential sponsors on the basis of their immigration status. ORR does seek immigration status information, but this is used to
determine if a sponsor care plan will be needed if the sponsor needs to leave the United States; it is not used as a reason to deny a family reunification
application.

Posted 1/27/15

2.6.1 Application Process
How does ORR obtain information about immigration status?
ORR asks potential sponsors for their Alien Registration Number on the Authorization for Release of Information form. In addition, as described below,
ORR requires certain sponsors to provide fingerprints for background checks, and those checks may produce information about the individual’s
immigration status. During the sponsor assessment process, case managers also ask sponsors about their immigration status.

Posted 1/27/15

2.6.2 Fingerprints
Who must provide fingerprints as part of the release process?
All non­parents and some parents and legal guardians are subject to fingerprinting requirements. Parents and legal guardians must submit fingerprints if
there is a documented risk to the safety of the unaccompanied child, the child is especially vulnerable, and/or the case is being referred for a home study.

What does ORR use the fingerprints for?
Using digital fingerprints or digitized paper prints, the HHS Office of Security and Strategic Information (OSSI), on behalf of ORR, conducts a check of the
FBI national criminal history and state repository records.

What information does ORR obtain from the FBI criminal history and state repository check?
The FBI criminal background and state repository check provides immigration arrests by immigration authorities, such as an illegal entry, and criminal
arrests, such as DUI and assault.

Revised 3/15/16

2.6.3 Other Background Checks Related to Immigration
What other checks related to immigration status might be conducted?
OSSI, on behalf of ORR, may conduct a check of the Central Index System (CIS), the immigration database of non­citizens. In addition, if OSSI has an
alien registration number for the potential sponsor, OSSI calls the Executive Office for Immigration Review (EOIR) Hotline for immigration court status.

When does ORR conduct a CIS check?
All non­parents and some parents and legal guardians are subject to CIS checks. Parents and legal guardians undergo a CIS check if there is a
documented risk to the safety of the UC, the UC is especially vulnerable, and/or the case is being referred for a home study.

What does the CIS check provide?
The CIS check provides immigration court actions and information about orders of removal or other immigration status.

Revised 3/15/16

2.6.4 Results of Immigration­Related Checks
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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                          11/18
8/10/2016Case   Children Entering the United States Unaccompanied:
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What does ORR do with the results of the FBI fingerprint and CIS checks?#:7053
The information may be used to determine if a sponsor care plan will be needed in the event that the sponsor needs to leave the United States. In addition,
if the basis for an immigration action is underlying criminal activity, ORR and its grantee will review the underlying criminal activity to determine if it is
reason to disqualify the potential sponsor, as ORR does when evaluating other criminal activity uncovered during the fingerprint process, but unrelated to
immigration actions.

Who else may have access to the results of the FBI fingerprint checks?
ORR does not release the results of the FBI fingerprints to outside organizations or individuals, other than ORR grantees that are caring for the children.
The FBI and DHS databases contain overlapping records, and the FBI system automatically initiates a notification to the DHS system if a particular record
has been searched.

What is in a sponsor care plan?
A sponsor care plan identifies the individual that will assume care of an unaccompanied child if the sponsor becomes unable to care for the child. The care
plan also has guidance for sponsors on participating in post­release services and on other areas of care critical to the child’s adjustment in the family and
the community, such as maintaining mental health services for the unaccompanied child, accessing any needed special education, helping the child avoid
drugs and alcohol, and using appropriate parenting techniques.

Posted 1/27/15

2.7 Recommendations and Decisions on Release
After the ORR care provider has evaluated the sponsor, completed the background checks, and collected necessary documentation to prove a sponsor’s
identity and relationship to the child or youth, the care provider must determine whether to recommend release of the child to the potential sponsor. Such
recommendation must take into consideration all relevant information, including the report and recommendations of a home study, if conducted, and be
made only when the ORR care provider concludes that the release is a safe release and that the sponsor can care for the health and well­being of the
child.

      The care provider Case Manager (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­
      to­terms#Case Manager)and the Case Coordinator (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­
      unaccompanied­guide­to­terms#Case Coordinators)must make a recommendation to the ORR/FFS
      (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­to­terms#ORR/Federal Field
      Specialist) on the release of the unaccompanied child to a particular sponsor. If the Case Manager and Case Coordinator cannot agree on a
      particular recommendation, or if the case is particularly complicated, they may refer the case directly to an ORR/FFS for guidance on how to
      proceed.
      Once a recommendation is made, the ORR/FFS (http://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­
      unaccompanied­guide­to­terms#ORR/Federal Field Specialist)or other ORR/Headquarters staff
      (https://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­unaccompanied­guide­to­terms#ORR/Headquarters
      Staff)reviews the recommendation.
      The ORR/FFS makes a release decision in consideration of the recommendations from the care provider, the Case Coordinator, and other
      stakeholders, including the home study provider and the Child Advocate where applicable.

Only ORR has the authority to make the final decision on a release. The Case Manager and Case Coordinator and other stakeholders hold important roles
of making recommendations, based on all available information, the laws and statutes governing the process, and other factors that may contribute to a
particular case. In some cases, the ORR/FFS may send a case back to the Case Coordinator and Case Manager with the request to obtain additional
information before he/she will make a release decision.


The ORR/FFS will make one of the following release decisions:

      Approve release to sponsor
      Approve release with post­release services
      Conduct a home study before a final release decision can be made
      Deny release
      Remand for further information

Revised 8/1/16

2.7.1 Approve Release Decisions
A recommendation for a release without a home study or post­release services is made after a thorough assessment of the sponsor, the sponsor’s family
unit, and the needs of the child or youth are taken into consideration. The ORR/FFS makes this release decision when he/she determines that the release
is a safe release, the sponsor can care for the health and well­being of the child, and the sponsor understands that the child is to appear for all immigration
proceedings.
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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                           12/18
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Posted 1/27/15                                                               #:7054
2.7.2 Approve Release with Post­Release Services
The ORR/FFS may approve a release with post­release services when the release is determined to be safe and appropriate, but the unaccompanied child
and sponsor need additional assistance to connect them to appropriate resources in the community or to address other concerns, such as mental health or
other needs that could benefit from ongoing assistance from a social welfare agency. The sponsor must consent before services may be provided and may
withdraw his or her consent at any time after services have begun, since post­release services are a voluntary service. These services are provided for 6
months after the unaccompanied child is released to the sponsor, unless ORR determines that services should be provided for a shorter or longer period of
time. Post­ release services do not continue under any circumstances beyond an unaccompanied child’s 18th birthday.

Posted 1/27/15

2.7.3 Conduct a Home Study Before a Final Release Decision Can Be Made
The Case Manager and Case Coordinator will recommend to the ORR/FFS that a home study be conducted prior to making a release recommendation. If
the ORR/FFS agrees, he/she will approve that a home study be conducted before a final release decision can be made. The home study provider uses a
standardized template to complete the review; however, the provider may include any additional supporting documentation regarding the sponsor or the
child or youth, as applicable.
Once the Case Manager and Case Coordinator receive the home study results, they will review the case in light of the home study and make a release
recommendation to the ORR/FFS. (See Section 2.4.2 Home Study Requirements. (https://www.acf.hhs.gov/programs/orr/resource/children­
entering­the­united­states­unaccompanied­section­2#2.4.2))

Posted 1/27/15

2.7.4 Deny Release Request
ORR will deny release to a potential sponsor if any one of the following conditions exists:

      The potential sponsor is not willing or able to provide for the child’s physical or mental well­being;
      The physical environment of the home presents risks to the child’s safety and well­being; or
      Release of the unaccompanied child would present a risk to him or herself, the sponsor, household, or the community.



ORR may deny release to a Category 1 potential sponsor, and will deny release to a Category 2 or Category 3 potential sponsor,7 if any one of the
following conditions exists:

      The potential sponsor or a member of the potential sponsor’s household:
         Has been convicted of (including plea of no contest to) a felony involving child abuse or neglect, spousal abuse; a crime against a child or children
         (including child pornography); or a crime involving violence, including rape, sexual assault or homicide;
         Has been convicted within the last five years of a felony involving physical assault, battery, or drug­related offenses;
         Has been convicted of a misdemeanor for a sex crime, an offense involving a child victim, or a drug offense that compromises the sponsor’s ability
         to ensure the safety and well­being of the child;
         Has been convicted of alien smuggling or a crime related to trafficking in persons; or
         Has other criminal history or pending criminal charges or child welfare adverse findings from which one could reasonably infer that the sponsor’s
         ability to ensure the safety and well­being of the child is compromised;

or

      A potential sponsor or a member of the potential sponsor’s household has one of the following substantiated adverse child welfare findings:9
         Severe or chronic abuse or neglect;
         Sexual Abuse or other sexual offenses;
         Abuse or neglect of other children in the household;
         Long­term mental illness or deficiency;
         Long­term alcohol or drug induced incapacity; or
         Involuntary termination of the parental rights to another child.

Revised 3/15/16

2.7.5 Remand Release Request – Decision Pending
The ORR/FFS may remand the release request, which means that the ORR/FFS is sending the recommendation back to the Case Manager for additional
information or additional actions before a final release decision can be made. ORR records the date of the remand and the decision will be pending further
review until the documentation is provided or actions are taken.
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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                           13/18
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2.7.6 Issues Related to Recommendations and Decisions
Safety Plan
Case managers, in consultation with Case Coordinators, will prepare a safety plan, as needed, to address any outstanding needs the child may have after
he/she is released and to ensure the child’s safe and successful integration into the sponsor family unit and community. The goal of the safety plan is to
ensure the child’s safety.

Sponsor Care Plan
Unlike safety plans, sponsor care plans are only used for sponsors without immigration status. If a sponsor does not have immigration status, ORR will
require the sponsor to ensure that a sponsor care plan is in place in the event that the sponsor needs to leave the United States or is otherwise unable to
care for the child. The plan identifies the individual who will assume care of the child and will abide by the terms of the sponsor care agreement. The goal is
to ensure an unaccompanied child has a caregiver, despite any complications resulting from the sponsor’s immigration situation.

Posted 1/27/15

2.7.7 Appeal of Release Denial
ORR must notify a parent or legal guardian in writing if they are denied the release of a child. The denial notification letter must include:

      The basis for the denial
      Information on the process for requesting reconsideration of the decision

A parent or legal guardian who wants to request reconsideration of a release decision should submit a request to the ACF Assistant Secretary within 30
business days of receipt of the denial notice. The request should include the basis for the request along with any additional information that the requestor
would like the ACF Assistant Secretary to consider.

The ACF Assistant Secretary will conduct a review of the decision and notify the requestor of the results.

Sponsors other than parents or legal guardians who would like to request reconsideration of a release decision should submit a letter to ORR requesting a
reconsideration of the decision.

Posted 1/27/15

2.8 Release from Office of Refugee Resettlement (ORR) Custody
Release from the ORR custody is a three­step process:

      After care planning, which occurs during the entire safe and timely release process.
      Transfer of physical custody of the child, which occurs as soon as possible once an unaccompanied child is approved for release.
      Closing the case file, which occurs within 24 hours of the unaccompanied child’s discharge.

Posted 1/27/15

2.8.1 After Care Planning
Throughout the release process, care providers work with the child and sponsor so that they can plan for the child’s after care needs. This involves
working with the sponsor and the unaccompanied child to:

      Prepare them for post­ORR custody
      Assess the sponsor’s ability to access community resources
      Provide guidance regarding safety planning (if applicable) and accessing services for the child

Once the sponsor assessment is complete and a sponsor has been approved, the sponsor enters into an agreement with the Federal government in which
he or she agrees to comply with the following provisions (see Sponsor Care Agreement)
(http://www.acf.hhs.gov/programs/orr/resource/unaccompanied­childrens­services#Family Reunification Packet for Sponsors):

      Provide for the physical and mental well­being of the child, including but not limited to, food, shelter, clothing, education, medical care and other
      services as needed.
      For those who are not the child’s parent or legal guardian, make best efforts to establish legal guardianship with the local court within a reasonable
      time.
      Attend a legal orientation program provided under the Department of Justice/Executive Office for Immigration Review’s (EOIR) Legal Orientation
      Program for Custodians (Sponsors), if available where he or she resides.


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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                               14/18
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      Depending on where the unaccompanied child’s immigration case is#:7056pending, notify the local Immigration Court or the Board of Immigration Appeals
      within 5 days of any change of address or phone number of the child (Form EOIR­33). (If applicable, file a Change of Venue motion on the child’s
      behalf. A “change of venue” is a legal term for moving an immigration hearing to a new location.)
      Notify the DHS/U.S. Citizenship and Immigration Services within 10 days of any change of address by filing an Alien’s Change of Address Card (AR­
      11) or electronically at http://www.uscis.gov/ar­11 (http://www.uscis.gov/ar­11)
      Ensure the unaccompanied child’s presence at all future proceedings before the DHS/Immigration and Customs Enforcement (ICE) and the
      DOJ/EOIR.
      Ensure the unaccompanied child reports to ICE for removal from the United States if an immigration judge issues a removal order or voluntary
      departure order.
      Notify local law enforcement or state or local Child Protective Services if the child has been or is at risk of being subjected to abuse, abandonment,
      neglect or maltreatment or if the sponsor learns that the child has been threatened, has been sexually or physically abused or assaulted, or has
      disappeared. (Notice should be given as soon as it is practicable or no later than 24 hours after the event or after becoming aware of the risk or
      threat.)
      Notify the National Center for Missing and Exploited Children at 1­800­843­5678 if the unaccompanied child disappears, has been kidnapped, or runs
      away. (Notice should be given as soon as it becomes practicable or no later than 24 hours after learning of the child’s disappearance.)
      Notify ICE at 1­866­347­2423 if the unaccompanied child is contacted in any way by an individual(s) believed to represent an alien smuggling
      syndicate, organized crime, or a human trafficking organization. (Notice should be provided as soon as possible or no later than 24 hours after
      becoming aware of the information.)
      In case of an emergency, such as serious illness, destruction of home, etc., temporarily transfer physical custody of the child to another person who
      will comply with the terms of the Sponsor Care Agreement.
      In the event that a sponsor who is not the child’s parent or legal guardian is no longer able and willing to care for the unaccompanied child and is
      unable to temporarily transfer physical custody, notify ORR at the UC Parent Hotline, 1­800­203­7001.

The agreement includes the notice that the release of the unaccompanied child to the sponsor’s care does not grant the child any legal immigration status
and that the child must present himself or herself for immigration court proceedings.

The care provider also provides the sponsor with a Sponsor Handbook that outlines the responsibilities in caring for the unaccompanied child’s needs for
education, health, obtaining legal guardianship, finding support to address traumatic stress, keeping children safe from child abuse and neglect and from
trafficking and exploitation. The handbook reiterates the importance of continuing with immigration proceedings and includes links to EOIR’s website and
forms. The handbook discusses laws related to employment, such as the Federal law prohibiting minors under the age of 18 from working in hazardous
occupations.

After care planning includes the care provider explaining the following to the unaccompanied child and the sponsor:

      The U.S. child abuse and neglect standards and child protective services that are explained on the Administration for Children and Families Child
      Welfare Information Gateway (https://www.childwelfare.gov/)website.
      Human trafficking indicators and resources
      Basic safety and how to use the 9­1­1 number in emergency situations.

The care provider notifies all stakeholders of the child’s discharge date and change of address and venue, as applicable. Where applicable, ORR also
provides Child Advocates with access to their clients’ documents and forms, and helps child advocates to remain informed about their clients’ after­care
plans and legal proceedings. The care provider coordinates with the legal service provider or attorney of record to help complete the necessary legal
forms. Stakeholders notified of the change of address and, if applicable, request for change of venue for the immigration case include the U.S. Immigration
and Customs Enforcement (ICE) Office of Chief Counsel and the U.S. Executive Office for Immigration Review (EOIR) Immigration Court Administrator.

Revised 8/1/16

2.8.2 Transfer of Physical Custody
Once ORR approves an unaccompanied child for release, the care provider collaborates with the sponsor to ensure physical discharge happens as quickly
as possible (within 3 calendar days after ORR approves the release). The care provider notifies DHS prior to the physical release to allow DHS an
opportunity to comment on the imminent release as well as time to prepare any DHS paperwork for the ICE Chief Counsel’s office.

The care provider ensures that all the child’s belongings—including those he or she had at the time they entered ORR custody and any they acquired
during their stay—are given to the child and sponsor at time of release. The care provider also makes sure that the child and sponsor have copies of files
or papers needed for the child to obtain medical, educational, legal or other services following release.
Whenever possible, sponsors are expected to come to the care provider or to an offsite location designated by the care provider for the transfer of physical
custody of the child.

Under extenuating circumstances (e.g., a sponsor cannot travel due to a medical condition), ORR may approve an unaccompanied child to be escorted to
a sponsor. Similarly, if a sponsor pick­up would result in delay of a timely release of the child, ORR may approve an escort for an unaccompanied child.

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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                              15/18
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If an unaccompanied child’s final destination involves air travel and the sponsor   will not be traveling with the child, the care provider must follow the
procedures in the table below concerning care provider escorts and airline escorts.

Unaccompanied children who are under the age of 14 years old traveling via air may only be escorted by care provider staff, unless an ORR/FFS
Supervisor has approved the use of an airline escort in advance.

The sponsor is responsible for the unaccompanied child’s transportation costs and, if the care provider is escorting the child, for the care provider’s
transportation or airfare. If an airline escort is used, the sponsor is responsible for paying the airline’s unaccompanied minor service fee.

Under no circumstances will ORR pay for the sponsor’s airfare.

The following table summarizes procedures for each method of transfer.

 Method of Transfer                   Pre­transfer Steps                                         At point of Transfer


 Sponsor pick­up at care provider          Case manager collaborates with the sponsor on              Care provider checks the sponsor’s identification upon arrival by comparing it to
 facility                                  selecting a date and time for the sponsor to               the identification previously submitted by the sponsor in the FRP (see
                                           pick­up the child                                          Section 2.2.4)
                                           Case manager notifies the sponsor that he/she              If the sponsor’s identification matches the identification previously submitted,
                                           is required to bring the same valid government             care provider gives the sponsor the unaccompanied child’s release documents
                                           issued photo identification previously submitted           and personal possessions
                                           by the sponsor in the FRP (see Section 2.2.4)              Care provider advises the sponsor, if traveling by airplane, to check in the child at
                                                                                                      the ticket counter with a copy of the child’s DHS form I­862, Notice to Appear
                                                                                                      Care provider may not release the child unless the sponsor presents the same
                                                                                                      valid government issued photo identification he or she submitted in the FRP.



 Care provider escort to offsite           Case manager collaborates with the sponsor in              If traveling by air, at the departure airport, care provider escort checks in the child
 transfer location                         selecting a time and location for transfer, and            at the ticket counter with a copy of the child’s DHS form I­862, Notice to Appear
                                           flights for the child and care provider escort             At the transfer location, care provider escort compares the sponsor’s
                                           Case manager notifies the sponsor that he/she              identification with the copy previously submitted by the sponsor in the FRP. If the
                                           is required to bring the same valid government             identification documents correspond, care provider escort releases the child to
                                           issued photo identification previously submitted           the sponsor and provides the sponsor with the release documents and the
                                           by the sponsor in the FRP to the transfer                  child’s personal effects and papers
                                           location                                                   Care provider escort may not release the child unless the sponsor presents the
                                           Case manager arranges for the sponsor to pay               same valid government issued photo identification he or she submitted in the
                                           for the child and care provider escort’s                   FRP. If the sponsor does not produce valid identification, if the care provider
                                           transportation costs, including airline tickets            escort has concerns regarding the sponsor’s identity, or if the care provider escort
                                           where applicable                                           has concerns regarding the safety of the situation upon meeting the sponsor, the
                                           Case manager prepares a copy of the sponsor’s              care provider escort will return with the child to the care provider facility
                                           identification that was submitted in the FRP, for
                                           the care provider escort to take to the transfer
                                           location


 Travel via airline’s                      Case manager contacts the airline to obtain                At the departure airport, care provider checks in the unaccompanied child at the
 unaccompanied minor escort                information on airline escort requirements, in             ticket counter with a copy of the DHS form I­862, Notice to Appear, and a copy of
 policy (only for youth 14 years of        order to ensure that they are adequate to                  the approved identification of the sponsor picking up the child
 age and older)                            protect the safety of the child, and to ensure that        At the departure airport, care provider gives the child their personal possessions
                                           both the sponsor and the care provider can                 and documents and a copy of the sponsor’s approved identification, and mails an
                                           meet the requirements                                      additional copy of the release documents to the sponsor
                                           Case manager arranges for the sponsor to pay               At the destination airport, the sponsor arrives two hours before the child’s arrival
                                           for the child’s airplane ticket and for the airline        time, and contacts the care provider immediately to check in.
                                           unaccompanied minor escort fee                             The airline follows its standard procedures for escorting a child traveling alone to
                                           Case manager ensures that the government                   the designated parent or guardian
                                           issued photo identification submitted by the               The care provider contacts the sponsor shortly after the child’s scheduled arrival
                                           sponsor in the FRP will be acceptable to the               time to confirm the child’s transfer from the airline representative to the sponsor
                                           airline to complete custody transfer
                                                                                                      If the sponsor fails to arrive at the airport or fails to contact the care provider upon
                                           The care provider instructs the sponsor to meet            arrival at the airport, the care provider will notify the ORR/FFS and the Project
                                           the unaccompanied child and escort at the                  Officer, and the child will either be returned to the care provider or taken to
                                           airport with the identification they submitted in          another nearby care provider facility.
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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                                                          16/18
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                                      the FRP, and to follow the requirements of #:7058
                                                                                 the
                                        airline’s unaccompanied minors escort policy


When arranging for children to travel with airline escorts, care providers should also refer to the U.S. Department of Transportation recommendations for
unaccompanied minors traveling by air (“When Kids Fly Alone (http://airconsumer.ost.dot.gov/publications/kidsalone.pdf)”).

Revised 3/14/16

2.8.3 Closing the Case File
The care provider completes a Discharge Notification form within 24 hours of the physical discharge of a youth, and then emails the form to DHS and other
stakeholders. Once a child is released to a sponsor, ORR’s custodial relationship with the child terminates.

Although the custodial relationship ends, the care provider keeps the case file open for 30 days after the release date in order to conduct the Safety and
Well Being Follow Up Call (see Section 2.8.4) and document the results of the call in the case file. The care provider closes the case file record after
completing the Safety and Well Being Follow Up Call.

Revised 3/14/16

Section 2.8.4 Safety and Well Being Follow Up Call
Care providers must conduct a Safety and Well Being Follow Up Call with an unaccompanied child and his or her sponsor 30 days after the release date.
The purpose of the follow up call is to determine whether the child is still residing with the sponsor, is enrolled in or attending school, is aware of upcoming
court dates, and is safe. The care provider must document the outcome of the follow up call in the child’s case file, including if the care provider is unable
to contact the sponsor or child after reasonable efforts have been exhausted. If the follow up call indicates that the sponsor and/or child would benefit from
additional support or services, the care provider must refer the sponsor or child to the ORR National Call Center and provide the sponsor or child the Call
Center contact information. If the care provider believes that the child is unsafe, the care provider must comply with mandatory reporting laws, State
licensing requirements, and Federal laws and regulations for reporting to local child protective agencies and/or law enforcement.

Revised 3/14/16

2.8.5 Post­Release Services for UC with Zika Virus Disease or Infection

Testing

ORR follows CDC guidance and recommendations for Zika virus laboratory testing. CDC recommends testing for all pregnant UC without symptoms, but
who are from or traveled through areas with ongoing Zika virus transmission and are within 2–12 weeks of arrival in the United States. Other UC who
develop two or more symptoms consistent with Zika may be tested for Zika virus upon consultation with a healthcare provider.

Post­Release Referrals

Pregnant UC who are diagnosed with Zika virus disease, have laboratory results compatible with Zika virus infection, or have laboratory results that cannot
rule out Zika virus infection will be referred for post­release services. Similarly, UC who delivered while in ORR care will be referred for post­release
services if they were diagnosed with Zika virus disease, had laboratory results compatible with Zika virus infection, or had laboratory results that cannot
rule out Zika virus infection while pregnant.

In some cases, asymptomatic pregnant UC are released pending lab results. In those cases, ORR will communicate their test results to them and their
new healthcare provider. If their results are compatible with Zika virus infection or if Zika virus infection cannot be ruled out, ORR will refer them for post­
release services.

Post­Release Services

Post­release services for eligible UC described above include the full range of post­release services with a focus on connecting the UC to prenatal care
and maternal­child resources.

For more information about the Zika virus, please go to the CDC website at: www.cdc.gov/zika/index.html (http://www.cdc.gov/zika/index.html)

Posted 5/2/16




Footnotes
1. As per the release order preference outlined in Flores v. Reno Stipulated Settlement Agreement, No. 85­4544­RJK (Px) (C.D. Cal., Jan 17, 1997).

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http://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-2                                                                17/18
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2. Categories created for program use to help identify potential sponsors #:7059
                                                                            and are not intended to replace the legal order of preference.

3. The care provider uses a tool called the Checklist of Impairments That Substantially Limit Life Activities, to make a determination.

4. ORR/FFS Supervisors are the final authority for approving discretionary home studies (See Section 2.4.2)

5. Child advocates must keep the information in the casefile, and information about the child’s case, confidential from non­ORR grantees, contractors, and
Federal staff.

6. The Change of Venue motion must contain information specified by the Immigration Court. A Change of Venue motion may require the assistance of an
attorney. For guidance on the “motion to change venue,” see the Immigration Court Practice Manual at
http://www.justice.gov/eoir/vll/OCIJPracManual/ocij_page1.htm (http://www.justice.gov/eoir/vll/OCIJPracManual/ocij_page1.htm). For immigration
case information please contact EOIR’s immigration case information system at 1­800­898­7180. Visit EOIR’s website for additional information at:
http://www.justice.gov/eoir/formslist.htm (http://www.justice.gov/eoir/formslist.htm)

7. An Authorization for Release of Information is not required for sponsors, adult household members, or adult care givers identified in a sponsor care plan
undergoing a sex offender registry check. An Authorization for Request of Information also is not required for sponsors, adult household members and
adult caregivers identified in a sponsor care plan undergoing a public records check. However, sponsors will receive notice that public records and sex
offender registry checks will be performed, and will have an opportunity to explain the results of these checks to ORR. ORR will also provide a method for
disputing the results of checks. (See Section 2.5.3 (http://www.acf.hhs.gov/programs/orr/resource/children­entering­the­united­states­
unaccompanied­section­2#2.5.3), Q4).

8. ORR will also reject any sponsor care plans that identify an adult care giver who has any of the disqualifying criteria.

9. See U.S. Dept. of Health and Human Services, Children's Bureau. Grounds for involuntary termination of parental rights, at 2. Washington, DC: Child
Welfare Information Gateway, Jan. 2013.




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                      Exhibit 7-ORR
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                                                           SEP 23 2005
                                                             A- - Seattle

BIA & AAU Non-Precedent DecisionsReporter
2005 Immig. Rptr. LEXIS 54924


Matter of -

Core Terms

unaccompanied, detain, threshold issue

Headnotes
[*1]

The Board vacated finding that Immigration Judge (''IJ'') lacked jurisdiction over case involving unaccompanied
minor and remanded matter for further consistent proceedings upon finding that threshold issue of whether such
minor should be detained is within purview of court.

Counsel
COUNSEL: ON BEHALF OF RESPONDENT: Christopher H. Howard, Esquire

Opinion By: Opinion by: N/A

Opinion
This is an appeal by the respondent from an Immigration Judge's March 17, 2005, bond order finding that she
lacked jurisdiction over the instant case, which involves an unaccompanied minor. The record will be remanded.

The Immigration Judge, in her May 3, 2005, bond memorandum, found that, pursuant to 6 U.S.C. § 279, the
Department of Health and Human Services' Office of Refugee Resettlement (the ORR), had jurisdiction over the
respondent's custody matters. We find, however, that, notwithstanding 6 U.S.C. § 279, an Immigration Judge
retains jurisdiction over the threshold issue of whether an unaccompanied minor should be detained at all. Were
an Immigration Judge to determine that an unaccompanied minor should be detained, then the ORR would
have [*2] exclusive authority over decisions relating to the care and placement of the unaccompanied minor.

Accordingly, we find it appropriate to remand the record for the Immigration Judge to consider the threshold issue of
whether the respondent should be detained.

ORDER: The record is remanded to the Immigration Judge for further proceedings consistent with the foregoing
opinion and for the entry of a new decision. ____________________________________ #00002077#
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   RE: RUBEN                      Document 2004
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                                                  2004 WL 1398660 (BIA)

         ** THIS IS AN UNPUBLISHED DECISION - NOT INTENDED FOR CITATION AS PRECEDENT **


                                                  U.S. Department of Justice

                                          Executive Office for Immigration Review

                                                Board of Immigration Appeals

                               IN RE: RUBEN DE LOS ANGELES RODRIGUEZ-LOPEZ

                                               File: A79 238 898 - Los Angeles
                                                      March 29, 2004

IN BOND PROCEEDINGS

APPEAL



                                              ON BEHALF OF RESPONDENT:

Reagan Demas, Esquire

APPLICATION: Change in custody status

ORDER:

 *1 PER CURIAM. The respondent, an unaccompanied minor, appeals the Immigration Judge's July 30, 2003 denial of his
request to have a friend of his family, Ms. Rosa Moreno, declared as his sponsor and to be released from the custodial authority
of the Office of Refugee Resettlement (ORR) to Ms. Moreno. The respondent's appeal is dismissed.

The respondent is a 16-year old native and citizen of Honduras seeking to be released from custody. He asserts that he can be
cared for by Ms. Moreno, who claims to be a friend of the respondent's family. On June 2, 2003, Ms. Moreno submitted a sponsor
packet to the ORR, the agency now charged with coordinating and implementing the care and placement of unaccompanied
alien children who are in federal detention. On June 13, 2003, the ORR initially indicated that the sponsorship request had been
approved, but subsequently, on July 11, 2003, the ORR indicated that its prior letter had been incorrectly sent and that a home
assessment of Ms. Moreno's home first needed to be conducted, after which the ORR would evaluate the information and arrive
at a determination on Ms. Moreno's suitability as a sponsor for the respondent. 1

On July 30, 2003 the respondent appeared before an Immigration Judge, represented by counsel, and sought release from
custody to the guardianship of Ms. Moreno. In support of his request, the respondent submitted various filings from Ms. Moreno,
including a brief statement in support of the respondent dated May 15, 2003, an Affidavit of Support (I-134), a utility bill,
wage and earnings information, a copy of her driver's license, a juvenile sponsor worksheet, and a completed questionnaire
for applicants who want to gain custody of minors under the nationwide settlement in Flores et al v. Reno, which pertains to
detention and release standards for unaccompanied minors. Ms. Moreno, however, did not appear before the Immigration Judge
in support of the respondent's request for release. The Immigration Judge denied release on bond, finding that release to Ms.
Moreno was insufficient to ensure the respondent's appearance at future proceedings. More importantly, the Immigration Judge



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found insufficient evidence that release to Ms. Moreno would adequately provide for the guardianship and protection of the
respondent. This appeal followed.

Initially, we note that the Homeland Security Act of 2002, Pub. L. No. 107-296, 116 Stat. 2153 (enacted Nov. 25, 2002) (HSA),
transferred to the ORR the functions under the immigration laws of the United States with respect to the care of unaccompanied
alien children in detention. More specifically, the HSA transferred to the ORR the exclusive responsibility for coordinating
and implementing the care and placement of unaccompanied alien children who are in federal custody by reason of their
immigration status. See 6 U.S.C. § 279(b)(1)(A-L). This function was previously carried out by the Office of Juvenile Affairs
of the Immigration and Naturalization Service, now part of the Department of Homeland Security (DHS).

 *2 The Immigration Judge's authority to redetermine conditions of custody under 8 C.F.R. § 1236.1(d) extends only to certain
custody determinations by the Attorney General, not the ORR. Thus, the Immigration Judge is wholly without authority to make
any determination regarding the placement of the respondent. The respondent's contention, on appeal, that the Immigration
Judge erred in denying Ms. Moreno's sponsor application is without merit as the Immigration Judge had no authority under
the law to grant Ms. Moreno's sponsor application. Moreover, the respondent's argument that this Board should require the
ORR to provide reasons for not approving Ms. Moreno as the respondent's sponsor is also without merit as such decisions are
solely within the purview of the ORR and we have no authority under the HSA to order the ORR to provide reasons for its
sponsorship decisions.

Our review here pertains solely to whether the Immigration Judge erred in denying the request of an unaccompanied minor to
be released from custody under 8 C.F.R. § 1236.1(d). The respondent's custody proceedings are governed by section 236(a) of
the Immigration and Nationality Act. In custody proceedings under section 236(a) of the Act, the respondent must demonstrate
that his release would not pose a danger to property or persons and that he is likely to appear at any future proceedings. See
Matter of Adeniji, 22 I&N Dec. 1102 (BIA 1999); Matter of Patel, 15 I&N Dec. 666 (BIA 1976); 8 C.F.R. § 1236.1(c)(8).

In the instant case, the respondent has failed to establish that he is likely to appear at any future proceedings. The respondent
failed to establish any substantial family or community ties to the United States. Moreover, the Immigration Judge correctly
determined that the assurances of Ms. Moreno that she will present the respondent for his removal hearings are insufficient,
particularly where the ORR has not determined that the respondent can safely be placed in her care.

In addition, we find that the Immigration Judge was properly concerned about the welfare of the respondent if released to
an unknown individual. We agree that unaccompanied children should not be held in detention unnecessarily pending the
determination of their eligibility to remain in the United States. Indeed, that appears to be the premise behind the settlement
in Flores, et al v. Reno. Neither should they, however, be released to unknown persons who have not been cleared by the
ORR, which is the agency with demonstrated child-welfare expertise upon whom such decisions are now conferred under
the HSA. Therefore, we find no fault with the Immigration Judge's decision in this regard, and we are not persuaded that the
Immigration Judge erred in denying the respondent's request for release from custody. Accordingly, the respondent's custody
appeal is dismissed.

                                                            <Signature>

                                                        FOR THE BOARD



Footnotes
1      The respondent states, through counsel on appeal, that on July 30, 2003 the ORR telephonically indicated that the release of the
        respondent to Ms. Moreno had been denied. Subsequently, counsel indicates that the ORR informed counsel that the results of the
        home assessment had led to the conclusion that Ms. Moreno's home would not be a good environment for the respondent.
                                                    2004 WL 1398660 (BIA)



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                      Exhibit 9-ORR
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                 UNITED STATES DEPARTMENT OF JUSTICE
               EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                          IMMIGRATION COURT
                         AR1ESIA, NEW MEXICO

   IN THE MATTER OF                                          )
                                                             )       lN BOND PROCEEDINGS
                                                             )
   GRANADOS-GUTIERREZ, Maria Teresa(LEAD)       )                    File Nos.: A206-848-455
   GUTIERRJ!1Z-GRANADOS, Herson Yonatan (MINOR) )                               A206-848-456
                                                             )
                                                             )
   Respondents                                               )



   MOTION:              Motion for Bond and Release Pursuant to the Flores Settlement
                        Agreement

   On Behalf of Respondent:                           On Behalf of DHS:
   Rachel S. Bloomekatz, Esq.                         Karen Donoso Stevens
   Jones Day                                          Senior Attorney- ICE
   325 John H. McConnell Blvd.                        1901 S. Bell Street, Suite 900
   Columbus, OH 43215                                 Arlington, VA 22202

                              ORDEB, QI THE IMMIGRATION JUDGE

                         I.      BACKGROUND AND PROCEDURAL HISTORY

   The hearing in this matter was conducted in Artesia, New Mexico, through videoconference
   pursuant to lNA § 240(b)(2)(A)(iii). Maria Teresa Granados-Gutierrez, Lead Respondent, and
   her son Herson Yonatan Gutierrez-Granados, Minor Respondent, are natives and citi:zens of El
   Salvador. On July 10, 2014, the Department of Homeland Security (DHS) issued Notices to
   Appear (NTAs), charging Respondents with removability under INA§ 212(a)(6)(A)(i) as aliens
   present intheUnited States withou1 having been admitted or paroled. Respondents accepted the
   factual allegations and conceded Tel.llovability as charged. Respondents further indicated that
   they would be tiling l-589 applications for asylum, withholding ofremoval, and relief pursuant
   to the Convention Again~1: Torture (CAT).

   On July 16, 2014, Respondents were denied bonds by DHS and were to t•emain in detention
   pending the outcome of removal proceedings. Respondents reserved an appeal of this
   determination. On August 14, 2014, Respondents presented their case for bond and custody
   redetenninations to this Court. DHS maintained its position that Respondents were flight risks
   whose release would posit national security concerns. Respondents advocated for discretionary
   release based on their pending asylum claims, ties to the community, and the Flores Settlement




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   .Agreement. The Court rendet"ed its decision desianatina a family bond of $30,000.
   Alternatively, the Court maint:alned its jurisdiction in order to contemplate whether one or both
   Respondents were eligtble for release from custody pursuant to the Flores Settlement Agreement.

   The case was re-set for a custody redetermination hearing on September 9t 2014. The issue now
   before the Court concerns Respondents' elig~bility for release pmsuant to the Flores Settlement
   Agreement. For the reasons conWned herein, the Court will grant Mi11or Respondent Herson
   Yonatan. Gutierrez-Granados' request for release from custody. but will deny Lead Respondent
   Maria. Teresa Granados-Gutierrez's request. Minor Respondent will be released pursuant to
   conditional parole under section 236(a)(2)(B) of the Immigration and Nationality Act (..lN'A" or
   the "Ac:t") into the custody of his aunt. Rosa Mundo, while Lead Respondent will remain in
   custody pursuant to a proportionately reduced bond of$15,000.

                                                 IL      EVIDENCE
   A.      Doewnenta.ry Evidence

   The Bond Procecd:ings record contains the following evidence:

   Group Exhibit 1:          Respondent's Memorandum and Documentary Evidence in support of her
                             Motion for Bond and for Child's Release pursuant to the Flores Settlement
                             Agreement, including the following:

           Tab A             Copy of Rosa Mundo•s buth ce.Lti.:ficate., with correspondi.llg translation;

           Tab B             Copy of Rosa Mundo's Legal Permanent Resident Card;

           Tab C             Copy of Rosa Mundo's Certification of Completion of Naturalization
                             Test;

           Tab D             Copies of Rosa Mundo's documents including her Texas driver's license,
                             electric bill, and mortgage payment receipt;

           Tab E             Copies of Rosa Mundo's social security card and a pay stub;

           Tab F            Letter to the Immigration Judge from Rosa Mundo;

           Tab G             Complete Affidavit ofSupport (Fonnl-134) for Respondents on behalf of
                             Rosa Mundo;

           Tab H             Respondents' identity documents (birth certificates and identification
                             card) with translations; and

   1
    Respondents appm1led that decision to the Board oflmmigration Appeals on August HI, 2014. This Court may
   entertain a bond redetermination request. even where there is an appeal pending before the Board of lrrunigration
   Appeals. Mattar of Valles, 21 t&N Dec. 169 (BlA 1997).




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            Tab I       Letter of Minor Respondent's school principal in El Salvador with
                        certified translation.

   Group Exhibit 2:     The Department of Homeland Security's Submission of Documentacy
                        Evidencet including therein:

            Tab A       Declaration of Philip T. Miller, Assistant Director of Enforcement and
                        Removal Operations ("ERO") and Immigration and CUstoms Enforcement
                        ('"1CE") Field Operations, dated August 7, 2014;

            Tab B       Declaration of Trac:i A. Lembke, Assistant Director of Investigative
                        Programs for Homeland Security Investigations ("HSP') and ICE, dated
                        August 7, 2014;

            Tab C       Written testimony of DHS Secretaryt Jeh Johnson, before the House
                        Committee on Homeland Secwity, hearing titled ''Dangerous Passage:
                        The Growing Problem of Unaccompanied Children Crossing the Border,"
                        release date June 24, 2014;

            Tab D       Preston and Archibald, '"U.S. Moves to Stop Surge in Illegal
                        Immigration/) N.Y. Times, June 20~ 2014;

            Tab E       Preston, ""New U.S. Eff011 to Aid Unaccompanied Child Migrants," N.Y.
                        Times, June 2~ 201 4;

            Tab F       Shear and Peters~ ''Obama asks for $3.7 Billion to Aid Border," N.Y.
                        Times, July 8, 2014;

            Tab G       Dwyer, "A 12-Year-Old's Trek of Despair Ends in a Noose at the Border,"
                        N.Y. Times,April19 1 2014~

            Tab H       Preston, ••snakes and 1norny Brush, and Children at the Border Alone,"
                        N.Y. Times, June 25, 2014;

            Tab I       ~'Guatemalan Boy Sought Care for Family in the U.S. and Died Crossing
                        Border Desert," The Guardian, July 2, 2014;

            Tab J       "72 Bodies Found in Mexico were Immigrants, Officials Say;' CNN Wire,
                        J\ugust25,2010;and

            Tab K       Matter ofD-J-, 23 I&N Dec. 572 (AG 2003).

   Exhibit 3:           Additional docume.nts in support of Respondents' Motion, including an
                        "Agreement P\ll'Suant to Flores Settlement Agreement" signed by Rosa



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                           Mundo for Minor Respondent and a oopy of Respondents• agreement with
                           current comsel for continued representation in all future immigration
                           proceedings.

    B.     Testimonial Evidence

    In addition to the evidenee listed above, Lead Respondent was questioned in these proceedings.
    That testimony will be summarized here to the extent it is relevant to the Court's decision.

    Respondents, through counsel 1 prefaced all questioning with a summary of Respondents'
    background. Namely, counsel indicated that Respondents have "significant ties to the United
    States" with two close relatives who are lawful pennanent residents and two additional close
    relatives who reside in the United States pursuant to Temporary Protected Status. Lead
    Respondent's older sister and Minor Respondent's aunt, Rosa Mundo, is a lawfi.u permanent
    resident who resides in Spring, Texas outside the Houston Metropolitan Area. Counsel indicated
    that her law firm has an office in Houstont Texas and that, should Respondents be released,
    counsel would continue representation pursuant to a previously executed retainer agreement
    Counsel emphasized that Respondents have pending asylum applications that demonstrate a high
    likelihood on the merits and a plausible future avenue to adjust status once Rosa Mundo is
    naturalized.

   After this summation of the facts was provided by Respondents • counsel. Government counsel
   conducted questioning of Lead Resp011dent. Lead Respolldent testified that she paid a smuggler
   to gain passage to the United States. Specifically, Lead Respondent paid $7000 for her and
   Minor Respondent to cross the United States border on a raft with a group of people. The
   smuggler did not cross the river with Respondents. Lead Respondent was able to pay the $7000
   fee with some money she borrowed and other money her partner (hereinafter "husband') sent
   from the United States. Lead Respondent indicated that her husband and sister. Rosa Mundo,
   were aware of her plans to enter the United States illegally. Both were aware that Lead
   Respondent would be travelling with Minor Respondent. Lead Respondent~s husband is the
   father of Minor Respondent and he currently lives in Dallas, Texas. Were Respondents to be
   released, they would live with Rosa Mundo in Houston. Lead Respondent•s husband would then
   relocate to reside in Rosa's home. Lead Respondent reiterated that neither she nor Minor
   Respondent had ever entered the United States previously. Also, she explained that she had not
   made any attempts to procure a visa or other means of entering the United States legally before
   engaging with the smuggler and crossing the United States border.

                                      lll.      RESPONDENTS' POSITION

   Lead Respondent requests that this Court release her and Minor Respondent from custody
   pursuant to 8 C.P.R. § 1003.19 or the Flores Settlement Agreement. Respo-ndents argue that they
   meet the requirements for release from custody under the standard traditionally p1·escribed by the
   Board of Inim:igration Appeals. See Matter of Patel. lS I&N Dec. 666 (BIA 1976). More
   specifically, Lead Respondent argues that because she and Minor Respondent have strong claims
   for asylum. significant community ties, a permanent address for residency, no criminal bistory,




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   and no attempts to evade immigration laws or officers, that neither party presents a flight risk or
   threat to society.

   Lead Respondent also contends that the release of neither she nor Minor Respondent would give
   rise to national security concerns. Respondents aver that the Government's position in this case
   regarding Matter of D-J-, 23 I&N Dec. 572 (BIA 2003) is incorrect. Principally, Respondents
   argue that Matter of D·JM was not designed to create a policy that amounts "to an assertion that
   no one from Central Alnerica can receive release on bond" or a blanket national security threat
   that would disallow a single immigrant from three countries to be released from custody.
   Respondents' Memorandum in Support, at *7-8. Such an assertion would be overbroad and
   against the individualized custody determination that is required pursuant to section 235 ofthe
   Act. Id. at *7-8. In fact_ Respondents argue that allowing DHS to apply a nationality or race-
   based policy on these grounds would be unconstitutional. ld. at *8. Alternatively, Respondents
   provide that even if Matter of D-J- were a valid source of contention, it is inapplicable to this
   case as the fii.cts are distinguishable. Id. Specifically, Matter ofD-J~ repeatedly emphasized that
   the immigrants attempted to evade arrest which created a flight risk. Respondents state that this
   risk is not at .issue in their applications for release. Moreover~ the immigrants in Matter o.fD-J-
   did not have viable claims to asylum and were coming from a country which was a staging point
   for illegal hmnigration by sea. I d. Respondents argue that the holdings from Matter q.f D-J~ do
   not apply to their custody dete.nninati.otlS because they possess valid claims for asylum and there
   is no lligher-level national security risk in their case.

   Lastly, at a mininnm, Lead Respondent argues that Minor Respotldet'lt must be released to his
   aunt in accordance with the Flores Settlement Agreement..Lead Respondent states that Minor
   Respondent must be released under the Flores Settlement Agreement unless it is determined his
   detention is necessary to secure his presence before the Cowt. Because this is not at issue in
   Minor Respondent's case, and because his aunt has provided the necessary affidavit in support as
   required by the Flores Settlement Agreement, Minor Respondent must be released from custody.
   Respondents request that, pursuant to the Flores Settlement Agreement, Minor Respondent be
   released on his own recognizance, or alternatively, on a low bond.

                                        IV.       GoVERNMENT'S POSJTION

   Department of Homeland Security (DHS) maintains a "no bond, high bond" position regarding
   the release of aliens at the botder under the current circumstances. This policy is to apply to
   adults, juveniles, and unaccompanied minors alike due to the issues at play invo1ving the current
   influx of undocumented immigrants at the United States border. DHS has submitted two
   affidavits, various news articles, and a copy of Matter of D-J-, 23 I&N Dec. 572 (AG 2003) in
   support of its position.

   The first affidavit provided by Mr. Philip Miller (acting Assistant Director of Field Operations
   tbr Enforcement and Removal Operations) advocates for the "no bond, bigh bond, policy in light
   of national security concerns developing from current Central American mass migration. DHS'
   Documents~ Tab A, at *2 ~ 11. Mr. Miller explains that detention is crucial during instances of
   mass migration becmse annual S~ll'Veys of Central Americans show that one key instigating



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    fuctor is the existence of an 04active migration network." /d. Immigrants released on bond are
    considered members of this ''network.)• As a result, allowing detainees to bond out would have
    "an indirect yet significant adverse" effect on national security as it "u:ndemlines the integrity of
    our borders.» ld. Mr. Miller attests that immigrants will continue to :migrate under the impression
    that they will be released :ftom detention if a policy favoring release is implemented. ld Also,
    Mr. Miller explains that significant resources have been directed to the border in order to conduct
    hearings and investigations. as well as to dismantle criminal smuggling organizations. By
    reducing the current influx of foreign nationals, including adults with children, from Guatemala,
    Bl Salvador. and Honduras, DHS will again be able to reallocate resources to handle ·~other
    priorities" such as criminal and dangerous aliens. Further, at least the '~no bond. high bond,
    policy would allow DHS officials more time to screen detainees to properly identify those
    individuals who present threats to the community and/or national security. Id.

    The second affidavit provided by Ms. Ttaci Lembke (acting Assistant Director of Investigative
    Programs for Homeland Security Investigations) relays many of the same concerns. The only
    major distinction is that her affidavit places heavy emphasis on the ''serious threat'' that human
    trafficking poses to United States national security and immigrants. DHS' Documents, Tab B, at
    *6. The affidavit provides details on the operations of human smuggling organizations and how,
    by focusing. on the border and current mass migration concerns, resources are being redirected
    from other priorities. Id. at *7. Ms. Lembke concludes that "[i]mplementing a 'no bond• or 'high
    bond' policy would help alleviate these disruptions by deterring future mass migration." ld. at
    *7, , 20.

   Both affidavits are critical to the Government's position as they maintain that ''national security"
   concerns substantiate the need for a "no oond. high bond" policy pursuant to Matter ofD-J-, 23
   I&N Dec. 572 (AG 2003). ln Matter ofD.J-, the Attorney General held that hnmigration Judges
   faced with concerns of mass migration must consider national security threats as well as
   evidence presented by the Government from sources in the Executive Branch with relevant
   expertise which establishes significant national security interests are implicated. 23 I&N Dec. at
   581. Signifi<?Wltly~ 1he Attomey General held that encouraging unlawfill mass migration from a
   foreign country is inconsistent with sound immigration policy and important national security
   interests and thus, constitutes a ~'reasonable foundation~· for the exercise of discretion to deny a
   release on bond pursuant to the Act. !d. at 579. DHS maintains that the current situation is
   analogous to that at issue in Matter ofD.J- and thus, the "no bond, high bondn policy is the best
   option to be implemented.

   Specific to Respondents' requests for releaset DHS is unsatisfied with Respondents' evidence as
   presented. Namely, DHS maintains that no bo11d is proper in light of Respondents' blatant
   violatio11s of U.S. immigration law and policy. DHS further argues that Respondents have not
   shown that they warrant relief under Matter of Guerra, 24 l&N Dec. 37, 38 (BIA 2006) or
   Matter of Patel, 15 I&N Dec. 666 {BIA 1976). Thus, DHS posits that given the significant
   national security concerns and the fact that Respondents have not demonstrated any favorable
   factors necessary for release, both Respondents have not carried their burden of proof and should
   remain detained with no bond or, at least a very high family bond.




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                                            V.       SDMMARYO.FLAW

   A.      The FloJ"eS Settlement Agreement

   This section will first summarize the procedural posture and relevant holdings that gave rise to
   the Flores Settlement Agreement (FSA). It will then outline the relevant parameters of the FSA.
   Lastly, it will summarize any subsequent legislation relevant to minors2 in custody and
   persuasive case law arising from the terms of the FSA.

           1.    . History of the FSA

   The oases giving rise to the FSA and, in fact what urged the need for the FSA <Jriginally, was the
   increasing number of unaccompanied juveniles who entered the United States dating all the way
   back to the 1980's. See Reno v. Flores, 507 U.S. 292, 294, l 13 S.Ct. 1439, 123 L.Ed.2d 1
   (1993). Based upon a policy adopted to handle the influx of unaccompanied juveniles, the former
   Immigration: and Naturalization Service (INS) limited the release of detained minors to "a parent
   or lawful guardian." ld. at 295 (citations omitted). Only where a case presented ''unusual and
   extraordinary, circumstances could a juvenile be released to ••a responsible individual who
   agrees to provide care and be responsible for the welfare and wellbeing of the child!' !d.

   Later, in July of 1990, four unaccompanied juveniles initiated a class action lawsuit in the
   District Court for the Central District of California challenging tbe INS policies on
   constitutional. statutory, and international law grounds. Id This lawsuit led to the unii:brm
   deportation-exclusion IUle (presently 8 C.F.R. §§ 236.3, 12363 former 8 C.F.R. §
   242.24(1992)), which provided that alien juveniles shall be released to family members in a
   descending preferred order so long as those relatives were not in detention, unless INS
   determined that the detention of the juvenile was required to secure timely appearance before the
   Court. Id. at 296-97. A parent or legal guardian in custody could provide an affidavit to
   designate a caretaker for the juvenile so long as that custodian executed an agreement to care for
   the juvenile and ensure presence at future hearings. Id. at 297. Lastly, in unusual and compelling
   circumstances and within the discretion of INS, a juvenile could be released to other adults who
   executed a care and attendance agreement. Jd. Juveniles who were unable to be released
   remained in ..legal custody, at a suitable facility accommodating for juveniles. ld at 298.
   Additionally, pursuant to the Alien Minors Care Program implemented by the Department of
   J usti.ce, the INS had to place alien juveniles in a facility meeting or exceeding specific standards
   within 72 hours of apprehension. ld. citing See Memorandum of Understanding Re Compromise
   of Class Action: Conditions of Detention) Flores v. Meese, No. 85-4544-RJK (Px) (CD Cal .•
   Nov. 30, 1987).



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     Although not proper to do so in all contexts. throughout this opinion the Court will use the terms "minor" and
   ·~uvenile"interchangeably. Both the regulAtlOll$ lUI.d FSA discussed in this opinion govern "individuals in custody
   under the age of eighteen" but the regulations employ the term ·~uvenile" while the FSA de$ignates them 1\8
   "mino1s." The Court notes that when it references either totm in this decision - it is oolleclively referring to
   "individuws in cusfody under the age ofc:ightee.n.'' FSA. ,10; 8 C.F.R. § 1236.3(a).




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   Although this regulation was adapted as an atteropt to remedy the class members' concerns, the
   class decided to maintain litigation as a challenge to the new regulation upon their constitutional
   claims. Flores. 501 U.S. at 289-99. One week after the regulation went into effect, an
   unpublished decision of the District C.ourt granted summary judgment to the class members and
   invalidated the former 8 C.P.R. § 242.24 for three reasons: (1) the court ordered INS to release
   minors otherwise eligible fur release to not only the listed parties but also to any "other
   responsible· adult party; (2) it dispensed with the requirement that unrelated caretakers must
   execute an affidavit; and (3) it rewrote the regulation to provide for an initial determination of
   prima facie removability and release conditions with review available by an inunigration judge.
   ld. citing Flores v. Meese, No. CV 8S-45~RJK (Px) (CD Cal, May 25, 1988). The Ninth
   Circuit initially reversed the District Court with a divided panel, but subsequently affinned all
   the District Court's holdings en bane. See Flores v. Meese, 934 F.2d 991 (9th Cir. 1990); Flores
   v. Meese, 942 F.2d 13S2, 1365 (1991).

   The Ninth Circuit's opinion was appealed to the Supreme Court. Before the Supreme Court, the
   class members attacked the regulation on constitutional grounds including substantive and
   procedural due process. The class members also argued tbat the Attorney General exceeded the
   authority delegated to her office by enacting the INS regulation. The Supreme Court denied all of
   the class •s claims.

   Principally, the Supreme Court held that the parameters of the Juvenile Care Agreement, adopted
   by the new regulation, did not create a. physical restraint so severe as to invoke substa.tltive due
   process concerns. Reno 52 U.S. at 302. Moreover, the Supreme Court reasoned that the class
   members raised no fundamental rights, and thus, INS only need to advance guidelines which
   were a "best fit" to protecting the interests of the chi1dren. !d. The Supreme Court found that this
   standard was met and therefore, the regulation was valid. The Supreme Court reasoned that
   juveniles necessarily required some form of "custody•' as minors under the law and that no
   fundamental right, even if one existed, was violated by placing them in the custody of a
   government institution. ld. at 302-303. The Supreme Court went further and stated that if
   custody is not unconstitutional, neither is it unconstitutional just because it is merely not in. the
   ''best interests of the childn to receive private alternative placement. Jd. Considering the Fifth
   Amendment, the Supreme Court opined that procedural due process was satisfied without
   .requiring the automatz'c review of decisions by an lrnmigra.tion Judge. /d. at 308-309. Lastly, the
   Supreme Court held that the Attorney General had not exceeded her discretion because the basis
   for the regulation was "reasonable•• insotar as it struck a balance between the "concern for the
   welfare of the juvenile" and the fact that INS possessed ..neitha· the expertise nor the resou.:rces
   to co.nduct home studies for placement ofeachjuvenilcreleased.~' Jd. at 310 (citations omitted).

   h1 conclusion~ the Supreme Court stated: "We think the INS policy now in place is a reasonable
   response to the difficult problems presented when the Service arrests unaccompanied alien
   juveniles. It may well be that other policies would be even better. but 'we are [not] a legislature
   charged with formulating public policy•.. [o]n its face, INS regulation 242.24 accords with both
   the Constitution and the relevant statute."' !d. at 31 S (citations omitted). The case was remanded
   for further proceedings. Those further proceedings gave rise to the FSA.




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          2.      TheFSA

   After litigation had been. pending for nine years, on January 17, 1997, the parties in the case
   Flores v. Reno reached a. settlement agreement. The Flores Settlement Agreement {FSA) was
   created to set out a ..nationwide policy for the detention, release. and treatment of minors in the
   custody ofiNS [which] shall supersede oll previous INS policies." FSA, 'I 9.

   The FSA provided that plaintiffs included alltninors (persons under eighteen years of age) who
   are detained in the legal custody of INS. !d. at '1, 3, 4~ 10. Moreover, the class of plaintiffs and
   defendants referenced within the agreement included all ''their agents, employees, contractors,
   and/or successors in office." Jd, at t 1.

   While the FSA outlines at length the guidelines applicable to the facilities which are set to house
   juveniles, the most relevant prOvisions for the issues before the Collrt today pertain to the release
   of minors. See FSA, 1!12·18 (Release Provisions), ~ 19-23t Exhibit 1 (Custody Provisions).

   First, the FSA generally notes that all minors should be ex:peditiouslyprocessed and givenpropet·
   notice of their rights. includjng the right to a bond redetennination where applicable. FSA, 1f
   12.A. In relation to "expeditious proeessing,n the FSA states that minors should be released or
   placed in licensed facilities within a certain tilneframe of three to five days. !d. INS will not be
   held to this timeline of proper placement without release if, among other circumstances, there is
   an ''emergency or influx of minors into the United States." ld. An "influx of minors jnto the
   United States shall be defined as those circumstances where the INS has, at any given time, more
   than 130 minors eligt'ble for placement in a licensed program ...:including those who have been so
   placed or are awaiting such placement." ld. at 1f I 2.B.

   Setting a "General Policy Favoring Release" the FSA states:

          Whe:re the INS determines that the detention of the minor is not required either to
          secure his or her timely appearance before the INS or the immigration COUJ'4 or to
          ensure the rninor•s safety or that of others~ the INS shall release a minor from its
          custody without unnecessary delayt ht the following order ofpreferenc~ to:

          A.      a parent;

          B.      a legal guardian;

          c.      a:n adult relative (brother, sister, aunt, uncle, or grandparent);
          D.      an adult :individual or entity designated by the parent or legal guardian as
                  capable and willing to care for the minor~s well·being in (i) a dec1aration
                  signed under penalty of perjury before an immigration or consular officer
                  or (ii) such other docurnent(s) that establish(es) to the satisfaction of the
                  INS, in its discretion, the affiant's paternity or guardianship;



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              E.       a licensed progrmn willing to accept legal custody;

              F.       an adult individual or entity seeking custody, in the discretion of INS,
                       when it appears that there is no other likely alternative to long term
                       detention and family reunification does not appear to be a reasonable
                       possibility.

   FSA, , 14. Before any minor is released pursuant to these rules, a cu..<;todian must execute an
   "Affidavit of Support (Fonn I-134).. as well as an agreement which states, among more specific
   details, that the custodian will properly provide for the child, enSW'e appearance at future
   proceedings, notify the INS of any change in address, and notify the INS at least five days prior
   to departing the United States and of any initiation of dependency proceedings. Id. at ~ lS. The
   lNS retaiDs' the ability to temrinate custody arrangements if the custodian fails to comply with
   the e.lCecnted agreement. ld. at ~ 16. Moreover~ a positive "suitability assessment'' may be
   required prior to the release of any minor. !d. at ~ 17. If a minor is not immediately released to a
   relative outlined within the agreement, the "efforts at family reunification shall continue so long
   as the minor js in INS custody." !d. at ~ 18.

   A minor may be held or transferred to a suitable facility, including a secure or medium·security
    facility~   whenever it is deter.m.ined that the minor "must be held in a secure facility for his or her
   own safety, such as when the INS bas reason to believe that a smuggler would abdu~ or coerce a
   particular minor to secure payment of smuggling fees.' 1 FSA., ' 21.

   After a detennination is made by INS, "[aJ minor in deportation proceedings shall be afforded a
   bond redetermination hearing before an Immigration Judge in every case, unless the minor
   indicates on. the Notice of Custody Detennination fonn that he or she refuses such hearing.'' Id.
   at ~ 24.A. Additionally, any minor who disagrees with his or her placement "in a particular
   facility" or who contends that the fiwility of placement ..does not comply with the standards set
   forth jn Exhibit 1 attached hereto" may seek judicial review in the United States District Court
   with jurisdiction and venue. Jd. at , 24.B. The challenge can cover the placement determination
   or allege noncompliance with the FSA's standards. Jd. Any resulting action by a District Court
   related ·to an action brought under these provisions '•shall be limited •.• to solely.•. the individual
   claims of the minor bringing the action." I d.

              3.       Post-FSA: Legislation and Litigation

   Since the date of the FSA's enactment. much in the landscape of immigration law and policy has
   changed} Most notably~ the INS is no longer a federal agency. Instead, the Homeland Security
   Act (HSA) of 2002 "transferred" the INS to the Depart:rnent of Homeland Security (DHS), while
   the Executive Office for Immigration Review (EOIR) remained in the Department of Justice.

   3
       See Rebeca M. Lopez, CodifYing the Flore..<; Se/llem.ent Agreement: Seeking ltJ Protect Immigrant ChJ/drert in U.S.
   Custody, 95 MAR.Q. L. Rav. 163 5 (20 12)(providing a history and background of the Flores Settlement Agreement).



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   Homeland Security Act of2002, Pub. L. No. 107-296, 116 Stat. 2135, 2178. As a result, it bas
   been accepted that DHS and its component pmt. Immigration and Customs Enforcement (ICE),
   are the successors to INS and thus, the FSA is binding upon them. FSA ~ 1 (FSA is stated to be
   binding upon INS successors); See Bunikyte v. Chertojf, 2007 WL 1074070, at *2 (W.D. Tex.
   2007); see also H.R. REP. 110-181, 43-44, 2008 (Congressional appropriations committee
   acknowledging that the FSA is binding upon DHS and ICE and that they must enact policies for
   compliance).

   Additionally, since 1997, the liSA and the Traffickina: Victims Protection Reauthorization Act
   (TVPRA) of 2008 have enacted pertinent statutory revisions regarding immigrant juveniles. The
   HSA set auf preliminary procedures for the placement and handling ofmaccompanied juveniles.
   The HSA transferred responsibility for unaccompanied minors to the Office of Refugee
   Resettlement (OR.R) with the directive to create a national plan ensuring that the interests of the
   child were considered when making care and custody determinations. 6 U.S.C.A. § 279(b)(l)(A).
   Aside from the creation of ORR, however, little in the way of guidance was actually provided by
   theHSA.

   Thereafter, 1VPRA was enacted and subsequently .reenacted, with the purpose of preventing
   illegal human trafficking. Pub. L. No. 110-457, 122 Stat. 5044 (2008). TVPRA contains
   provisions specific to unaccompanied juveniles including that the juvenile ''shall be promptly
   placed in the least restrictive setting that is in the best interests of the child." TVPRA~ §
   235(c)(6). Further. TVPRA states that children must be placed in ORR custody within 72-hours
   of appl'e'hension. TVPR.A, § 23S(b)(3). All of these provisions are similar to those guidelines
   contained in the FSA. However, they are limited to unaccompanied minors and do not
   necessarily enact the entirety of the FSA into law. Consequently, the FSA continues to govern
   DHS and its policies regard:ing the detention ofminors.

   Since the FSA remains controlling, i:mmigrant juveniles have brought various lawsuits pursuant
   to its provisions in District Courts over the past decade. None of the decisions are published and
   many provide little insight into the FSA and how it should be applied. In large part~ the decisions
   find that the juveniles who bring suit do not have a cognizable right. fundamental or otherwise,
   which render DHS' regulations and policies to be improper under the Constitution. Walding v.
   United States, 2009 WL 4930897 (W.D. Texas 2009)("undisputed that the Flores settlement
   agreement, which is in effect a remedial decree, does not in and of itself confer any constitutional
   rights upon the plaintiffs"); see also Walding v. l/nited Statest 2009 WL 902423 (W.D. Tex.
   2009). Other decisions deny relief because the plaintiffs cannot sustain their burden against the
   government 1Ulder specific causes of action such as Bivens claims, injunctive relief, or under the
   Federal Tort Claims Act. Fabian v. Dunn, 2009 WL 2567866 \V'J.D. Texas 2009)(finding a
   Bivens claim. could not be found pursuant to the FSA because there was no respondeat superior
   liability, among other reasons of this same nature).

   Nonetheless, the FSA was utilized to successfully create a settlement agreement that resulted in
   the closing of the much-publicized Don T. Hutto Family Residential Center (..Hutto"). In re
   Hutto Family Detention Center, Case No. A-07-CA-164-SS \"'{.D. Texas 2007). 111e predecessor
   decision of the District Court that gave rise to the Hutto settlement agreement is extremely



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   enlightening on the FSA and its role today. In Bunikyte v. United Stales, the minor plaintiffs
   brought suit stating that the Hutto family facility was not properly licensed or compliant with the
   terms of custody generated for minorS under the FSA. 2007 WL 1074070, at *6-15. The
   plaintiffs further alleged that the FSA created a favored policy of release for minOt$ and that this
   policy mandated the children and their detained patents be released.Jd. at *16-20.

   First, the District Collt't discussed that immigration policy, particularly rega:rdi11g the release of
   family groups, has critically changed since the tragedies of September 11) 2001 insofar as there
   are more r~"trictive policies in place with tougher enforcement and broad expedited removal of
   illegal aliens throughout the country. /d. at *1. As the plaintiffs brought their claim pursuant to
   the FSA, in light of this change in policy, the District Court observed:

            Of course, the provisions of this settlement agreement, entered into over ten years
            ago, were never intended to be permanent authority, much less the only binding
            authority setting standards tbr the detention of minor aliens. The F1ores
            Settlement was intended as a stopgap measure l.lnti.l the United States could
            promulgate reasonable. binding standards for the detention of minor[s] in
            immigration custody. Flores remains in force until ..45 days following defendants,
            publication affinal regulations implementing this Agreement." [ J Yet the United
            States does not contest that the Flores settlement is still in effect. Despite the
            passage of just over a decade. neither DHS nor Congress has yet promulgated
            binding roles regarding the standards for the detention of minors. In fact, it
            appears that Flores is the only bi11ding legal standm-d directly applicable to the
            detention of minor aliens by the United States government. despite the passage of
            time and the drastic changes in immigration policy since this judgment was first
            enacted.
                   '

   Id at +2. The District Court went on to state that it is no defense that the FSA may be outdated,
   but it is "apparent the FSA did not anticipate the current emphasis on family detention. where the
   parole of adult family members is limited by acts of Congress and the judicial branch." ld at *3.

   With ultimately finding that the FSA was still binding upon the parties4, the District Court stated
   that the FSA: governs procedure for all minors in the custody of ICE and DHS. /d. Further, the
   District Court reasoned that the FSA favored the release of minors when possible pursuant to the
   standards set out by the FSA's provisions so long as detention is not necessary to secure the
   minor's appearance in immigration court at1d there were no safety concerns for the minor or the
   public. !d. After considering the applicable terms of the FSA, the opinion states that judicial
   review ofiCE's detention policy for a specific mjnor is guaranteed review before an immigration
   judge, unless like the plaintiffs in this case, they are ru.riving aliens without right to that review.
   ld. at "'4. In those circumstances, it is valid that the plaintiffs bring suit in District Court pursuant
   to the FSA •s provisions governing that form of valid jurisdiction.Jd,

   4
    ''The Settletnmt Agreement is, in essence. a Coutt-approvod contract binding on ICE and DHS. See e.g. U,1ited
   States v.l1T Conlinemtal Baking Co., 420 U.S. 223.237,95 S.Ct 926,43 L.Ed.2d. 148 (1975). It is also a court
   order dU'ecting the parties to comply with its terms.ld. at n.lO." Eunit..:yte, at ~8.



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   Considering all the plaintiffs' allegations. the District Court detennined that the Hutto facility
   was likely in violation of the FSA ,s operating standards. Bunikyte, at *16. However. the District
   Court held it could not grant irijun<.:tive relief because, although there was a likelihood of success
   on the merits, the relief sought by plaintiffs was unsupported by the FSA. Namely, plaintiffS
   sought ''itnmediate release from Hutto With their parents as a remedy for Defendants" alleged
   Flores violations."' It!. (emphasis in original). "The F1ores settlement, however, does not provide
   any particular rights or remedies for adult detainees." ld.

   .B.     hrunigration Judr:es - Authority and Custody Determinations

   Immigration judges are creatures of statute; they receive powers and duties directly from
   Congress or:by delegation from the Attorney General. 8 U.S.C.A. 1252(b); 1103; see alsoLopez-
   Telles ll, INS, 564 F.2d 1302, 1303 (9th Cir. 1977). An immigration judge is generally limited to
   making determinations regarding the grounds of removabiHty as well as whether there has been
   an abuse of discretion by DHS in the exercise of its particular discretionary powers. Lopez~
   Telles, 564 F.2d at 1304.

   The regulations ptomulgated by the Att01ney General have the force and effect of law. Matter of
   Cubor-Cruz, 25 I&N Dec. 470, 471 (BIA 2011) ctttng INA §I03(a), 8 U.S.C. § 1103(a); Matter
   of Anselmo, 20 T&N Dec. 25, 30 (BIA 1989); 8 C.F.R. §§ 1003.1(d)(l)(i), 1003.10(b). Cow'ts
   constru.e the language of the regulations following the same principles of interpretation applied
   to statutory provisions.Id. citing Matte't' oj"f/i.llarreal-Zun.iga, 23l&N Dec. 886, 889 (BIA 2006).
   ''Regulations. like statutes. must be interpreted to give effect to the entire regulatory scheme.'' /d.
   at 471-72, citing Matter ojc.. w..L-. 24 I&N Dec. 346, 348 (BIA 2007). However, the regulation
   that specifically addresses the issue at band :is controlling.Jd. at 472 (citations omitted).

   One of the specific areas designated to the Attorney General is that of custody determinations
   regarding aliens with:fn the United States. Specifically, pursuant to section 1102 ofthe HSA~ "the
   Attorney General's authority to detain, or authorize bond for aliens under section 236(a) of the
   INA is one of the authorities he retains pursuant to [the HSA], although this authority is shared
   with the Secretary of Homeland Security because officials of that department make the initial
   determination whether the alien will remain in custody during removal proceedings.n Matter of
   D-.1-~ 23 l&N Dee. 572~ 574, 11.3 (A. G. 2003).

   Subject to certain exceptions, the Attorney General may arrest and detain an aliet:t pending a
   decision on whether the alien is to be removed from the United States. lNA § 236(a)(1).
   Likewise, the Attorney General has the power to release the alien on either a bond of at least
   $1500 with security ru1d conditions or on conditional parole. rNA§ 236(a)(2). Nevertheless, the
   Attorney General retains the power to revoke a bond or parole autho1ized pursuant to the Act at
   any time under the original warrant. INA § 236(b). Section 236 of the Act does not give a
   detained alien any right to be released on bond; rather, the Attorney General exercises broad
   discretion and bas the ability to release a detained alien if he concludes such action is warranted.
   Carlson v. Landon, 342 U.S. 542, 534 (1952).




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   As section 236 of the lNA conveys this authority to the Attorney General, that authority has
   explicitly been delegated to Immigration Judges by regulation at 8 C.F.R. §§ 1003.19, 1236.1(d).
   Pursuant to thls authority, the Immigration Judge may "exercise the authority in section 236 of
   the Act...to· detain the alien in CIJStody, release the alien) and determine the amount of bond, if
   any, under which the respondent maybe released[.]" 8 C.F.R. § 1236.l(d).

   With this authority, certain guidelines for custody determinations have been promulgated by the
   Board of Immigration Appeals (B!A). Prominently. an alien must establish to the satisfaction of
   the Immigration Judge that he or she does not present a danger to persons or property, is not a
   threat to national security, and is not a flight risk or likely to abscond. Matter of Guerra, 24 I&N
   Dec. 37, 38 (BIA 2006); see also Motter of Patel, 15 I&N Dec. 666 (BIA 1976). Despite these
   traditional factors that should be considered, it is st:i.ll consistently recognized that the Attorney
   General has extremely broad discretion in decidillg matters of custody. !d. at 39. As a result, the
   Act does not liln.it an hnmigration Judge to only these thtee fac:tot-s in determining whether to
   detain an alien pending the outcome of removal proceedings.Jd.

   Other facto:rs offered by the BIA for consideration are: (1) whether the aHeo has a fixed U.S.
   add:ress; (2) the alien's length of residency in the U.S.; (3) the alien•s fa1nily ties to the U.S. as
   well as whether those ties may result in relief for the alien; (4) employment history; (5) the
   alien's record of appearance in court: (6) the alien's criminal history, including that history~s
   recency, extensiveness, and seriousness; (7) the alien's history of immigration violations; (8) any
   attetnpts by tt1e alien to flee prosecution or authorities; and (9) the alien's manner of entry into
   the U.S. Guerra, 24 I&N Dec. at 40 (citations omitted). Also, as a general rule, it is found that
   those respondents with a greater likelihood of being granted relief have a greater 1110tivation to
   appear for his o:r bet hearing. Matter ofAndrade, 19 J&N Dec. 488, 490 (BIA 1987).

   C.     Bond and Conditional Parole

   Traditionally, an Immigration Judge conducts bond redeterminations for adult aliens in the
   custody of DHS. The Immigration Judge has the authority to conduct bond and custody
   proceedings,under 8 C.F.R. §§ 1003.19, 1236.1; see also INA§ 236. Bond redeterminations are
   well developed \.lnder the law and typically involve a weighing of the factots discussed above in
   the preceding section of this opinion.

   Despite this area of the law being well founded with many guidelines for general practice, the
   proper avenues tbr release regarding juveniles in family detention is much less obvious. The
   l'egulations actually assume that release is conducted by bond, parole, or release on recognizance
   by the tilne a custody determination is necessary. 8 C.P.R. § 1236.3(b). Both the FSA and
   regulations apply obligatory language ("shall be released'')~ but provide no actual guidance on
   how such a release is to be effectuated under the regulatory jurisdiction of an Immigration Judge.
   And, of particular concern to this Court, where a custodian is available and the minor presents no
   risk of flight or danger, it could be improper to issue a bond against the minor in light of such
   compulsory language, especially considering that their ~'unaccompanied minor'• counterpm1s in
   family detention do not face these same issues. Instead, unaccompanied minors are either
   released by OHS or placed in an ORR facility- few, if any. reach the level of necessity where he



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    or she must challenge their custody in a family facility before an Immigration .JudgA as is the
    case here. See generally TVPRA § 235(b)(3).

    DHS' regulations provide express guidance that juveniles may be paroled into the United States
    punruant to section 212(d)(5) of the Act. 8 C.P.R. § 212(b)(3). In particular, DHS' regulations
    state that juveniles eligible for release pursuant to 8 C.F.R. § 236.3 (the exact oompanion to
    E01R's 8 C.F.R. §1236.3) may be paroled into the custody of a preferred adult for ''urgent
    humanitarian reasons" or Hs.ignificant public benefit, if he or she presents neither a security risk
    nor a risk of absconding. 8 C.F .R. §212(b)(3).

   While this may be a viable option for DHS officials, the Immigration Judge's power to "parole''
   aliens has been a long-standing point of controversy. The BIA has consistently held that DHS is
   the sole entity possessing the power to parole an alien into the United States by way of 8 C.P.R.
   § 212(a). Matter of Matelot, 18 I&N Dec. 334, 336 (BIA 1982). According to this precedent,
   because of the Atto1ney General's express delegation of the parole powert neither Immigration
   Judges nor the BIA has jurisdiction to exercise the parole powers. Id. citing Matter of Castellon,
   17 I&N Dec. 616 (BIA 1981); Matter of Niayeah, 17 I&N Dec. 231 (BIA 1980); Matter of
   LepojsJ..y, 14 I7N Dec. 718 (BIA 1974); Matter of Conceiro, 14 I&N Dec. 278 (BIA 1973). The
   Court does not dispute that it lacks jurisdiction to parole aliens into the United States under
   section 212 ofth.e Act. However, since this is a regulatory avenue available to DHS that is not
   readily available to this Court, what then is the proper mechanism for this Court (where 'bond
   ma:y be improper) to release a juvenile? See 8 C.F.R. § 1236.3.

   Pursuant to 8 C.P.R. § 1003.19(d), this Court has been delegated all authority available to the
   Attorney General under section 236 of the Act, which expressly includes the ability to
   "conditionally parole" aliens pending the outcome of removal proceedings. lNA § 236(a)(l)(B).
   Although this Court cannot parole in the same fashion as DHS, it may conditionally parole a
   juvenile to effectuate his or her proper release pursuant to 8 C.F.R. § 1236.3.

   Circuit Courts and the BIA alike have recognized that the power and effects of "parole'' and
   "conditional parole'' are not one in the same. Matter of Castillo-Padilla, 25 l&N Dec. 257 (B1A
   2010) a.ff'd Castillo-Padilla v. Attomey General, 417 Fed.Appx. 888 (11th. Cir.
   20ll)(unpublished).s Namely, the BIA has held that a ·~elease from custody on conditional
   parole does not amount to being paroled into the United States." Id at 258. Comparing "parole"
   under section 212 of the Act and ''conditioual parole" under section 236 of the Act, the BIA
   explained that "parole" requires urgent humanitarian concerns or a public benefit with strict
   conditions, whereas "conditional parolen inheres no such restrictions and instead "the alien is
   merely t'eleased from detention 'pendiug a decision on whether the alien is to be removed from
   the United States.'" I d. at 259 citing INA § 236. The BIA continued to reason that the authority
   to make custody determinations under section 236 of the INA is shared by both the Attorney
   General and Secretary of Homeland Security, but that section 212 of the Act is separate and


    See a/sa Ortega-Cervunte.r v. Oon:tule~. SOl F.3d 1111 (9th Cir. 2007)(defe:ning to Matter ofCa.ttillo-Padtlltz. 2S
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   l&N Dec. 257 (BIA 2010) ill its entirety); Cruz-Miguel v, Holder, 6SO F.3d 189 (2nd Cir. 20ll)(the same)>
   Oelgado-Sob(l/l;arrc ~·. .Attorney General, 625 F.3d 782 (3d Cir. 2010)(t.he !lame).



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    exclusively delegated to DHS. Id. at 261. Because the Attorney General no longer possesses the
    power to parole under section 212(d)(5)(A), "it would be inconsistent with the regulations to
    consider the two types of parole as equivalent." Id. Based on the foregoin& the BIA concluded
    that an alien who is '"conditionally paroled" under section 236 of the INA gains no benefits for
    relief akin to those received under section 212 of the Act; rather, a conditionally paroled alien is
    merely released from castody pending the outcome of his or her removal proceedings. ld. at 261-
    63.
   Despite this case law and the contradictory precedent stating that an hnmigrati.on Judge has ''no
   parole authority," the BIA has consistently declined in unpublished decisions to outline the
   parameters of the Immigration Judge's authority to conditionally parole aliens under section 236
   of the INA. 6 The only point provided by the BIA on the subject directly is an implication that the
   features of conditional parole may actually "present more onerous conditions on a respondent
   than the minimum bond" set by an hnmigration Judge. See In re Sanchez· Tello, A 200 670 873,
   2011 WL 1792611, at *1, n. 1 (BIA 2011).

                                           VI.      Fl:NDINGSANDANALYSIS

   A.       The Applicability of the FSA

   It is evident that the FSA remains valid and controlling upon ICE today. Various sources confinn
   this contention including the express terms of the FSA, law )nterpreting .settlement agreements,
   FSA litigation, Congressional directives. and ICE internal operating policies.

   The FSA was amended by stipulated order to indicate that it would remain in effect until "4S
   days after tlie federal government promulgates final regulations implementing the Agreement/'7
   It is clear from a multitude of sources that no such regulations have been enacted to establish
   compliance with the FSA and its terms.8 Accordingly, the Court finds that, as a. general matter,
   the FSA and its terms still govern custody detenninations for minors.

   ~>See ln re Nti.VtlrrfJ-$olojo, A 087 966 841, 2011 WL 1792597, at •1, n.l. (BIA 201l)("We acknowledge the
   respo11dent's argum~nt that he should have 'been released on conditional parole purstUUlt to section 236(a)(2}(B) of
   the Aet. It is not 1\ecessary here to address the extent of a.c lmlnigtation Judge's authority as to conditional parole. A
   release on condnional parole as provided under section 236(a)(2)(B) of the Act could present more onerous
   conditions on a respondent t1um the minimum bond set by the Immigration Judge i11 thi$ case. Moreover, the
   respondent rcquexttld 4nd was granted the minimum bond. The Immigration Judge's decision to impose a monetary
   bond was the proper disposition for tltis case.").
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     Flores -,.•. Reno, CalK! No. CV 85-4544-RJK(Px). Stipulation Extending the Settlemetrt Agreement and for Other
   Purpot~es, Md Order Thereon (C.D. Cat., Dec:. 7, 2001) (copy on file with the authors). A settlement agreement is a
    court-approved contract binding upon its parties as weU <US a court order wrecting ·parties to comply wi'ltl its tenns.
    U.S. Y. m    Cohiinental Baking Co., 420 U.S. 123, 237 (1975). Neith¢r party can ''unilaterally avoid a material
    eoutract tarm" to render the agn:cment void. See Poltee Ass 'n ex rel CtJnntttel/a v. City of New Orleans, 100 F .3<i
    1159, 1173 (Sth Cir. 1996).
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      See Bunikyte v. United Stales. 2001 WL 1074070 at *2; sie also H.R REP. 110-181,4:3-44,2008 U.S.C.C.A.N.
    1336.13 76·77(reeognition by the House Appropriations Com.m.ittoc that the Flo1-es S«tlement Agreement i:.~ bi11ding
   upon DHS, ICE~ md ORR and mandating compliance with the terms therein); Juvenile Protocol Mmual, Juvenile
   .Aliens:        A         Special       Population,          at        •2,          (2006)        avallable           at
   http://www.ice.gov/doclib/foia/dro_policy_memos/juvenileprotooolm£1nual2006.pdf (attaching the FSA as an exhibit




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   What seems more diffi.cult to discern. is who is bound by the terms of the FSA. The Government
   argued before this Court that the FSA is only binding upon the Office of Refugee Resettlement
   ("ORR"). Respondents contend that DHS and ICE are both. bound by the FSA as successor
   agencies to INS. See FSA, ~1. The Court agrees with Respondents.

   The language of the FSA is unambiguous. The defendants bound by the FSA as bargained for by
   INS, includes ·~eir agents, employees, contractors, and/or successors in office. •• Jd. At least one
   court has found, and ICE has seemingly conceded within its own policies, that DHS and ICE are
   bound by the FSA under its plain language. See Bunikyte v. United States, 2007 WL 1074070 a.t
   *3; see also Juvenile Protocol Manual, Juvenile Aliens: A Special Population, at *2, (2006)
   available at 'http://www.jce.gov/doclib/foia/dro_policy_tnemos/juvenileprotocolmanual2006.pdf.
   This conclusion is habitually reached by way of the express language of the Homeland Security
   Act (HSA) that created DRS and ICE. Specifically. the HSA "trausfer.red" the INS and its
   responsibilities to DHS. Homeland Security Act of2002, Pub. L. No. 107..296, 116 Stat. 2135,
   2178. Consequently> DHS is the successor agency to INS and became a "defendant'' within the
   parameters of the FSA. See also Bunikyte> at •2 ("The Flores settlement is binding on ICE and
   DHS as successot' orpnizations to INS.·~. The Court finds, on account of these cumulative
   sources, that the FSA is binding upon DHS and ICE.

   Aside from arguing that the FSA is not binding upon ICE, the Government abo contends that the
   FSA only applies to ''un.a.ccompanied minors'' as opposed to all minors.9 It would follow then
   that Minor Respondent is not covered by the Flores Agreement because~ while he is fourteen
   years of age, he is accompanied by his mother. Though the Court understands DHS' argument, it
   ctisagrees and finds it to be a patently incorrect interpretation of the FSA.

   The provisions of the FSA expressly indicate that, while unaccompanied m.inots were the actual
   plaintiffs in the lawsuit, the entire class action was certified to encompass all minors in INS
   custody. This is supported by the background, definitions, and class description sections of the
   FSA. FSA, ~1, 3. 4~ 10. Specifically, the FSA states that '"Plaintiffs'' includes "all class
   members." FSA, ~1. "Class member(s) .. applies to persons described in paragraph 10. FSA, 13.
   Paragtaph 10 of the FSA states: '"The certified class in this action shall be defined as follows:
   'All minors who are detained in the legal custody of the INS .... FSA~             •no.
                                                                              The term ''minor(sr' is
   defined as ••any person under the age of eighteen (18) years who is detained in the legal custody
   of INS." FSA., 114. It seems that, although the actual plaintiffs were unaccompanied minors, the
   FSA was designed to create a nationwide policy for the detention of all minors, not only those


   and acknowledging !hat it sets out many "common-sense principles" for tiN: detention ofjuvenHes which comprise a
   binding policy on JCE operations); see genet'ally Congressional Rosearch Service. Unaccompanied Alien Children-
   Legal issue.': An.rwers to Frequently Asked Que3tions, at •3.4, July 18, 2014, twailablc al
   !rttP :1/fas. orglsgp/crslbomesec/R43623.pdf.
      ln essence, this argument would bol.$ter DHS' pot~ition that only ORR is ·bound by the FSA because only O:RR.
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   handles unaccompanied minors. PrC~k..>ntly. within DHS, lCE handles the detention and enforcement of all aHcns in
   custody, including minors who enter the cou11.try with adults. and is in chiU"ge of detaining u.naooompanied children
   until they can be placed in an ORR facility. 6 U.S.C. §§25 I, 279(b)(l )(A), 291.




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   who are unaccompanied. See FSA, 1[9. This interpretation of the FSA and its reach is confirmed
   by persuasive case law confronting issues under the FSA as well as general policy guidance
   issued by ICE. Bunikyte, at *3 ("The Flores Agreement, by its terms, applies to all 'minors in
   custody" of ICE and DHS, not just unaccompanied minors.'j; see also ICE Juvenile Protocol
   Manual, Juvenile Aliens: A Special Population, at *2, (2006). As such, the Court finds that the
   FSA is designed to cover all minors as opposed to the mote narrow intetpretation of only
   unaccompanied minors.

   Therefore, the Court concludes overall that the FSA is binding upon DHS and lCE to govern
   custody determinations for all minors, including Minor Respondent in this case.

   B.       FS,Aj, and Immigration Courts

   Pursuant to ·this Court's rellJlatory authority to conduct custody redeterminations, it finds that it
   must contemplate the FSA either because, it too is quasi-bound by its tel'ms or because ICE is
   bound by its terms and both the FSA and regulations indicate that release of minors under the
   circumstances presented in this case is generally proper.

   To some exten~ it appears that EOIR could be bound by the FSA as a legacy component of INS.
   Although EOIR was in existence prior to the creation of the FSA, the FSA governs custody
   determinations and the successor agencies of INS which handle those determinations. It is clear
   from the tenns of the HSA that the power of INS to render custody determinations is split and
   shared between EOIR and DHS. The HSA made evident that pursuant to section 103(g) of the
   Act, the Attorney General retained aU authorities and functions delegated by law prior to the
   HSA's enactment. Effectively, this means that the Attorney General retained his power to render
   custody detenninations pursuant to section 236 of the A.ct, but that the power will be shared with
   the Secretary of Homeland Security who must render initial custody determinations in removal
   p.roceedings. INA §t03(a)~ Homeland Security Act of 2002, Pub. L. No. 107-296, 116 Stat.
   2135, 2274. As the power to manage the custody of minors is shared, it would appear that the
   respon&lbility to comply with the FSA would also be shared. 10

   Regardless of whether responsibility under the FSA is shared with this Court, at a minimum. the
   Court must consider the FSA•s parameters in custody redetenuinations as those guidelines are
   binding upon ICE and a necessary component of ICE's initial custody determination. The
   importance of this reality becomes especially apparent considering that the Attorney General is
   the only authority able to review the custody determinations made by ICE - there is no other

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      On its face, this !leems logical. HowevEll', the Court does not ren its decision to contemplate the FSA on these
   grounds alone. In large part, this is because the FSA does not designate EO.IR as a p!Lrty to the agreement although it
   could have do.ne so in its plain lunguage. Ca.~ interpreting the PSA a~ binding authority apply the tenants of
   ccntract law lllld thus. such an o.missio11 withi.tl the FSA could render the plausibility of EOIR' s part .in the FSA to be
   attenuated at best. Se¢ Buni.Jcyte. at ,..8 ("The Settlement Agreement is, in essence. a Court-approved contract bindlng
   on JCE lllld DHS. See e.g. United States ~·. ITT Continentol Baking Co., 420 U.S. 223. 237. 95 S.Ct. 926. 43
   L.Ed.2d. 148 (197S). It is also n court order directing tht:~ parties to comply witb its terms.ld. al n.IO."). TI1e Court
   does not reach 11 conclusion a$ to whether Lhc FSA is or is not binding u.poo this Court; rather, it tmds that the FSA
   should be applied because lb.e ver:y authority that i~ at issue in the FSA i'l in fact shared by EOIR and DHS.



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   avenue for relief under the Act or FSA excepting limited circumstances regarding habeas
   petitions in federal court. See INA § 236(e)("The Attorney Generalys discretionary judgment
   regarding... this section shall not be subject to review ... [n]o court may set aside any action or
   decision ...regarding the detention or release of an alien[.]"); INA§ 236A(b)(l)("Judicial review
   of any action or decision relating to this section... is available exclusively in habeas corpus
   proceedings... (ejxcept as provided in the preceding sentence, no court shall have jurisdiction to
   review, by habeas corpus petition or otherwis~ any such action or decision.'~ 11 • To oonclude
   otherwise would effectively allow ICE complete control over custody detenninations regarding
   minors which is not the inte11t of the INA or HSA.

   Furth.ermoreJ to consider the FSA in custody redeterminations regarding the release of minors
   goes hand in hru1d with applying 8 C.F.R. §§ 236.3, 1236.3, identical regulations which govern
   minor custody status for both DHS and EOIR. These regulations adopt language that is highly
   analogous to the language of the FSA. This is logical considering that the regulations were a
   product of the litigation that gave rise to the FSA. Significantly, both the FSA and regulations
   govern persons under the age of eighteen (')u.veniles•' or "minors..) and explain that those
   persons "shall be released.. to certain persons enumerated as a parent, guardian. or other adult
   relative (brother, sister~ aunt. uncle. or grandparent). 8 C.P.R. §§ 236.3, 1236.3; FSA. ~14. The
   regulations also indicate that these ..juveniles'' shall be released upon the posting of a bond. with
   conditional parole, or on their own recognizance. 8 C.F.R. §§ 236.3, 1236.3. As the binding
   regulations and FSA embrace the same policy favoring release of these juveniles under particular
   circumstances. it would appear tbat both are relevant to the Court's custody detennination for
   Minor Respondent.

   Lastly. while Immigration Judges may not be compelled to enforce the FSA's provisions~ this
   Court finds jt should. at the very least, consider the FSA and •'best interests of the child" in
   rendering custody determinations as a matter of discretion. Matter (Jf Guerra, 24 l&N Dec. 37,
   38 (BlA 2006)(holding that the Court has wide discretion in the factors it may consider when
   acting pursuant to the Attorney General ,s authority under section 236 of the Act).

   Therefore. whether it is as a party to the FSA; pursuant to governing regulations, ar under the
   Attorney General's broad discretionary authority, this Court must consider and apply the terms
   of the FSA to the extent it does not conflict with controlling statutes and regulations. And,


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      The FSA seemingly embraces this reality within its own terms as well. It indicates that a minor may bring suit itt
   District Court. due to a disagreeme-nt "with the INS's detennina.tion to p1ace that minor in a particular type of
   facility, or who asl!lerbl that the licensed program in which lte or she has been placed does not comply with the
   standatcls ... attached heteto[.)" FSA, 'V24.B. Meanwhile, it leaves the jurisdi~on of a "bond ·redetermination" to the~
   :lmr.aigrationjudge. FSA. '1!24.A While the FSA expressl)' sets out terms for the release ofminon;, nowhere within
   its language does it provide a relevant jurisdictional provision to contest the initial dete:rmination whether a IIIlnor
   should or mould not be released. Considering the authority delegated to the Attorney Gc.'nml, as well as the
   mandatory bood redetermination required by the FSA. it seenu that the FSA inhereotly accepts th.'\t the review of the
   initial custody dettmnination made by 1CE is reviewable in a "bond ..-edetermination." Thls conclusion is only
   suppOrted further by the fact that bond and custody rcdetennina.tions are all governed by tbe exact same statutes and
   regulation..<:.



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   because the FSA is controlling upon DHS. as a matt« of discretion this Court will consider the
   policy and provisions of the FSA in rendering its custody redetermination.

   C.       Custody Redetennination of Minor Respondent

   Contemplating the statutes and regulations binding upon this Court. as well as the FSA and :B.lA
   preceden~ the Court will consider various factors in rendering its custody determination tbr
   Minor Respondent.

   Preliminarily, to "whom.. Minor Respondent shall be Teleased will be governed by regulations
   binding upon this Court. See 8 C.F.R. §1236.3. Next, as both the FSA and BIA precedent
   analyze certain factors, those factors will undeniably be considered by this Court in the decision
   at hand. Specifically, the Court will consider if Minor Respondent is a flight risk, if he is a
   national security threat, and if he posits a danger to the community. Other factors normally
   considered by the BIA in adult custody detenninations, such as the likdihood of success on an
   underlying claim of relief) family ties, a pennanent address, and criminal history are also
   relevant to this Court's determination and will be briefly considered. 12 Lastly, the Court will
   examine other pertinent factors that relate specifically to those custody determinations regarding
   minors. In particulart the Court will consider the best interests of the child as well as conduct a
   fact-specific inquiry as to whether there is sufficient documentation to support release of Minor
   Respondent to the designated custodian. Such an analysis will provide a reasonable evaluation of
   the unique discretionary factors appatent in this case while also dispelling any implications that
   advocating release of Minor Respondent effectively creates a "catch-and-release" policy. See
   Bunikyte. at "'2(noting tl1at family detention may be favored over automatic release of family
   units because release only encourages parents to subject their children to the dangers of illegal
   immigration;).

            1.        Custodianfor Rel~ase

   As briefly touched upon previously, the FSA and regulations governing the release ofmjnors are
   extremely similar. The FSA and 8 C.F.R. § 1236.3 adopt almost analogous lists of criteria to
   establish a proper custodian by order of preference, as (1) a parent; (2) a legal guardian; and (3)
   other adult relative (brother, sister, aunt, uncle, or grandparent). FSA., ,14; 8 C.F.R. §
   1236.3(b)(l). Fu1ther, both indicate that the parent or guardian, if otherwise mavailable to accept
   responsibility for the minor, may designate an adult individual by way of an affidavit to accept
   responsibility for the minor in. his or her stead. 8 C.P.R. § 1236.3(b)(4). Critically, both

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      The Court designates these factors as ~o.•ri1ielll because it is probable that in mo~;t irn;tances involving minors, some
   of 1he factors proposed by the BIA will be irrelevant. Principally, employment history, manner of entry, and
   evidence of other imrnigratio.n violations are difficult to weigh against a minor respondent. Minors go.nerally have .no
   employment history IU)d, if a minor enters wrth hlB or her parent, it would be difficult to render them ineligible for
   release where that minor enters illegally at the direction of an adult respondent . .See Plyler v. .Doe, 457 U.S. 202, 223
   (1982)(acknowledgin,g that children should not be ~tigmatized or re¢cive a lifetinul of bardshlp due to their illegal
   status i.n piU'ty because they are ••not accountable for their disabling status."). As such, although these are factors that
   cowd possibly be importa:lt to a minor Respondent. they are the leut so and the Court will not necessarily reach
   them in rendering this decision.




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   provisions indicate that the minor "shall be l'efeased» from detention to a custodian. Jtl.
   (emphasis added).

   Although the bulk of the FSA and regulation are similar~ they begin to differ after the foundation
   criteria. The regulation dictates that the minor shall be released first to a parent, guardian~ or
   other achllt relative who is not detained and, only where those individuals are tm.available, may a
   minor be released to a parent, legal guardia:n, or adult relative in detention. 8 C.F .R. §
   1236.3(b)(l)(iii). More specifically. "simultaneous release of the juvenile and the parent. legal
   gua.rdi~ or adult relative shall be evaluated on a discretionary oase-by-case basis.'' Jd. The
   regulation goes on to consider less preferential means for release of a minor and states that a
   parent or legal guardian may submit an affidavit for the release of the minor to a specific third-
   party~ or that under unusual and compelling circumstances, a juvenile can be released to another
   adult not within the list who executes an agreement to ensure the juvenile•s well-being and·
   presence at all future proceedings. 8 C.F.R. §§ 1236.3(b)(3)~ 1236.3(b)(4).

   In contrast, the FSA, also in descending order of preference after a. parent, legal guardian, or
   adult l'elative~ states that a minor shall be released to an adult individual or entity designated by a
   parent or custodian who is capable of caring for the child, a licensed program willing to accept
   legal custody, or an adult individual or entity seeking custody, in the discretion of DHS, if there
   is no likely alternative to long-tean detention and family t'Cunifica.tion does not appear to be a.
   reasonable possibility. FSA, ,14.

   At least one District Court has considered the apparent rift between the FSA and conflicting
   regulations and detennined that the inconsistency is a product of the rise mthe number ofmiJtOrS
   in family detention. The District Court for the Western District of Texas, jn an unpublished
   opinion, reasoned the following:

          The Flores Settlement was drafted in response to the complaint of
          unaccompanied minor aliens. Its provisions, though applicable to minors detained
          with their families, do not specifically contemplate family detention. Though
          family unification is a stated goal of both the Flores Settlement and U.S.
          immigration policy generally. nothing in the settlement agreement expresses a
          preference for releasing parents who have violated immigration laws.


          [l]t appears possible for ICE to comply fully with the settlement terms by
          releasing the children to adult relatives not in custody. adult friends designated by
          their parent~ or even state•operated foster em-e. ... It therefore appears that
          nothing in this rule [8 C.F.R. §§ 236.3, 1236.3] or in the terms of the Flores
          settlement would prevent release of the childten to an adult relative not in ICE
          custody.

   Bunik:yte, at *16·*17(emphasis in original). Therefore, although the District Court recognized
   that there appeared to be a critical inconsistency between the FSA and regulation, it concluded



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    that that there was no actual inconsistency through implementation. Instead, in instances
    involving family detention, the District Court concluded that the outcome under the FSA and
    regulations would be the same- a preference of release to a non-detained individual.

    Accordjngly, applying the same logic, this Court will apply the hierarchy prescribed by 8 C.F.R.
    § 1292.3 ~ in doing so. wiiJ be applying the policy and provisions of the FSA.

    In Minor Respondent's case, his mother is currently detained. Although minor Respondenfs
    father is not presently in DHS custody, neither Respondent advocates for the release of Min.or
    Respondent to his father. Rather, they advocate release of Minor R~""POndent to his adult trunt as
    his "other relative.~· The Court finds that this designation is valid and, if Minor Respondent is to
    be releas~ be will be released to his aunt Rosa Mundo.

           2.      Flight Risk, Safety Concerns, and Nation(l/ Security

    The statutes, regulations, FSA, and BIA precedent all indicate that this Court must consider
   certain factors in rendering custody determinations for minors and, in fact. all aliens in custody.
   In particular, the FSA and BIA mandate that this Court consider if Minor Respondent is a flight
   risk and whether or not detention is required for his own safety or the safety of others. FSA, "114.
   41J2l;MatterofCruerra, 24 J&NDec. 37 (BIA2006).

                   a.      Flight Risk

   Typically, a detained alien will be deemed a flight risk and will remain detained if it is
   determined that his detention is necessary to secure timely appearance before DHS or the
   rmm1gration Court. M(ltter of Ellis, 20 I&N Dec. 641, 643 (BIA 1993). In most cases, an
   individual is deemed to present a lesser flight risk if he or she is statutorily eligible for any form
   of relief. Id.~ see also Matter of Andrade, 19 I&N Dec. 488,490 (BIA 1987). Moreover. certain
   factors evidence a lesser or greater risk such as stable employment history, a significant length of
   residence ill the community, the existence of family ties, a record of nonappearance at court
   proceedings, and previous criminal or immigration Jaw violations to determine if he or she is a.
   poor bail risk. Andrade, 19 I&N Dec. at 489.

   The FSA adopts the proposition that a minor who presents a flight risk is ineligible for release.
   FSA.. ~14 ("Where the INS determines that the detention of the minor is not required . .. to secure
   his or her time appea.Tanoe before.••the immigration conrt ... the .INS shall release the minor :from
   its custody without unnecessary delay[.]"). Furthert a minor who is an ''escaJ'e-risk'' may be
   subjected to mandatory juvenile detention. FSA, ,2l("a minor may be held in or transferred to
   a ... juvenile detention facility or INS detention facility ... whenever ... [it is determined] that the
   minor .. .is an escape--risk.''). Under the FSA, in determining whether a minor constitutes an
   •'escape--risk', factors to be considered include. but are not limited to, whether the minor is
   currently under a final order of removal. if the minor's immigration history indicates a breach of
   bond, failure to appear before any agency, or evidence that the minor is indebted to organi.zed




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    smugglers, and if the minor has previously ahsoonded or attempted to abscond inu:nigra.tion
    custody. FSA, 1/22.

    Considering both sets of factorst and giving all equal weight, the Court finds that Minor
    Respondent does not present a substantial flight risk. In particular, Minor Respondent has
    already filed a claim for asylum and that claim is entirely based upon his own fears of returning
   to El Salvador. Group Exh.l, Tab I. In addition, Minor Respondent has no previous criminal or
   immigration law violations and has significant family ties to the Houston, Texas area. Minor
   Respondent is too young to possess a stable employment history and thus, this factor will not
   oount fo:r Ol' against his case.

   The only negative factors of record are Minor Respondent's length of residency and manner of
   entry. Minor Respondent has not resided in his community for any significant amount of time~
   his only residency in the United States is limited to his time in detention. Moreover, the manner
   of his entry is troublesome to the Court. Lead Respondent indicated that they paid a. sml.lg,gler
   and knowingly entered the United States illegally by raft. While the Comt recognizes the
   enormity of:these actions, it finds that they carry lesser weight in this case as Minor Respondent
   entered the United States illegally at the direction of his mother, his parent and the adult figure in
   his life. See Plyler v. Doe, 457 U.S. 202,223 (1982)(acknowledging that children should not be
   stigmatized or receive a lifetime of hardship du.e to their illegal status in part because they are
   "not accountable for their disabling status."). AJso, the evidence does not suggest that Minor
   Respondent owes the smuggler an outstanding sum or that he ever evaded authorities. Such
   circumstances further diminish the severity ofMinor Respondent's actions. Tltis too is in li&}lt of
   the fact that Minor Respondent does not present an extensive history of immigration law
   violations or any other criminal history.

   Considering Minor Respondent's vulnerable position as a juvenile, as well as the facts in Minor
   .Respondent's case, it is clear he does not present a flight risk. As such, Minor Respondent has
   met this requirement to secure his release pursuant to both the FSA and regulations.

                  b.      Safety of the Minor and Community

   Combining ,the requirements of the FSA and the BIA. the Court must oonsider if Minor
   Respondent needs to be detained for his own safety or the safety of the community.

   The FSA dictates that both requirements are necessary for the release of a minor. Regarding the
   safety of the minor, the FSA provides that a minor may "be held in a secure facility for his or her
   own safety." FSA, ,21. 14. The FSA further elaborates that this provision is applicable "when
   [DHS] has reason to believe that a smuggler would abduct or coerce a particular minor to secure
   payment of smuggling fees:• FSA, 1121.

   In contrast to these guidelines. the FSA does not expressly define w·hat constitutes a danger to
   others. Rather, the FSA provides that a minor may be held where he or she presents any criminal
   history that ~es not involve specific petty or isolated offenses, has committed or made credible



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   threats to commit violent or malicious acts while in DHS custody or before a DRS officer, or
   where the nrinor has been unacceptably disruptive to the normal functioning of .another custody
   placement and a new restricted placement is necessary for the welfare of1he minor ot others. ld.

   While the BlA does not expressly adopt a requirement to consider the safety of the minor, it has
   consistently held that Courts are to consider whether or not an individual presents a danger to the
   community. PrincipallyJ aliens who present a danger to persons or property should not be
   released during the pendency of removal proceedings. Guerra, 24 I&N Dec. at 38. Similar to the
   loose guidance of the FSA, the BIA generally considers the cr.imin81 history of a respondent to
   det:.ermine if" he or sh.e presents a danger to the community. Id However, Immigration Judges are
   not ljmited to considering only criminal history and instead may consider any evidence in the
   record that is probative specific to the relevant analysis. Id. at 40-41.

   Considedng the foregoing, the Court finds that Minor Respondent" s case presents no instance of
   danger to himself or the community.

   Initially, although Minor Respondent utilized a smuggler to gain entry into the United States,
   there is no evidence to indicate that he must subsequently be detained for his own safety. The
   FSA provides that detention may be proper if there is evidence that a "particular minor" will be
   abducted or coerced for the payment of outstanding smuggling fees. FSA, ,2 I. While DHS
   presents evidence of hwnan trafficking schemes and the smugglers' pervasive persistence in
   trafficking individuals across the border, there is no particularized evidence that Minor
   Respondent continues to be in danger on account of his past connection to a human smuggler.
   Croup Exh. 2, Tabs D-J. In fact, Lead Respondent testified that the smuggler did not even cross
   into the United States during their joumey. No evidence suggests that the smuggler is looking for
   Respondents, that they have any outstanding fees, or that the smuggler is present in the United
   States. The totality of the circumstances reveals that there is little to no evidence that Minor
   Respondent should remain detained for his own safety pursuant to the FSA.

   Likewise, there is no evidence to suggest that Minor Respondent presents any danger to the
   corrummity or others. Minor Respondent alleges that he has no criminal history and DHS does
   not contest this foot. Minor Respondent has not indicated to DHS officials nor outside parties that
   he intends to commit violent acts against others should he be released. Despite Minor
   Respondent's solitary civil :U:nmlgration infraction, there is no evidence that suggests he may be a
   danger to the community.

   In weighing all considerations pl'esent in this case, the Court det.ermines that Minor Respondent
   does .cot need to be detait1ec!. for his own safety or the safety of others.

                  c.      National Security

   The Attorney General held in Matter of D-J- that: 44(1]n all future bond proceedings involving
   aliens seeking to enter the United States illegally, where the Government ofters evidence from
   sources in the Executive Branch with relevant expertise establishing that significant national




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   securlty interests are implicated, Us and the BIA shall considec such interests." Matter ofD-J-.
   23 I&N Dec. 572,581 (A.O. 2003). 13

   The national security concems at issue in Matter ofD-J- wece two-fold. F:irst, the Govemment
   stated that the ·~ of future mass migration" presented national security concerns.
   Specifically, the Government asserted ''that reports and rumors of successful entry into the
   United States by Haitian migrants have fueled recent migration surses and the perception of
   further suocessful entries could encourage mass migration attempts." Matter of D-J-, 23 I&N
   Dec. at 578. It was posited in affidavits from Executive Branch officials that not only is the mass
   migration surge a. problem in and of itself, but that the continued mass migration also drew
   resources away from other areas of need and demand. Jd. at 579. The second concern was that
   released undocumented aliens from Haiti, a staging point for migration of Pakistanis and
   Palestinians, without adequate verification of their background. associations. and objectives,
   incr~d the national security interest in curbing the use of that migration route. Id.

   Considering the evidence in its entirety, the Attorney General concluded that ''releasing
   respondent. or simil.arly situated undocumented seagoing migrants, on bond would give rise to
   adverse consequences for national security and sound immigration policy.,, ld. The Attorney
   General reasoned that the Executive Branch•s declarations demonstrated a substantial prospect
   that the release of these types of aliens would encourage future surges of migration by sea. ld.
   "Encouraging such unlawful mass migration is inconsistent with sound immigration policy and
   important national security interests." Matter of D-J-. 23 I&N Dec. at S81 . .AB a result, the
   Attorney General concluded that the drain on resources coupled with the need to pl'otect natim'lal
   security and implement sound immigration policy, presented a ''reasonable foundation" to
   exercise discretion to deny release on bond under the Act. /d.

   In addition to the national security interests, the Attorney General held that the respondent was
   ineligible for bond because he presented a flight risk and did not have a high likelihood of being
   granted any form of relief from removal. ld. Specifically, respondent had evaded law
   enforcement apprehension during his illegal entry and had already been denied asylum by the
   Immigration Court. Id. 581-82.

   ln the case presently before this Court, DHS is urging for no release, no bond. and, at a
   minimum, a very high family bond. The cornerstone of the Government's argument rests on the
   fact that there is a mass migration CJ.isis, which would be encouraged by the release of any
   immigrant who is detained at the border. DHS contends that to release these individuals,

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     It is obVi0'\.1$ that the Attorney General's opinion wasrendered a number of years after the FSA. The FSA does not
   expressly provide that issues of national security should be considered wlwn rendering c\.1.Stod.y determinations for
   minon;. Despite its lack of inclusion on this point, the Court must con.<Udcr national security intc::feSt9 pursuant to the
   Attorney General' l:l binding -precedetnt. However, the Court points ou.t that doing so js not actually in contention with
   the FSA. The fSA provid~ that the Court is to consider whether or not releasing a mi:nor pre..Wtts a danger co the
   community. Considering matters of national security is. in essence. ootb.in,g more than eonaidering whether or not
   release of th~ xninor wou.ld present a dangerous 11ituation at our nation's borders. & a re..'ll.llt, although not expressly
   indicated to be a fac:tor under the FSA, it apJ)CiU'$ that the broad language of the FSA would accept national security
   concerns to qualify as a valid consideration.



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   inclucling Minor Respondent, would e:tnbrace unsound immigration policy and go against
   prominent national security concerns. In support of these contentions, DHS has submitted two
   declarations from Executive Bnu:1ch officials which :indicate that many of the immigrants
   sinill.arly-sitnated to Respondents are migrating in mass due to the prospect of release to join
   other members of their network. The focus on the mass migration at the border is taking efforts
    and funds away :&om the agencies, abilities to destm.at b'Lltrum smuggling rings and to properly
   handle other areas involving illegal migration. Among these concerns, the declarations also attest
   that large criminal organizations are profiting from smuggling these aliens across the border, that
   proper background checks are not being conducted for these detainees"' and that this continued
   cycle renders the nation vulnerable to crime and other security risks.

   Respondents maintain that Matter of D.J- is incorrectly interpreted by DHS to create a blanket
   policy of detaining immigrants who come from three separate nations under the guise of national
   security concerns. Respondents believe that such an interpretation is contrary both to the actual
   policy dictated by the Attorney General in his opinion as well as the intention of Congress to
   provide an individualized custody determ:ina.tion for Respondents pursuant to section 236 of the
   Act. .Agjde from these ovemrching points~ Respondents state that Matter of D-J- is factually
   distinguishable from their case. First, Respondents I1ave viable claims to relief not yet denied by
   an immigration judge and present no grounds as flight risks. Second, Respondents' situations do
   not embody the same heightened security risk as was the ease with the respondent from Haiti in
   Matter of D-J- because El Salvador is not a staging point for other nationals to enter the United
   States illegally without proper background investigations. Lastly, Respondent posits that the
   holdings of Matter ofD-J~ are llSJ.TOW and only set to apply to one set of migrants who attempted
   in mass to enter the United States by sea, on the same boat, on the same day.

   The Court disagrees with Respondents~ interpretation that Matter of D-J- is a narrow holding
   which cannot create a blanket policy favoring detention for national security concerns. To the
   contrary, the decision is clear that mass migration concerns, when supported by the proper
   evidence, can give rise to the denial of bond pursuant to the discretionary authority of the
   Attorney General. Further, the Court understands the Attorney General's opinion to indicate that
   such evidence has to be considered by both Immigration Courts and the BIA should it be
   presented. Thus, the Court must consider the evidence presented by DRS and it is not enough to
   merely distinguish Matter of D-J- on its facts. Instead, the evidence must be seriously considered
   in light of all the evidence presented in '"all future proceedings."

   Therefore, considering DHS' evidentiary suppo1t, the Court finds that Respot1dents' situations
   present similar national security il'lterests. The three major interests, as reflected by the
   declarations of record and considered by Matter of D-J-, are encouraging mass migration, the
   diversion of resources due to this mass migration, and the jnabi.lity to conduct background
   investigations to ensure the safety of the community. Yet, despite presenting a similar :instance of
   national security concern, the Co·urt recognizes that it is but one factor for this Court to consider.
   While it is a factor the Court shall COltsider~ it is not the only factor controlling on this Court's
   decision.




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   Accordingly. with careful consideration of all the evidence presented on this obviously important
   issue, the Court finds that meaningful national security concerns are apparent in Respondents'
   cases under the Attorney Generars discretion. This critical ooncem will be weighed in
   oonjunction with the other factors relevant to the Court's analysis in this opinion.

          3.      Best Interests ofthe Child

   The foregoing interests are necessary to this Court's analysis. Nevertheless, under the
   circumstances, with a "border crisis" at hand, many of the above factors will be ~nsistently
   presented in a similar manner throughout custody determinations. Many individuals may be
   entering for. the first time, a multitude of minors may not present with a criminal history, and
   during a mass migration the same national security concerns are present in almost every case.
   This renders the Court's decision to be a difficult one. However, because this Court has wide
   discretion in rendering custody determinations, it 'Will use the FSA and other authority to
   consider additional factors tailored to minors and their respective unique custody determinations.

   There are no BIA decisions which render a case analysis for the custody of a minor pursuant to 8
   C.F.R. §1236.3. Rather, the BIA decisions contemplating this regulation are limited to instances
   involving al:legations of improper notice subsequent to the minor's release from custody. See
   Matter of Cubor-Cruz, 25 I&N Dec. 470 (BIA 2011 ); Matter of Co.lderon-Arrazola, 2006 WL
   729764 (BIA 2006)(unpublished); see also Lopez-Dubon v. Holder, 609 F.3d 642 (5th Cir.
   201 0). Conversely, the1·e are various cases which cite to DHS,s companion regulations governing
   the release ofjuveniles at 8 C.F.R. §263.3. However, while there are a plethora of cases citing to
   the QO.lnpanion regulation. none are exactly on point regarding the issue of custody of a juvenile.
   Those cases also deal wjth notice and the various nuances of juvenile asylum claims. No
   opinions guide this Court on how to handle the root of these cases - whether or not the juvenile
   should be released pursuant to the regulation in the first instance.

   Although the regulation is clear as to whom a juvenile can be released to, and in fact, that the
   juvenile should be released, it does not account for additional outside requirements that bind this
   Court such as the aforementioned requirements for the release of any alien and the countervailing
   interests of 8. minor in light of those additional requirements. By considering the arguments put
   forth by Respondents in this case. the Court will be better able to render its custody
   detenninations as required by the regulations. Atcordingly, the Court will consider any relevant
   evidence that has been presented as being in the best interests of Minor Respondent.

   The Court understands that the "best interests of the child" is not a standard of Jaw; it further
   ack11owledges that the factor in and of itself is not dispositive in rendering a custody decision.
   See Reno v, Fl(Jres, 501 U.S. 292, 304 (.1993)("'the best interests of the child' is not the legal
   standard''). However, the "best interests of tbe child', concept is applied in other contexts as a
   factor in custody determinations for immigrant children such as in Special Immigrant Juvenile
   Status and under TVPRA. See 8 U.S.C. § 11 Ol(a)(27)(J){mandating that reliefbe predicated on a
   finding that it is not in the best interests of the child to return to a home country); TVPRA §
   23S(c)(6). Further, and highly on point, the interests and welfare of the child is named a relevant
   factor for ICE and ORR to consider when placing a juvenile in a facility or the custody of



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   another TClative. 14 Seeing as a minor's best interests are generally considered by every other
   agency rendering a similar decision~ it would be inconsistent for this Court not to consider that
   factor in rendering its own decision pursuant to its discretion. Especially since all sources
   governing 1his Court"s decision indicate that the safety or welfare of the juvenile is necessary to
   this Court's decision. 8 C.P.R. §§ 236.3t 1236.3.

   Based upon the foregoing, Minor Respondent has presented three general points that purvey it
   would be in his best interest to be released h1to the custody of his aunt. First and crucially, Lead
   Respondent, as Minor Respondent's mothel", ;ndicated that this was not a decision that was taken
   lightly. 1n this particular case, both Respondents believe that releasing Minor Respondent into
   the custody of his aunt is the best course for their family. Respondents also argue that Minor
   Respondent: is at a critical stage of development. Lead Respondent believes that stifling Minor
   Respondent's development by remaining detained will be indefinitely detrimental. Lastly, and
   quite compelling. Lead Respondent stated that she wishes for Minor Respondent to reside with
   his aun.t and similarly-aged cousin to attend school.

   DRS presented no cotm.tervailing arguments to show that release is not necessarily in the best
   interests of Mnor Respondent specifically; rather DHS maintains that it is not in the
   community's best interests because of the national security concerns at stake.

   As previously di!iCU.SSed, the policy favoring release Wlder the FSA as well as under controlling
   regulations is in line with Lead Respondent's position that release from c:mstody would be best
   for Minor Respondent. The legislatiYe history of 8 C.F.R § 236.3 indicates that for all juveniles.
   even juvenile offendm·s, "release of minors to parents or adult relatives is the prefctred. method."
   Detention and Release ofJuveniles, 53 FR 17449-01. 17450 (1988). ln particular that the welfare
   of a minor is of "paramount concern~' to the Government and as a result, the word '•shall" is
   explicitly utilized in the regulation to emphasize the notion that ~'reunification represents service
   policy, with detention being the exception.'' Id. There is a strict emphasis placed on the prefmed
   release of minors for a multitu.de of reasons. The Court cannot ignore that minors, possibly
   unlike adults, have critically been targeted as needing release from custody wherein detention is
   the exception to that rule. This general policy reflects the best interests of Minor Respondent and
   thus. weighs. heavily in favor of his release.

   Further~ it is critical that no educational resources are presently being offered in Artesia, New
   Mex.ioo. It is long•standing Supreme Court precedent that forsaking illegal alien children access
   to public education violates the Constitution. Plyler v. Doe, 451 U.S. 202, 102 S.Ct. 2382
   (1982)(holding that the denial of a ftee public education to a discrete group of innocent children
   m1.1st be justified by some substantial interest to be valid). While there are no constitutional
   questions presented here, the emphasis on providing educational resources to detained children is
   consistent. The utter lack of educational resources available coupled with no timeline for such


     Tho legiskti~ history of the former 8 C.F.R. §242.24 {now 8 C.P.R.. §236.3) states: '"The p.villnount conceru of
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   lNS witb respect to minor& in c:uatody is the welfare of th!! minor." See Detention and Release ofJwveniles, 53 FR
   17449-01; See also 6 U.S.C.A. §279(b)(l)(B)(ORR is re$pOnSlble for "eiUo'llring that the .intet¢SU! of the child are
   considered in decisions and actions relating to the care and c:us!ody of an unaccoll).ptulied alien child.")



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   se.rvices being offered in the future is troublesome to the Court. Considering all sources,
   including Supreme Court guidance and the FSA. it appears to be a matter of consensus that
   receiving an education is within the best interests of the minor and something that is relevant to
   this eourt•s decision. lS

   On the other han~ Respondents' contentions regarding i.nhtoition of development are less
   persuasive. The Court understands Lead Respondent's concerns, but there is nothing to support
   her position. Additionally. such concerns do not have a foundation in either the regulation
   applicable to the case or any other juriS}mldential source. Significantly, without any
   substantiation in this case. conclusory concerns regarding mental development fall to the way
   side of the •'best interests" analysis as constructed by the Supreme Court in Reno v. Flores. In
   Reno v. Flores. the Court was clear that the best interests of the child can and shall be subjugated
   by other concerns including the interests of other children, their parents, or their guardians so
   long as basic minimum requirements of child care are met. Flores, 292 U.S. at 303 ...304. The
   evidence does not suggest that the minimum requirements of child care are not being met
   generally in the Artesia facility as it pertains to Minor Respondent's mental development.
   Accordingly, while it may be true that it is better for Minor Respondent to be non-detained for
   his 1nental growth, the Court does not necessarily consider this factor to be persuasive that
   release is in Minor Respondent's best interests.

   In the aggrepte, the Court recognizes two points that are critical in its detennination pertaining
   to Minor Respondent•s release. Principally, there is a generally recognized -policy favoring
   release which is inherently based on the best interests of a minor jn custody. Then, as the Artesia
   facility currently operates, it is providing no educational resources for minors. Such resources are
   acknowledged as critical to illegal aliens by the Supreme Court and the Government has
   provided no reason as to why educational resources are unavailable. Without demonstrating
   some form of countervailing interest to the lack of educational resources, the Court cannot find
   any justification for forcing Minor Respondent to remain in custody and forego the educational
   opportunities that would otherwise be available to him upon his release. These two factors~
   although not deter.rn:inative, demonstrate that release is within the best interests of Minor
   Respondent and weigh in favor of his release.

                    4.       Custodian's Documentation

   Both the regulations and FSA require the execution of specific docwnents or affidavits for the
   release of a minor to a11 adult relative. Purposely, 8 C.F.R. § 1236.3(b)(3) provides that where a
   parent or guardian is in detention with the minor, that the parent or legal guardian may execute
   an affidavit to attest that another designated adult relative is willing and capable to care for the
   minor's weU..being. The regulation further states that the designated adult relative must execute
   an agreement to care for the juvenile and to ensw.·e the juvenile's presence at all future
   immigration proceedings. 8 C.F.R. § 1236.3(b)(3). The FSA O\.ltlines similar requirements by
   requiring an adult relative designated by a parent or guardian to execute an agreement or

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    ~ The FSA, within its "conditions for custody' expressly includes that minors have access to educational resources
   tbtou,ghout the length of their detention. FSA. ExbibiL 1.



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    declaration under penalty of perjury that he or sbe is capable and willing to care for the minor's
    well~being. FSA, 1f14. Further, any party taking custody of a minor must execute an Affidavit of
    S-upport (Form !·134) and an agreement to provide for the minor's well-being, ensure presence at
    all future proceedings, notifY the Government of all address changes, as well as a promise not to
    transfer custody or depart the United States without notice and/or permission. FSA, 1[15.

   In this case, Minor Respondent's prefen-ed custodian, Rosa MU11do, as designated by Lead
   Respondent (his mother) before the Immigration Court, has submitted numerous documents to
   that effect. The documents are in compliance with all the foregoing requirements as well as
   substantiated by other support that show her ties to the community, commitment to bring Minor
   Respondent to proceedings, and stability to care fot the Minor Respondent. Specifically, Rosa
   Mundo has submitted a copy of her legal -pennanent resident card, her certification for the U.S.
   Nat\U'alization test, copies of bills and the mortgage on her own home, pay smbs, the I~ 134
   Affidavit of SUpport~ and both a letter and agreement affir.ming Rosa Mundo's commiunent to
   care for Mitior Respondent and attend all future hearings before the Government in any capacity.
   Orollp Exh. 1.

   Contrary to DHS 's position. this evidence strongly shows that Rosa Mundo will take proper
   custody of Minor Respondent. First, she plainly meets the documentary requirements outlined by
   the regulations and FSA. Further, her active participation in Minor Respondenfs life upon
   release mitigates any apprehension advanced by DHS. DHS is concerned that Minor Respondent
   presents a flight risk because Rosa Mundo knew of h1s illegal entry and permitted him to break
   the immigration laws of the United States. While these actions are highly inappropriate, the
   concerns surrounding that situation are critically outweighed by the ovet\\"helming evidence
   submitted by Rosa Mundo.

   Considering all the factors related to a party being a flight risk or poor candidate for bond, Rosa
   Mundo meets almost all of them excepting one which is mitigated by tbe very fact that she
   herself has legally resided in the United States for nearly three decades. Rosa Mundo evidences
   strong ties to the community by owning a home, she has resided in the United States for
   approximately twenty-five years~ her paystubs indicate that she has steady employment, she is in
   the United States legally, and she presents 110 criminal history. The only negative factor is that
   she allowed Respondents to enter the United States illegally. Yet, her very own legal residence
   for an extended period of time diminishes any doubt that she does not respect the law or
   immigration regulations. DHS's own emphasis on the factors from Matter of Guerra and Matter
   ofPatel draws a conclusion contrary to their position. Instead, giving custody to Rosa Mundo is
   proper under these precedents and diminishes the already trivial flight risk of Minor Respondent.

   Accordingly, the Court finds that Rosa Mlllldo bas provided the requisite docl.llllentation to
   establish she is 11 proper cm.1odian under the regruations and FSA. Moreover, it finds that her
   good status in the United States mitigates the already unsubstantial concerns DHS ml;linta.ins




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    regarding Minor Respondent to be a flight risk. Considering all points in the apregate, the Court
    concludes that the release of Minor Respondent from custody is truly proper. 1

             5.         Minor Respondent~ Avenue for Release

    While the BIA has wled to provide the outlines of an hmnigration Judge's conditional parole
    authority, its other precedent, as well as its silence in denying the existence of such authority all
    together, indicates that Immigration Judges have the ability to conditionally parole aliens
    pending removal proceedings pursuant to section 236 of the Act.

    Considering the policy favoring release of minors embodied by both the FSA and juvenile
    regulations, conditional parole by an Immigration Judge may provide the equivalent opportunity
    for release without bond as would be afforded to unaccompanied juveniles or all mino:rs were
    DHS to release them initially. Minor Respondent's custody status is controlled by the same
    regulations    as
                   unaccompanied juveniles or other minors not in family facilities, and, as such,
    must receive the same benefits or abilities for release as delegated under the regulations.

    8 C.F.R. § 1236.3 expressly provides that "(j}uvenUts for whom boJld has been posted, for
    whom parole has been authori%ed, or who have been ordered released Oil recognizance,
    shall be released., It is clear that this Court could likely comply with its regulatory obligations
    by issuing a bond on this minor. However. Minor Respondent presents an extremely compelling
    case that no bond is required for his release. This Court fmds that Minor Respondent presents no
    flight risk ai:ld no danger to the community. As a result, bond is seemingly entirely unreasonable.
    See Matter of Patel, {"Generally, an alien js not a:nd should not be detained or required to
    post bond except on a finding that he is a threat to the national security~ or that he is a poor bail
    risk.")(emphasis added). Conditional parole, however, provides fen• the obligatory release of
    Respondent without imposing an unnecessary and improper bond upon Minor Respondent.
    While the Court recognizes that releasing Minor Respondent on recognizance may lead to the
    same resultt it does not have the express power to release an alien on recognizance pursuant to
    the INA. Additionally, as Minor Respondent must be released into the custody of a responsible
    adult, relea~ng Minor Ret--pendent on own recognizance is oounter..intuitive and contradictory to
    procedure. See Flores~Chavez v. Ashcroft, 362 F.3d 1150 {9th Cir. 2004)(holding that juveniles
    must be released to a responsible adult because it is presumed that juveniles are unable to appear
    at immigration proceedings without the assistance of an adult custodian.) As such, although
    release on own recognizance is mentioned in the juvenile regulations, the Court will not grant
    thi$ ~act request for release of Minor Respondent.


    1
     ~ The Court wants to emphasize that itt~ deoi.<rio:n on the.se .specific facts will :not present an avenue for all minors in
    family dete.ntion under all circumstances to be released from custody. The Jaw and regulations are clear, to even be
    considered for rele3$e, a ntinor m11st pl"Ovidc a proper custodian with the proper documentation. That high burden
    has been met in this ease and thU£, Minor Ret1p0ndent's release is warranted. A cu."•ltodian of this kind wiU not be
    available in all caNes. Moreover, the RespondeDUI in this ca.o~~e made clear that they preferred release of Minor
    Respondent over stay.i:n& in detention with his :Parent. Lead Respondent. Not all Respondents wiU elect to take thitl
    option. Under these facts, the Court concllldcs that release is in line with all binding precedent and regulations as
    well as sound immigration policy pertaining to minors.



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    Rather~ because Minor Respondent has presented the proper documentation as well as significant
    evidence to indicate he is not a flight risk or a danger to the com:rounity or biJ:nself, the Court will
    release him pDrSuant to conditional parole into the custody of Rosa Mundo pending the ou.tcome
    of his removal proceedings.

    D.      Lead Respoadent and Boad.

    While the FSA and regulations contemplated tl1us far indicate that Minor Respondent should be
    released under the circumstances, they do not indicate that the Lead Respo\1dent, as an adult,
    should also be released. Rather, Courts have found quite the opposite. ln Bunikyte, the District
    Court precisely and logically reasoned that both the FSA and regulations favored release of a
    minor to a party not in custody before it should be detenn:ined whether a :minor may be
    simultaneously released with his or her patent in custody. Bunikyte. at *16-17. Specifically, the
    Court concluded:

           Neither FlQres nor any federal rule or statute mandates the simultaneous release
           of parents and children from detention..•• It therefore appears that nothing in (8
           C.F.R. §236.3] or in the tenns of the Flores settlement would prevent release of
           the children to an adult relative not in custody. This illustrates the fact that the
           Flores Settlement gives the m.inor Plaintiffs enfotceable rights, but does not create
           rights in the parents separate from their children's rights .... As Flores creates no
           rights in the parents of detained millots, Plaintiffs have not established any basis
           for Teleasing of the parents of the minor Plaintiffs.

   ld. TI1e same logic applies to Lead Respondent's case for release. Respondents seemingly do not
   contest this conclusion in any form. Accordingly, Lead Respondent will remain detained for the
    same reasons O\ltlined by the original determination of this Court. This conclusion remains valid
    because the mitigating circumstances presented by Minor Respondent's case are not apparent in
    her own rostody determination. Rather, she presents less favorable factors to outweigh the
    significant concerns ofDHS.

    Although Lead Respondent will remain detained for the same reasons previously expressed by
    this Court, her bond must be proportionately reduced for the initial bond was a '"family bond"'
    includiDg Minor Respondent in ita sum. To teflect the release of Minor Respondent. Lead
    Respondent's bond will be respectively reduced to $15,000. Accordingly, she will remain
    detained pursuant to a $15.000 bond.

                                               Vll. CONCLUSION

    1n sum, the Court finds that the release of Minor Respondent in this case is proper pursuant to the
    Flores Settlement Agreement and governing Tegu1ations binding upon this Court. Minor
    Respondent offers a proper custodian for 1·elease and that custodian has presented the relevant
    amount of evidence to indicate that she has the means and intentions to care for the minor,
    present him at future hearings, and provide for his best interests. Further, Minor Respondent
    himself present.; a great interest in appearing for his future hearings on account of his viable



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   application for asylum. Moreover, despite entering the United States illegally~ he presents no
   other grounds to indicate he would be a flight risk ar danger to the conununity. His record is void
   of any other immigration violations or criminal history.

   The Court acknowledges the great weight involving national security concerns in this case and
   all others presented as a result of mass migration. However, this custody decision is not one for
   every minor in detention. Rather, it is that the weight of the evidence prese11ted by Respondent in
   this specific case outweighs the national security concems presented by DHS. The Attomey
   General~s opinion :indicates that national security concerns surrounding mass migy:a.tion shall be
   considered by this Court. What the Attorney General did not hold is that those concerns should
   be found necessarily to trump all evidence presented in a respondent's favor when rendering a
   custody determination. Her~ Minor Respondent presents no of the adverse factors. Instead. he
   has submitted ample evidence to outweigh the significant national security concerns in his
   particular case. Under the policy favoring release as well as the regulations that indicate release
   of minors is' proper under these circumstances, the Court cannot find that he should be detained
   with no bond or even on a high bond.

   As a result, because Minor Respondent demonstrates that he should be released pursuant to the
   regulations, .the FSA. the traditional requirements of the B~ and other factors pertinent to a
   minor custody determination, the Court will release Minor Respondent frotn custody pursuant to
   conditional . parole under section 236(a)(2)(B) of the Act. The Court acknowledges that
   conditional parole is not the standard avenue for release; however, it will release Minor
   Respondent on conditional parole because it best embodies the regulations and policy governing
   minors. Conditional parole, without bon~ is proper given the compulsory nature of the
   regulations as well as the unique circumstances presented by minors in family detention
   facilities. The ovexwhelming evidence indicates that this avenue for release is proper.

   Conversely. Lead Respondent will remain in detention pursuant to a bond. No new
   circumstances to mitigate a high bond have been evidenced in her case specifically. And.
   \.mfortunately~ she has no rights to release under the FSA or juvenile regulations in this case.
   Thus, Lead Respondent is to remain in custody pursuant to a $15,000 bo.nd.


   Based upon the above and foregoing the Court enters the following orders:


   Jt is Ordered:                The Motion for Release of Minor Respondent~ Herson Yonatan
                                 Gutierrez-Granados, IS GRANTED, and he is hereby
                                 RELEASED PURSUANT TO CONDITIONAL PAROLE
                                 UNDER SECTION Z36(a)(%)(B) OF THE INA INTO THE
                                 CUSTODY OF IDS AUNT, MS. ROSA MUNDO.

                                 The Motion of Lead Respondent, Maria Teresa Granados-
                                 Gutierrez. for Release IS DENIED.




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   It is Furt:betOrde.ted:       The Motion of Lead Respondent, Maria Teresa Granados-
                                 Outierr~ for Bond Redetermination IS GRANTED, whereas
                                 Lead Respondent shall remain DETAINED PURSUANT TO A
                                 SlS,OOO BOND.



   Date                                              R    anne c. Hladylowycz
                                                         nited States Immi~     dge



                                    CERTIFICATE OF SERVICE
       THIS DOCUMENT WAS SERVED BY:                MAIL {M)      PERSONAL SERVICE (P)
          TO:   0 ALIEN ()ALIEN c/o Custodial Officer ( ) AUBN's AIT/REP     () DHS
                                    DATE:                         BY: COURT
                             STAFF--------------------------~--
                Attachment(s): () EOJR-33 () EOIR.-28 () Legal Services List ()Other




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                                                                                           October 2, 2013

  The Childrens Village
  1 Echo Hills Road
  Dobbs Ferry, NY 10522

                                                                              Re: Pre 18 Release Plan
                                                                       Sandra Igihozo, A# 205-710-232

  Dear Ms. Valdez, Ms. Claudio, and Ms. Roman,

  My name is Gretchen Begley and I am a Case Manager at the Peter Cicchino Youth Project
  (“PCYP”) of the Urban Justice Center. PCYP addresses the legal needs of homeless and street
  involved youth. I work with the Urban Justice Center’s legal team as a social service provider to
  help released children transition into the community and towards independence. In order to
  facilitate this transition, I create and carry out individualized social service and education plans.

  This plan is submitted in support of Sandra’s pre-18 release from Children’s Village.1 As you
  know, Sandra is pregnant and has no long-term federal care options which means that she is in
  grave danger of being discharged into homelessness on her 18th birthday and in her third-
  trimester of pregnancy. Our primary concern, which I know you share, is that Sandra and her
  child have access to the best long-term care available so that they both have a change at a safe
  and supported life. Given this, the best long-term option for Sandra is for her to get into State
  Foster Care, which requires her release from Children’s Village before her 18th birthday.
  Additionally, given that Sandra’s life will undoubtedly get more difficult as her pregnancy
  advances, a release as soon as possible is in her best interest.

  The plan detailed below considers Sandra’s: A) future housing, B) education, C) medical care
  and mental health, D) immigration case, E) need for identification, and F) extracurricular
  enrichment opportunities. Each component of this plan has been identified based upon my
  recent conversations with Sandra, her attorney Megan Stuart, and my experience working with
  numerous unaccompanied youth in New York City. This plan has been discussed with Sandra
  and he has agreed to participate. I have done my best to incorporate information regarding the
  programs and social service agencies I have identified for Sandra in order to provide context for
  the services available to unaccompanied children generally in the New York City area.

  My proposed Plan for Sandra is as follows:


  1
   Although it is certainly in Sandra’s best interest to transition to foster care upon release from the
  Children’s Village, I have been working concurrently on a pre/post18 plan for Sandra, so that, in the event
  Sandra does not transfer to Foster Care, his transition to the community is as smooth as possible.


                                             ExB
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 A. Housing:
    Independent housing opportunities for youth like Sandra in New York City, are funded by the
    New York Department of Youth and Community Development (“DYCD”). Generally, DYCD
    housing services include three separate elements: 1) Crisis Shelters, 2) Transitional
    Independent Living, and 3) Borough-Based Drop-in Centers.

       1. Crisis Shelters: Crisis Shelters offer emergency shelter for runaway and homeless youth up to
          the age of 21.2 The shelters are the entry-point for the DYCD’s Runaway and Homeless
          Youth system. These voluntary, short-term residential programs provide emergency shelter
          and crisis intervention services aimed at reuniting youth with their families or, if family
          reunification is not possible, arranging appropriate transitional and long-term placements. In
          other words, in order for a youth to enter a transitional and long-term housing placement in
          New York, he or she must first begin in a DYCD “Crisis Shelter”, who have the ability to
          make a referral.

         There are three Crisis Shelters in New York City that Sandra is eligible for: Streetworks and
         the Covenant House. Both programs are tasked with ensuring a youth’s transition to long-
         term placement when other reunification options or placements do not exist. In order to
         ensure children transition to permanency as quickly as possible, DYCD limits the length of
         stay for a child in a Crisis Shelter to 30 days, with the possibility of a 30 day extension. Both
         Streetworks and Covenant House accept children on a first-come first serve basis, however,
         their intake procedures are different as follows:

           a. Streetworks (209 W. 125th. St., New York, NY 10027, Phone: 212.695.2220)
                   i. I have contacted Streetworks about Sandra, and they have agreed to accept her
                      into their crisis shelter. Letter from Streetworks, attached.
                  ii. Generally, youth seeking acceptance into the Streetworks program must
                      complete two intake interviews. The youth must come to the shelter from
                      10am-12pm on Monday, Tuesday, Thursday, or Friday. Streetworks only takes
                      the first four youth who arrive on any given day for intake. It is best to arrive 15
                      minutes prior to the opening time. If Streetworks has a bed available once a
                      youth completes the intake process, the youth is placed immediately. If
                      however a bed is not available, youth are placed on the waitlist. A youth placed
                      on the waitlist must call Streetworks daily in order to determine if and when a
                      bed is available.

                 b. Covenant House (460 W 41st St, New York, NY 10026)
                      i. Covenant House will conduct an intake of a youth at any time, day or
                          night. Youth will be placed immediately, if a bed is available. If a bed is
                          not available, youth are referred to adult crisis shelters. Due to Urban

   2
     Please note that the term “homeless and runaway” youth is broadly defined by the McKinney-Vento Act
   as a youth who has a primary nighttime residence a publicly or privately operated program, including
   transitional housing. The definition of homeless, as defined by the federal statute, is so broad that it
   deems children who are in ORR facilities “homeless” as well as children who are in independent living
   placements that provide housing to youth for years.




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                             Justice Center’s long-standing relationship with the Covenant House, we
                             frequently communicate directly with Covenant House Legal Director
                             Nancy Downing when a client of ours is expected to arrive for intake. 3
                             We have already communicated with Nancy Downing about Client’s case,
                             and she is prepared to coordinate Client’s placement at the Covenant
                             House if and when necessary.

                 c. Ali Forney Center (“AFC”) (321 W 125th St New York, NY)
                      i.   AFC offers a scattered-site emergency housing program for LGBTQ youth
                           with sites in Queens and Brooklyn. They offer temporary housing in safe,
                           staff-supervised homelike apartments. LGBTQ youths are able to reside in
                           our emergency housing program for up to six months while we assist them
                           in moving on to more permanent housing. Currently AFC has 4
                           emergency housing apartments and a total of 49 beds.


   Both the Covenant House and Streetworks provide the following services to their residents:

          Crisis Center
          Community Centers
          Street Outreach
          Transitional Housing Program
          Health Services
          Mental Health Services
          Mother & Child Programs
          Regional Training Centers
          Substance Abuse Services
          Vocational Training Institute

2. Transitional Independent Living: Transitional Independent Living (TIL) facilities provide
   homeless youth between the ages of 16 and 21 with support and shelter as they work to establish
   an independent life. As mentioned above, a young person in need of long-term residential
   services must first visit a Crisis Shelter and obtain a referral to a Transitional Independent Living
   facilities. Youth may stay in the Transitional Independent Living facilities for up to 18 months.
   Services offered at TILs include:

          Educational programs
          Vocational training
          Job placement assistance
          Counseling
          Basic life skills training
              a. There are three long-term programs specifically designed for pregnant and parenting
                  teens, however to be eligible for the program a youth needs to be referred from one of
                  the Crisis Centers.

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    See http://www.covenanthouse.org/homeless-charity/new-york



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                  i.   Independence Inn mother-child program;
                 ii.   Covenant House mother-child program
                iii.   Inwood house

3. Borough-Based Drop-in Centers: Drop-In Centers are located in each of the five boroughs of
   New York City, one per borough. The Drop-In Centers provide youth up to the age of 24 and
   their families with essentials like food, clothing and immediate shelter as well as access to
   counseling, support, and referrals to relevant services. Drop-In Centers are open 6 days a
   week. Drop-In Centers frequently have close connections to TIL programs, and in limited
   circumstances, may be able to conduct an intake for possible placement at a partner TIL.


B. Education:

   We would like to enroll Sandra into a traditional high school. We think she would succeed in a
   traditional educational environment because she is fluent in English and completed all but one
   month of high school in Rwanda. New York Law guarantees Sandra the right to an education
   and once she is released, we will take her the local enrollment center so that she can be
   immediately placed into a high school.

C. Medical Care and Mental Health:

   Upon release, we will enroll Sandra into Child’s Health Plus, New York Sate’s low-income
   insurance plan for youth. Unlike traditional Medicaid, undocumented immigrants are eligible for
   insurance until they turn 19. We imagine that by the time Sandra is 19, she will have
   immigration status, thereby becoming eligible for Medicaid.

D. Immigration Case:

   Sandra and her attorney, Megan Stuart, will continue to work together on her immigration
   applications. Sandra is eligible for the following forms of relief, which she and Megan will
   peruse. I will escort Sandra to all immigration court appearances, the next of which is on October
   17th at 1pm.
              i.   Asylum
                      a. Sandra is prima facie eligible for asylum because she was persecuted in
                           Rwanda because of her sexual orientation. Sandra is working with Megan
                           to develop her asylum application, which will be submitted before Sandra
                           turns 18. Because an asylum application requires Sandra to re-live an
                           extremely traumatic period in her life, it requires several meetings between
                           Sandra and Megan.
             ii.   SIJS
                      a. Sandra is also prima facie eligible for SIJS. Upon release, Sandra and
                           Megan will petition the appropriate family court for a special findings
                           order that they can then submit to USCIS.
            iii.   U-Visa/T-Visa




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                        a. Sadly, Sandra is also eligible for a U and/or T visa based upon the sexual
                           assault from her relative who was entrusted with her care. Sandra and
                           obtain the necessary certifications either by reporting the crime to law
                           enforcement locally, or thu the family court. This process will be started in
                           the next few weeks. Once the requisite certificates are obtained, Sandra
                           and Megan will meet to write a supporting affidavit and then submit the
                           application ASAP.

E. Identification:

   We want to ensure Sandra has all needed identification. Youth under the age of 18 are able to
   obtain free picture identification at New York Parks and Recreation. These identifications
   include membership to all Park and Recreation centers in NYC, and are only free for youth under
   18 years of age. Upon release, we will escort Sandra to obtain this ID. We believe the New York
   Parks and Recreation I.D. qualifies as a government issued I.D. because it is issued by NYC. A
   Parks and Recreation center is located near our offices at 80 Catherine Street. Sandra need only
   bring a birth certificate to become a member and obtain an I.D.

F. Extracurricular Activities:

   In order to ensure Sandra is has access to extracurricular programming and additional supportive
   services, after her release we will assist Sandra in becoming a member of the Door and Ali
   Forney Center. The Ali Forney Center is a drop-in space for LGBTQ youth who provides a
   variety of social services as well as a place for LGBTQQ youth to congregate and socialize. The
   Door a comprehensive youth empowerment organization.4 The Door provides a wide range of
   services to meet the needs of New York City youth aged 12-21, including, but not limited to:

   College Advisement & Tutoring
   The Talent Search program provides the support and guidance you need to make your way to
   high school graduation, college and beyond.

   Counseling
   Counselors are here to listen and help with a range of issues, including anger management, crisis
   intervention, gender identity, and much more.

   Creative Arts
   Regularly scheduled, free creative arts classes include a range of performing and visual arts,
   music and dance.

   English Language (ESOL)
   The Door offers a flexible schedule of classes for young people who would like to learn English.

   Foster Care
   If you are in foster care, The Door can provide the additional support you may need to reach
   your goals.
   4
       See http://www.door.org/about-door



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  GED
  The Door offers a variety of programs to help you get your GED and move on to a career,
  college or a vocational/training program.

  Health & Dental Services
  The Adolescent Health Center (AHC) offers comprehensive health and dental services to all
  Door members, regardless of ability to pay.

  Jobs & Internships
  Jobs & Internships programs give you the chance to explore different career paths and gain skills
  to help you find the right job and keep it.

  Leadership
  The Door offers a range of opportunities to learn key leadership skills that will help you in
  school, work and everyday life.

  Legal & Immigration Services
  The Legal Services Center provides different kinds of legal counsel, including support for
  immigrant youth. Services are offered in English, Spanish, Mandarin and French.

  LGBTQ
  The Door provides a range of programs geared towards Lesbian, Gay, Bisexual, Transgender or
  Questioning (LGBTQ) members.

  Recreation
  Games, workshops, and fitness and performance opportunities are offered on a daily basis.

  Runaway and Homeless Youth
  If you are homeless or have run away from home, The Door can help you find essentials like
  food, clothing and shelter, as well as help with your specific needs.
  Sexual Health & Birth Control
  The Adolescent Health Center (AHC) offers a comprehensive list of services to meet your sexual
  health and birth control needs.

  Supportive Housing
  In December of 2010, in partnership with Common Ground, The Door opened The Lee, a
  supportive housing building located on the Lower East Side. The Lee currently houses 55 young
  people living in their own apartments, often for the first time.

  In sum, Sandra is quickly approaching her 18th birthday and we would like to do as much as
  possible to ensure that she is best situated for her transition to independent living in the
  community should he not have access to foster care. This requires that Sandra attend numerous
  appointments and we truly appreciate your help in transporting Client so that he can have the
  best chance possible upon release from the Children’s Village.




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  I look forward to working with you. Thank you for your assistance.


  Sincerely,


  Gretchen Begley, MSW
  Case Manager




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